Case 3:17-cv-01362 Document 1530 Filed 07/04/22 Page 1 of 184 PageID #: 79452



                  IN THE UNITED STATES DISTRICT COURT
              FOR THE SOUTHERN DISTRICT OF WEST VIRGINIA

THE CITY OF HUNTINGTON,

Plaintiff,

v.                                       Civil Action No. 3:17-01362

AMERISOURCEBERGEN DRUG
CORPORATION, et al.,

Defendants.




CABELL COUNTY COMMISSION,
Plaintiff,
v.                                       Civil Action No. 3:17-01665

AMERISOURCEBERGEN DRUG
CORPORATION, et al.,

Defendants.

               FINDINGS OF FACT AND CONCLUSIONS OF LAW

     These two cases are related to thousands of other lawsuits

that have been filed throughout the country in recent years

relating to the opioid crisis.       The Opioid MDL (MDL 2804) was

created by the Judicial Panel on Multidistrict Litigation (JPML)

in December of 2017 after the JPML determined that a large

number of cases should be centralized for pretrial proceedings

in the Northern District of Ohio to coordinate the resolution of

these actions.    In re Nat’l Prescription Opiate Litig., 290 F.
Case 3:17-cv-01362 Document 1530 Filed 07/04/22 Page 2 of 184 PageID #: 79453



Supp. 3d 1375, 1378 (J.P.M.L. 2017).         These two cases,

designated in the MDL as “Track Two” cases, were remanded to

this court for further proceedings.

     A bench trial was held on May 3, 2021, through July 12,

2021.   Closing arguments were held on July 27 and July 28, 2021.

Set forth herein are the court’s findings of fact and

conclusions of law pursuant to Fed. R. Civ. P. 52.

     Because this case was tried before the court as a bench

trial, the court’s findings are presumed to be based on

admissible evidence.      See Fishing Fleet, Inc. v. Trident Ins.,

598 F.2d 925, 929 (5th Cir. 1979); see also Harris v. Rivera,

454 U.S. 339, 346 (1981) (“In bench trials, judges routinely

hear inadmissible evidence that they are presumed to ignore when

making decisions.”); Chicago Title Ins. v. IMG Exeter Assocs.

Ltd., 985 F.2d 553, 1993 WL 27392 at *4 (4th Cir. 1993) (“[A]

judge presiding over a bench trial is presumed to consider only

relevant, admissible evidence.”) (unpublished).           Accordingly,

the court finds it unnecessary to rule on each separate

evidentiary objection raised by the parties.          The court has

considered those objections relating to the evidence supporting

the findings contained herein and, to the extent such objections

relate to the evidence which the court cites in support of its

findings, such objections are hereby overruled.



                                     2
Case 3:17-cv-01362 Document 1530 Filed 07/04/22 Page 3 of 184 PageID #: 79454



      Plaintiffs, a West Virginia city and a West Virginia

county, proceeded in this case on a single cause of action,

public nuisance, against three wholesale distributors of medical

products.   According to plaintiffs, defendants’ wholesale

distribution of prescription opioids in Huntington and Cabell

County created an opioid epidemic, which has caused a public

nuisance in those localities.       Plaintiffs contend that they seek

relief in the form of abatement of the alleged nuisance.

      Though they may disagree as to certain particulars, the

parties agree that there is an opioid epidemic in the United

States, as well as the City of Huntington and Cabell County.

The parties further agree that the epidemic was fueled, at least

in part, by prescription opioids.        As the MDL court described

it:

      It is accurate to describe the opioid epidemic as a
      man-made plague, twenty years in the making. The
      pain, death, and heartache it has wrought cannot be
      overstated. As this Court has previously stated, it
      is hard to find anyone . . . who does not have a
      family member, a friend, a parent of a friend, or a
      child of a friend who has not been affected.

In re Nat’l Prescription Opiate Litig., No. 1:17-MD-2804, 2018

WL 6628898, at *21 (N.D. Ohio Dec. 19, 2018).

                            FINDINGS OF FACT

I.    Background

      The plaintiffs are The City of Huntington (“City of

Huntington” or “Huntington”), a West Virginia city, and the

                                     3
Case 3:17-cv-01362 Document 1530 Filed 07/04/22 Page 4 of 184 PageID #: 79455



County Commission of Cabell County (“Cabell County” or

“Cabell”), a West Virginia county commission (collectively,

“plaintiffs” or “Cabell/Huntington”).         See Third Amend. Compl.

¶¶ 26–30 (ECF No. 80).      The defendants are AmerisourceBergen

Drug Corporation (“ABDC”), Cardinal Health, Inc. (“Cardinal

Health” or “Cardinal”), and McKesson Corporation (“McKesson”)

(collectively, “defendants”).       See id. at ¶¶ 127–30, 133–36,

140–43. 1


1 Plaintiffs’ complaint also names as defendants the following
entities that were severed from this trial but remain part of
the litigation: Purdue Pharma L.P., Purdue Pharma Inc., The
Purdue Frederick Company, Inc., Rhodes Pharmaceuticals L.P.,
Rhodes Technologies, Inc., Richard S. Sackler, M.D., Kathe A.
Sackler, Jonathan D. Sackler, Mortimer D.A. Sackler, Ilene
Sackler Lefcourt, Beverly Sackler, Theresa Sackler, David A.
Sackler, Allergan PLC f/k/a Actavis PLC f/k/a Allergan Inc.,
Allergan Finance LLC f/k/a Actavis Inc. f/k/a Watson
Pharmaceuticals, Inc., Allergan Sales, LLC, Allergan USA, Inc.,
Watson Laboratories, Inc., Warner Chilcott Company, LLC, Actavis
Pharma, Inc. f/k/a Watson Pharma, Inc., Actavis South Atlantic
LLC, Actavis Elizabeth LLC, Actavis Mid Atlantic LLC, Actavis
Totowa LLC, Actavis LLC, Actavis Kadian LLC, Actavis
Laboratories UT, Inc., Actavis Laboratories FL, Inc., Johnson &
Johnson, Janssen Pharmaceuticals, Inc., Noramco, Inc., Ortho-
McNeil-Janssen Pharmaceuticals, Inc. n/k/a Janssen
Pharmaceuticals, Inc., Janssen Pharmaceutica, Inc. n/k/a Janssen
Pharmaceuticals, Inc., Endo Health Solutions Inc., Endo
Pharmaceuticals, Inc., Par Pharmaceutical, Inc., Par
Pharmaceutical Companies, Inc. f/k/a Par Pharmaceutical
Holdings, Inc., Teva Pharmaceutical Industries LTD., Teva
Pharmaceuticals USA, Inc., Cephalon, Inc., Mallinckrodt PLC,
Mallinckrodt LLC, SpecGx LLC, KVK-Tech, Inc., Amneal
Pharmaceuticals, LLC, Amneal Pharmaceuticals, Inc., Impax
Laboratories, LLC, Amneal Pharmaceuticals of New York LLC, CVS
Health Corporation, CVS Indiana L.L.C., CVS Rx Services, Inc.,
CVS Tennessee Distribution, L.L.C., CVS Pharmacy, Inc., West
Virginia CVS Pharmacy, LLC, Rite Aid Corporation, Rite Aid of
Maryland, Inc., d/b/a Rite Aid Mid-Atlantic Customer Support
                                     4
Case 3:17-cv-01362 Document 1530 Filed 07/04/22 Page 5 of 184 PageID #: 79456



     The Third Amended Complaint is the operative pleading.

     Defendants are wholesale distributors of pharmaceutical and

other products, including prescription and over-the-counter

(OTC) medicines, as well as health and beauty aids.           Defendants

distribute a full line of medical products and supplies to

pharmacies and hospitals across the United States.

     Chris Zimmerman of ABDC described the important role that

wholesale distributors play in maintaining an efficient supply

chain between manufacturers and pharmacies:

     [T]here’s 2,000 manufacturers . . . that we buy
     products from where we purchase - - we carry anywhere
     from 60,000 different items within our warehouses and
     . . . we have over 16,000 pharmacy customers.

     So, what we do, without a distributor, each one of
     those 2,000 manufacturers have to ship direct to the
     pharmacy. And those pharmacies would have to place
     2,000 separate orders. They’d have to receive 2,000
     separate receipts at the door each day. And that’s
     just the product going out.

     There’s also the setup of the customers. The
     manufacturers only have to set up a few distributors
     and sell their products to the distributors. And
     then, we handle all the pharmacies, making sure that
     they have an appropriate license . . .




Center, Inc., Rite Aid of West Virginia, Inc., Walgreens Boots
Alliance, Inc., Walgreen Eastern Co., Inc., Walgreen Co., H.D.
Smith Wholesale Drug Co., Kroger Limited Partnership I, Kroger
Limited Partnership II, Walmart Inc., Wal-Mart Stores East d/b/a
Wal-Mart Pharmacy Warehouse #46, Wal-Mart Pharmacy Warehouse
#45, Wal-Mart Pharmacy Warehouse, Express Scripts Holding
Company, Express Scripts, Inc., Caremark Rx, LLC, Optum, Inc.,
OptumRx Inc., and Tasmanian Alkaloids Pty. LTD. See Third
Amend. Compl. ¶¶ 42–123, 146–299.
                                     5
Case 3:17-cv-01362 Document 1530 Filed 07/04/22 Page 6 of 184 PageID #: 79457



      [M]anufacturers couldn’t handle it because they ship
      like once a week, where we ship every single day, and
      the pharmacies need those products the following day.

Zimmerman, 5/13/21, at 151.

      Each defendant operates multiple distribution centers

across the United States.      ABDC has 27 distribution centers;

Cardinal has more than 20; and McKesson has 28.           See Zimmerman,

5/12/21, at 149; Moné, 5/20/21, at 167; Oriente, 5/25/21, at 13.

II.   The Witnesses

      Seventy witnesses testified at trial, either live or by

designation.     They are:

      1.     Robert “Corey” Waller is a physician and Associate

Professor at Michigan State University.         See Waller, 5/4/21, at

11-12.     Dr. Waller was qualified as an expert in the fields of

neuroscience, addiction, and pain.        See id. at 20.

      2.     David Courtwright is a historian who taught at the

University of North Florida and other institutions before

retiring in 2019.     See Courtwright, 5/5/21, at 10.        Dr.

Courtwright was qualified as an expert in the history of opiate

use and abuse in drug policy.       See id. at 18.

      3.     Rahul Gupta served as Physician Director, Local Health

Officer, and Executive Director of the Kanawha-Charleston Health

Department from March 2009 to December 2014.          See Gupta, 5/5/21,

at 47.     Dr. Gupta also served as the Commissioner for the Bureau

of Public Health and Human Resources and the State Health

                                     6
Case 3:17-cv-01362 Document 1530 Filed 07/04/22 Page 7 of 184 PageID #: 79458



Officer for the State of West Virginia from January 2015 to

November 2018.      See id. at 47.

       4.     Connie Priddy is the Director of Quality Compliance at

Cabell County EMS and the Program Coordinator for the Huntington

Quick Response Team (“QRT”).       See Priddy, 5/6/21, at 182–83.

Ms. Priddy is also a licensed nurse.         See id. at 183-85.

       5.     Jan Rader is the Huntington Fire Chief and is also a

nurse.      See Rader, 5/7/21, at 27, 29.     Chief Rader has been with

the Huntington Fire Department for 27 years.          See id. at 27-28.

       6.     Craig McCann is a data analyst at Securities

Litigation and Consulting Group, Inc.         See McCann, 5/10/21, at

9.    Dr. McCann was qualified as an expert on data processing,

validating, reconciling, and summarizing large datasets as they

relate to ARCOS and related governmental datasets.           See id. at

20.

       7.     Chris Zimmerman is the Senior Vice President of

Corporate Security and Regulatory Affairs at ABDC.           See

Zimmerman, 5/12/21, at 128.       He has been with ABDC (or its

predecessor company) since 1990.         See id.

       8.     Donna Kelley is employed at Discount Emporium, Inc.,

doing business as Drug Emporium.         See Kelley, 5/13/21, at 229.

She testified as a records custodian for Drug Emporium.            See id.

       9.     David May is the Vice President of Diversion Control

and Security for ABDC.      See May, 5/14/21, at 13.       He has been

                                     7
Case 3:17-cv-01362 Document 1530 Filed 07/04/22 Page 8 of 184 PageID #: 79459



with the company since 2014.       See id. at 14.     Prior to joining

ABDC, he worked for the DEA for thirty years.          See id. at 16-17.

     10.   Stephen Mays is the Vice President of Regulatory

Affairs for ABDC.     See 5/17/21, at 177-78.       He has been an

employee for ABDC or its predecessor companies since 1974.             See

Mays, 5/18/21, at 145-46.

     11.   Michael Perry was a Sales Executive with ABDC from

1996 until 2020, when he retired.        See Perry, 5/19/21, at 67-68.

     12.   Michael Moné was employed by Cardinal Health from 2006

to 2012.   See Moné, 5/19/21, at 203.        In December of 2007, Mr.

Moné assumed the position of Vice President of Anti-Diversion

for Cardinal.    See id. at 205.     Mr. Moné has been a practicing

pharmacist as well as a practicing attorney.          See Moné, 5/20/21,

at 152-53.

     13.   Joseph Werthammer is a pediatrician with a

subspecialty in neonatology, and currently works as a full-time

neonatologist.    See Werthammer, 5/21/21, at 9-10.         Dr.

Werthammer practices at the Cabell-Huntington Hospital and the

School of Medicine at Marshall University.          See id. at 10.

     14.   Jesse Kave was employed by Cardinal Health as a

business consultant in its sales department from 2006 to 2018.

See Kave, 5/21/21, at 62-64.

     15.   Scott Lemley is the Director of Innovation for the

City of Huntington.     See Lemley, 5/21/21, at 112.        He previously

                                     8
Case 3:17-cv-01362 Document 1530 Filed 07/04/22 Page 9 of 184 PageID #: 79460



worked as a Criminal Intelligence Analyst for the Huntington

Police Department and as a member of the Mayor’s Office of Drug

Control Policy.     See id. at 112-13.

     16.    Michael Oriente has been employed at McKesson since

2004.   See Oriente, 5/25/21, at 18.       He was a Director of

Operations for one of McKesson’s distribution centers for three

years before becoming a Director of Regulatory Affairs.            See id.

at 18-19.

     17.    Timothy Ashworth is a Regional Sales Manager for

McKesson.    See Ashworth, 5/25/21, at 194.       He has been with

McKesson since 2005.      See id. at 195.

     18.    James Rafalski previously was employed as a DEA

Diversion Investigator from 2004 to 2017.         See Rafalski,

5/26/21, at 15-16.     The court granted in part and denied in part

defendant’s Daubert motion regarding Mr. Rafalski’s testimony.

See ECF No. 1529.

     19.    Charles “Chuck” Zerkle serves as Cabell County Sheriff

and was first elected to that position in 2016.           See Zerkle,

5/27/21, at 77, 84-85.

     20.    Lyn O’Connell works for the Joan C. Edwards School of

Medicine as the Associate Director of Addiction Sciences.            See

O'Connell, 5/27/21, at 192.

     21.    Joseph Rannazzisi worked at the DEA from March 1986 to

October 2015.    See Rannazzisi, 6/7/21, at 165.        He was Deputy

                                     9
Case 3:17-cv-01362 Document 1530 Filed 07/04/22 Page 10 of 184 PageID #: 79461



Assistant Administrator for the DEA’s Office of Diversion

Control for ten years, from July 2005 to October 2015.            See id.

at 165; see also Rannazzisi, 6/8/21, at 211-12.

       22.   Gordon Smith is a public health epidemiologist at the

West Virginia University School of Public Health.           See Smith,

6/10/21, at 97.      Dr. Smith was qualified as an expert on

epidemiology, drug overdoses, and overdose data and trends for

the State of West Virginia and Cabell County.           See id. at 114.

       23.   Jakki Mohr is a Professor of Marketing at the

University of Montana.      See Mohr, 6/10/21, at 227-28.        Dr. Mohr

was qualified as an expert in the field of marketing.            See id.

at 234.

       24.   Katherine Keyes is an Associate Professor of

Epidemiology at Columbia University's Mailman School of Public

Health.      See Keyes, 6/11/21, at 150-51.      Dr. Keyes was qualified

as an expert in the field of epidemiology, specializing in

opioid use, Opioid Use Disorder, and related harms.            See id. at

160.

       25.   Lacey Keller is co-owner of MK Analytics, a data and

analytics company.      See Keller, 6/15/21, at 49, 51-52.        Ms.

Keller was qualified as an expert in the field of data

analytics.      See id. at 58.

       26.   Nancy Young is the Executive Director of Children and

Family Futures, a non-profit organization that works on public

                                     10
Case 3:17-cv-01362 Document 1530 Filed 07/04/22 Page 11 of 184 PageID #: 79462



policy issues affecting children of parents with Substance Use

Disorders.    See Young, 6/16/21, at 9.       Dr. Young was qualified

as an expert on the impact of opioids on children and families

and remedies to address their impact.         See id. at 18.

      27.   Kevin Yingling is Chairman of the Board for the Cabell

County Health Department and the Chairman of the Board of Tri-

State Medical Missions.       See Yingling, 6/16/21, at 133-34.        Dr.

Yingling also works at PROACT once a week providing medication-

assisted treatment.      See id. at 152.

      28.   Thomas McGuire is a health economist in the Department

of Healthcare Policy at Harvard Medical School.           See McGuire,

6/17/21, at 7-8.     Dr. McGuire was qualified as an expert in the

field of health economics.       See id. at 12.

      29.   Judith Feinberg is an internist with special training

in infectious diseases.       See Feinberg, 6/17/21, at 88-89.        She

is employed at the West Virginia University School of Medicine

as a Professor of Behavioral Medicine and Psychiatry, Professor

of Medicine in the section of infectious diseases, and Doctor

E.B. Flink Vice Chair of Medicine for Research.           See id.    Dr.

Feinberg was qualified as an expert in the prevention and

treatment of infectious diseases associated with opioid use

disorder and injection opioid drug use.          See id. at 106.




                                     11
Case 3:17-cv-01362 Document 1530 Filed 07/04/22 Page 12 of 184 PageID #: 79463



      30.   Skip Holbrook was Chief of the Huntington Police

Department from 2007 to 2014, and he served on the Appalachia

HIDTA Executive Board.      See Holbrook, 6/17/21, at 189-90.

      31.   Caleb Alexander is the owner and co-founder of a

consultancy called Monument Analytics, a Professor of

Epidemiology and Medicine at Johns Hopkins University, and a

general internist.      See Alexander, 6/28/21, at 8-9.        Dr.

Alexander was qualified as an expert in the field of

epidemiology and opioid abatement intervention.           See id. at 18-

19.

      32.   George Barrett is a forensic economist with the

consulting firm of Brookshire Barrett & Associates.            See

Barrett, 6/29/21, at 55-56.       Mr. Barrett was qualified as an

expert in the field of forensic economics.          See id. at 66.

      33.   Steve Williams is the Mayor of the City of Huntington,

and he has served in that role since January 1, 2013.            See

Williams, 6/30/21, at 7-8.

      34.   Chris Gilligan is the Chief of the Division of Pain

Medicine at Brigham & Women’s Hospital in Boston, a teaching

hospital for Harvard Medical School.         See Gilligan, 7/2/21, at

8, 12-13.    Dr. Gilligan was qualified as an expert in the field

of pain management and the risks and benefits of prescription

opioids.    See id. at 26.



                                     12
Case 3:17-cv-01362 Document 1530 Filed 07/04/22 Page 13 of 184 PageID #: 79464



       35.   Timothy Deer is a practicing physician with a

specialty in anesthesiology and pain medicine.           See Deer,

7/7/21, at 8-9.     Dr. Deer has practiced pain medicine in

Charleston for twenty-seven years, and he runs the largest pain

practice in West Virginia.       See id. at 12-13, 22-23.       Dr. Deer

was qualified as an expert in pain management and the standard

of care for pain management.        See id. at 37.

       36.   James Hughes is an economist who specializes in

microeconomics, particularly labor economics and health

economics.     See Hughes, 7/7/21, at 209.       Dr. Hughes is a

Professor of Economics Emeritus at Bates College.           See id. at

212.    Dr. Hughes was qualified as an expert in the fields of

health economics and health insurance related to prescription

medicines.     See id. at 220.

       37.   Theodore Martens is a certified public accountant and

specializes in forensic accounting.         See Martens, 7/8/21, at 24-

25, 27.      Mr. Martens was qualified as an expert in the fields of

forensic accounting and data analytics.          See id. at 40.

       38.   Kevin M. Murphy is the George J. Stigler Distinguished

Service Professor of Economics in the Graduate School of

Business in the Department of Economics at the University of

Chicago.     See Murphy, 7/8/21, at 56.      Dr. Murphy was qualified

as an expert in the field of economics and especially in health

economics.     See id. at 63.

                                     13
Case 3:17-cv-01362 Document 1530 Filed 07/04/22 Page 14 of 184 PageID #: 79465



      39.   Peter Boberg is an economist at Charles River

Associates, a Boston-based economic consulting firm.            See

Boberg, 7/8/21, at 151, 156.        Dr. Boberg was qualified as an

expert in the fields of econometrics, data analysis, and large

datasets.    See id. at 160.

      40.   John MacDonald is the Principal Executive Officer and

President of Berkley Research Group, a global consulting firm.

See MacDonald, 7/9/21, at 8-9.        Mr. MacDonald was qualified as

an expert in the fields of data analytics related to the

pharmaceutical supply chain.        See id. at 16.

      41.   Robert Rufus is a certified public accountant and a

forensic accountant.      See Rufus, 7/12/21, at 8-9, 11.        Dr. Rufus

was qualified as an expert in public and forensic accounting.

See id. at 16.

      42.   Stephenie Colston is currently the President and Chief

Executive Office of Colston Consulting Group, which offers

consulting services related to both mental health and substance

use disorder services.      See Colston, 7/12/21, at 57.        Ms.

Colston was qualified as an expert in the area of systems,

programs, and services that provide care for people with

substance use disorder, the structure, financing, and how to

assess them, and trends in the substances that are being abused.

See id. at 79.



                                     14
Case 3:17-cv-01362 Document 1530 Filed 07/04/22 Page 15 of 184 PageID #: 79466



      43.    Vic Brown was the Executive Director of Appalachia

HIDTA.      See Brown, 5/17/21, at 247, 272-73.

      44.    Stacy Harper-Avilla testified on behalf of the DEA.

See Harper-Avilla, 4/11/19, at 17.          She is the Section Chief of

the DEA’s United Nations Reporting and Quota Section.            See id.

at 21.

      45.    Thomas Prevoznik is a 28-year veteran of the DEA

testifying as a 30(b)(6) witness.          See Prevoznik, 4/17/19, at

42, 71.      He is the Acting Section Chief for Pharmaceutical

Investigations in the Diversion Control Division.           See id. at

42.

      46.    Matthew Strait is a 20-year veteran of the DEA who

testified on its behalf.       See Strait, 5/31/19, at 14-15.        He is

the Senior Policy Advisor to the Assistant Administrator for the

Diversion Control Division.       See id. at 16.

      47.    John Gray is the former president and CEO of

Healthcare Distribution Alliance (“HDA”).          See Gray, 7/30/20, at

19.   He served as president and CEO of the HDA from April 2004

until May 2020.      See id. at 20.

      48.    Patrick Kelly testified on behalf of the Healthcare

Distribution Alliance in both his personal capacity and as a

Rule 30(b)(6) witness for the organization.          See Kelly, 5/10/19,

at 31.



                                      15
Case 3:17-cv-01362 Document 1530 Filed 07/04/22 Page 16 of 184 PageID #: 79467



      49.   Eric Cherveny works in diversion control at ABDC.           See

Cherveny, 11/9/18, at 200.

      50.   Nathan Elkins works in Sales at ABDC and started in

2005 as a Retail Account Manager.         See Elkins, 11/14/18, at 27.

      51.   Edward Hazewski started at ABDC in 2007 and is the

Director of Diversion Control and Security.          See Hazewski,

10/25/18, at 19.

      52.   Lisa Mash was the Vice President of Sales at ABDC for

approximately 14 years.       See Mash, 7/28/20 at 27.

      53.   Eric Brantley is a former Cardinal Health employee who

worked there for eleven years from 2002 to 2013.           See Brantley,

11/27/18, at 518.     He worked in the Quality and Regulatory

Affairs department for approximately three years.           See id. at

18, 520.

      54.   Mark Hartman worked at Cardinal in a variety of

positions for twelve years from 1998 until February 2010.             See

Hartman, 11/15/18, at 131, 356-59.         For a time, he was the

Senior Vice President of Supply Chain Integrity and Regulatory

Operations.    See id. at 19.

      55.   Kim Howenstein is the Director of Non-PD Customer

Management at Cardinal Health.        See Howenstein, 1/10/19, at 11.

      56.   Steve Lawrence is the Senior Vice President of

Independent Sales at Cardinal Health.         See Lawrence, 1/4/19, at

26.

                                     16
Case 3:17-cv-01362 Document 1530 Filed 07/04/22 Page 17 of 184 PageID #: 79468



      57.   Jennifer Norris testified as a 30(b)(6) witness for

Cardinal.    See Norris, 8/7/18, at 16-17.        At the time she was

deposed, she had been with Cardinal for eighteen years and held

the position of Vice President & Associate General Counsel at

Cardinal Health.     See id. at 14.

      58.   Gilberto Quintero is an employee of Cardinal Health

who started in December 2009 as Senior Vice President of Quality

Regulatory Affairs.      See Quintero, 12/6/18, at 12, 16-17.

      59.   Steve Reardon started at Cardinal Health in 1998 and

retired in 2016.     See Reardon, 11/30/18, at 498.        From 2005 to

2007, he was the Vice President of Quality and Regulatory

Affairs.    See id. at 410-11.

      60.   Gary Boggs is the Vice President of Regulatory Affairs

and Compliance at McKesson.       See Boggs, 1/17/19, at 18.        Prior

to working for McKesson, he worked for the DEA from 1985 until

he retired in 2012.      See id. at 20.

      61.   Dave Gustin was a former Director of Regulatory

Affairs at McKesson for approximately seven years until 2013.

See Gustin, 8/17/18, at 22, 478-81.         Gustin began working at

McKesson in 1995.     See id. at 478.

      62.   Nathan Hartle is the Vice President of Regulatory

Affairs and Compliance at McKesson.         See Hartle, 7/31/2018, at

15.   He testified on behalf of McKesson as a 30(b)(6) witness.

See id. at 16.

                                     17
Case 3:17-cv-01362 Document 1530 Filed 07/04/22 Page 18 of 184 PageID #: 79469



      63.   Nathan Hartle also testified as a fact witness.           See

Hartle, 8/1/18, at 15.

      64.   Gary Hilliard was the Director of Regulatory Affairs

at McKesson from 1998 to 2016.        See Hilliard, 1/10/19, at 17.

      65.   Donald Walker was the Senior Vice President of

Distribution for McKesson from 1996 until he retired in June

2015.   See Walker, 1/10/19, at 357-59.        He started at McKesson

in 1987.    See id. at 357.

      66.   Darren Cox is a Special Agent with the Federal Bureau

of Investigation (“FBI”) who served as the coordinator of the

Huntington Violent Crime and Drug Task Force from November 2012

to May 2015.     See Cox, 7/15/20, at 10-11.

      67.   June Howard is Chief of the DEA’s Reports Analysis

Unit.   See Howard, 4/25/19, at 17-18.        She was formerly the

Chief of the Targeting and Analysis Unit from 1996 to 2010.             See

id. at 19.    Ms. Howard testified on behalf of the DEA.          See id.

at 15-17.

      68.   Robert Knittle was the Executive Director of West

Virginia Board of Medicine from December 2005 to December 31,

2016.   See Knittle, 8/27/20, at 25-26.

      69.   Michael Mapes worked for the DEA from 1977 to 2007 in

various positions, all related to diversion.           See Mapes,

7/11/19, at 47-48.      He has worked in the pharmaceutical industry

since retiring from the DEA.        See id. at 349-50.

                                     18
Case 3:17-cv-01362 Document 1530 Filed 07/04/22 Page 19 of 184 PageID #: 79470



      70.   Beth Thompson testified as a 30(b)(6) witness on

behalf of the Cabell County Commission.          See Thompson, 7/23/20,

at 5-7.

III. Opioid Epidemic in Huntington and Cabell

      The court finds that there is and has been an opioid

epidemic in the City of Huntington and Cabell County, West

Virginia.    See Keyes, 6/11/21, at 198.       “The U.S. opioid crisis

is an extraordinary public health crisis that started at least

two decades ago and has accelerated over the past decade.”             Ex.

MC-WV-02079 at 1.     “Since 2000, more than 300,000 Americans have

lost their lives to an opioid overdose.”          Ex. DEF-WV-01597 at

22.   West Virginia likewise “has been experiencing a public

health epidemic of drug overdose deaths for more than a decade.”

Ex. P-41213 at 4.

      Former West Virginia Bureau of Public Health Commissioner,

Dr. Rahul Gupta, described West Virginia as “ground zero” for

the national opioid epidemic, the hardest-hit state in the

country.    Gupta, 5/5/21, at 74, 77; Gupta, 5/6/21, at 96.

“Opioids were detected in 6,001 drug overdose deaths in West

Virginia from 2001 through 2015.”         Ex. P-41213 at 7.

      Huntington and Cabell are among the West Virginia

communities hardest hit by the opioid epidemic.           From 2001 to

2018, there were 1,151 overdose deaths in Cabell County, of

which 1,002 were opioid-related.          See Smith, 6/10/21, at 134-35.

                                     19
Case 3:17-cv-01362 Document 1530 Filed 07/04/22 Page 20 of 184 PageID #: 79471



From 2001 to 2017, the fatal overdose rate in Cabell County

increased from 16.6 to 213.9 per 100,000.          See id. at 139-40.

Cabell County’s opioid overdose rate is higher than that of West

Virginia, which itself is above the national average.            See

Keyes, 6/11/21, at 201.

      As of 2017, more than 10% of the population of the City of

Huntington and Cabell County, and Wayne County are or have been

addicted to opioids.      See Ex. P-41850 at 7; Werthammer, 5/21/21,

at 20.   In 2018, the prevalence of opioid use disorder (“OUD”)

in Cabell and Huntington was 8.9%, which represents

approximately 8,200 people.       See Keyes, 6/11/21, at 212.        Dr.

Keyes estimated that approximately 7,109 of these OUD cases in

Cabell and Huntington were directly or indirectly attributable

to prescription opioids.       See Keyes, 6/14/21, at 160, 175.

      Over 600 pregnant women in Cabell and Huntington have been

admitted to treatment with OUD.        See Young, 6/16/21, at 34.

“West Virginia has the highest incidence of Neonatal Abstinence

Syndrome in the country.”       Werthammer, 5/21/21, at 16.       Since

2010, approximately 2,500 newborns in Cabell County have been

born with neonatal abstinence syndrome (“NAS”).           See id. at 18.

In 2012, one-third of Cabell and Huntington Hospital NICU

patients were babies withdrawing from opioids.           See id. at 14.

The rate of babies being born with NAS at Cabell and Huntington

Hospital has been as high as 10%.         See id. at 16-18.

                                     20
Case 3:17-cv-01362 Document 1530 Filed 07/04/22 Page 21 of 184 PageID #: 79472



      The number of children in West Virginia placed into foster

care doubled over a ten-year period during the opioid epidemic,

with 80% of placements involving substance abuse issues.             See

Young, 6/16/21, at 20, 42-43.        In Cabell County, overdose deaths

and foster care entries exceeded the national averages,

resulting in demand for child placements not being met and

increased placements outside of extended family, which can have

adverse effects on a child’s intellectual, social, and emotional

development.     See id. at 19-22, 33, 41-46, 58-59.

      The opioid epidemic in Cabell/Huntington has resulted in

sharply increased rates of infectious disease, including HIV,

Hepatitis B and C, and complications due to Endocarditis.             See

Yingling, 6/16/21, at 156-58.        Injection drug use introduces

foreign organisms into the bloodstream, causing blood-borne

infections that have high mortality and morbidity and are a

substantial part of the public health crisis of the opioid

epidemic.    See Feinberg, 6/17/21, at 109, 112.

      For people who inject drugs, there is a 1 in 160 chance of

acquiring HIV with each injection, and an increasing risk with

every additional injection.       See id. at 115.      In 2019, there

were 69 new cases of HIV in Cabell County, of which 90% were

among people who inject drugs.        See id. at 117.

      Hepatitis C is even more contagious than HIV among

injection drug users, with approximately 40% of injection drug

                                     21
Case 3:17-cv-01362 Document 1530 Filed 07/04/22 Page 22 of 184 PageID #: 79473



users contracting Hepatitis C in their first year of use and 90%

eventually contracting it.       See id. at 128-29.      As a result,

West Virginia has, for the past two decades, been among the top

two or three states for rate of Hepatitis C infection, while the

rate in Cabell County is far higher still, reaching a rate of

10.3 cases per 100,000 people—more than double West Virginia’s

already-high statewide rate of 5.1 cases per 100,000 people.

See id. at 129-30.

      Hepatitis B, too, is highly associated with injection drug

use and, as a result, West Virginia has had the highest

Hepatitis B rates in the United States for over a decade.             See

id. at 135-36.     At present, the incidence of Hepatitis B in West

Virginia is 14 times the national average, while Cabell County

has among the highest rates of Hepatitis B infections among West

Virginia’s counties, measuring 17 cases per 100,000 people in

2016.   See id. at 136.

      Endocarditis is most commonly caused by the injection of

bacteria through the skin.       See id. at 140.     Although

Endocarditis is not actively surveilled, a recent study across

four West Virginia hospitals that included two in Cabell and

Huntington showed that a significant proportion of the 762

Endocarditis cases observed is concentrated among people living

in or near Cabell and Huntington.         See id. at 144.



                                     22
Case 3:17-cv-01362 Document 1530 Filed 07/04/22 Page 23 of 184 PageID #: 79474



      The opioid epidemic has increased crime rates, decreased

property values, and adversely affected neighborhoods throughout

Cabell and Huntington.      See Zerkle, 5/27/21, at 119-220

(addiction is draining Cabell County’s workforce, reducing the

population and tax base; Huntington owns 350-plus abandoned

homes); Lemley, 5/21/21, at 118-19 (drug and property crime

spiked in 2013-14).      In 2004, only a small area of Huntington

had drug offenses; by 2014, drug offenses had become prevalent

throughout the city and by 2016 engulfed every neighborhood.

See Lemley, 5/21/21, at 173-74.

      Prescription opioids remain to this day an ongoing and

significant cause of drug overdose deaths in Cabell and

Huntington, with preliminary data showing sharp increases in

opioid-related deaths throughout West Virginia in 2019 and 2020.

See Smith, 6/10/21, at 141, 153-54.

IV.   Controlled Substances Act and Closed System of Distribution

      The Controlled Substances Act (“CSA”) establishes a closed

system for drugs classified as controlled substances.            See Ex.

DEF-WV-01597 at 11.      Every party in the closed system must be

registered by the Drug Enforcement Agency (“DEA”).            Under the

closed system, DEA-registered manufacturers may sell controlled

substances only to DEA-registered distributors and pharmacies;

DEA-registered distributors may distribute controlled substances

only to DEA-registered dispensers (such as pharmacies and

                                     23
Case 3:17-cv-01362 Document 1530 Filed 07/04/22 Page 24 of 184 PageID #: 79475



hospitals); and DEA-registered dispensers may dispense

controlled substances only pursuant to prescriptions written by

DEA-registered prescribers.       See Rafalski, 5/26/22, at 16-17;

Rannazzisi, 6/7/22, at 175-76; Zimmerman, 5/13/22, at 152; Ex.

DEF-WV-01597 at 6; see also 21 U.S.C. §§ 822(a)-(b); 21 C.F.R.

§ 1301.74(a).

      The DEA is charged with regulating and overseeing the

controlled system of distribution.         The DEA’s responsibilities

in this regard begin with the registration process as only DEA-

registered entities are permitted to participate in the

controlled system.      In this respect, the DEA acts as a

“gatekeeper.”     Rannazzisi, 6/7/22, at 177; Rannazzisi, 6/8/22,

at 210.

      The DEA “shall register an applicant” unless it determines

“that the issuance of such registration is inconsistent with the

public interest.”     21 U.S.C. § 823(b).

      In determining the public interest, the following
      factors shall be considered: (1) maintenance of
      effective control against diversion of particular
      controlled substances into other than legitimate
      medical, scientific, and industrial channels; (2)
      compliance with applicable State and local law; (3)
      prior conviction record of applicant under Federal or
      State laws relating to the manufacture, distribution,
      or dispensing of such substances; (4) past experience
      in the distribution of controlled substances; and (5)
      such other factors as may be relevant to and
      consistent with the public health and safety.

Id.


                                     24
Case 3:17-cv-01362 Document 1530 Filed 07/04/22 Page 25 of 184 PageID #: 79476



       The closed system allows the DEA to monitor the flow of

controlled substances from the manufacturer to the patient with

the goal of ensuring that prescription drugs do not flow into

the illicit marketplace.       See Rannazzisi, 6/7/22, at 174-75,

177.    In order to monitor the flow of controlled substances

within the closed system, the DEA maintains a database known as

Automation of Reports and Consolidated Orders System (“ARCOS”).

Registrants, like defendants, are required to report to ARCOS,

on a routine basis, every shipment of prescription opioids.             See

Rafalski, 5/26/21, at 199-200.

       Each distribution center operated by defendants is required

to obtain its own DEA registration.         See Zimmerman, 5/13/21, at

152-53, 171.     The DEA inspects and audits every DEA-registered

distributor and manufacturer.        See Rannazzisi, 6/8/22, at 176-

77.    During these cyclical inspections, the DEA (1) reviews a

registrant’s policies and procedures for maintaining effective

controls against diversion, (2) looks at customer due diligence

files and recordkeeping, (3) performs a security sweep and

security audit, (4) ensures alarm systems are up to date, (5)

ensures that cages and vaults are compliant with federal

regulations, and (6) audits certain products.           See id. at 176-

80.    After an inspection is complete, the DEA communicates its

findings to the distributor.        See id. at 180.



                                     25
Case 3:17-cv-01362 Document 1530 Filed 07/04/22 Page 26 of 184 PageID #: 79477



      A. Suspicious Order Monitoring Programs

      The CSA and its implementing regulations require “[a]ll

applicants and registrants [to] provide effective controls and

procedures to guard against theft and diversion of controlled

substances.”     21 C.F.R. § 1301.71(a).      The regulations largely

address the physical handling and security of controlled

substances, including specifications for storage areas,

cabinets, vaults, cages, alarms, compounding areas, and the

like.   See, e.g., 21 C.F.R. § 1301.72.

      Wholesale distributors, like defendants, are also required

to “design and operate a system to disclose to the registrant

suspicious orders of controlled substances.          The registrant

shall inform the Field Division Office of the Administration in

his area of suspicious orders when discovered by the

registrant.”     21 C.F.R. § 1301.74(b).      The regulation goes on to

define suspicious order to “include orders of unusual size,

orders deviating substantially from a normal pattern, and orders

of unusual frequency.”      Id.; see also Rafalski, 5/26/21, at 82-

83, 203; Rannazzisi, 6/9/21, at 9-10; Mapes, 7/11/19, at 80.

      Substantial compliance with the relevant security

requirements may be deemed sufficient by the DEA.           21 C.F.R.

§ 1301.71(b).     “A registrant’s regulatory obligations under the

CSA, . . . and [its] implementing regulations do not require

strict compliance.      Only substantial compliance is required.”

                                     26
Case 3:17-cv-01362 Document 1530 Filed 07/04/22 Page 27 of 184 PageID #: 79478



In re Nat’l Prescription Opiate Litig., No. 1:17-MD-2804, 2021

WL 3917174, at *3 (N.D. Ohio Sept. 1, 2021).           “A determination

of substantial compliance . . . is a fact-intensive inquiry

. . . and whether a defendant has substantially complied with

the CSA is a question of fact.”        Id.; see also In re Nat'l

Prescription Opiate Litig., No. 1:17-MD-2804, 2022 WL 671219, at

*6 (N.D. Ohio Mar. 7, 2022) (“[T]he ultimate determination of

whether a defendants’ compliance was substantial, or whether it

falls somewhere short of that mark, is best left to a jury.”).

      The DEA does not and will not tell a distributor whether an

order is suspicious but, rather, leaves that decision to the

distributor.     See Rafalski, 5/26/21, at 82; Rannazzisi, 6/9/21,

at 11 (“It was up to the distributor to make the decision

whether an order is suspicious or not.”).

      B. The Distributor Initiative

      In 2005, the DEA convened individual meetings with

distributors, referred to as the “Distributor Initiative.”             See

Mapes, 7/11/19, at 129-30.       These meetings were “started in

response to the Internet pharmacy issue.”          Id.   Mapes described

the internet pharmacy issue as

      when websites were starting to offer their service to
      patients, doctors and pharmacies to put the three
      together so that patients could get a prescription
      filled by a pharmacy after completing a questionnaire
      on a website and getting that approved by a doctor for
      a prescription, and a pharmacy getting the


                                     27
Case 3:17-cv-01362 Document 1530 Filed 07/04/22 Page 28 of 184 PageID #: 79479



      prescriptions and filling those and sending them to
      patients.

Id. at 30.

      Internet pharmacies were a concern to the DEA because there

was no legitimate doctor-patient relationship and “the

pharmacies were filling prescriptions for patients that they

knew nothing about, for doctors that weren’t within the

geographic area, all for the same drug.”          Id. at 131.

      Mr. Mapes was present at meetings between the DEA and all

three defendants.     See Exs. P-09112, P-09114, and P-12805.

According to memoranda prepared by Mr. Mapes, the meetings

concerned the growing internet pharmacy problem.           See id.

      The DEA provided ABDC with information, materials, and

suggested tools to help with investigations of possible illegal

internet pharmacies.      See Ex. AM-WV-01079 at 1; Mays, 5/18/21,

193-94.    The materials provided by the DEA included a

questionnaire entitled “Internet Pharmacy – Decision Questions,”

which consisted of twelve questions designed to help identify

customers engaged in illegal internet activity.           See Ex. P-09112

at 17-18.    Following the Distributor Initiative meeting, ABDC

developed and implemented a new policy: CSRA 2.12: Possible

Excessive/Suspicious Order Review.         See Mays, 5/18/21, at 198-

205; Ex. AM-WV-01079 at 1-11.




                                     28
Case 3:17-cv-01362 Document 1530 Filed 07/04/22 Page 29 of 184 PageID #: 79480



      Mr. Reardon attended a presentation by the DEA to Cardinal

Health as part of the Internet Pharmacy Initiative on August 22,

2005.   See Reardon, 11/30/18, at 517; Ex. P-09114.           Following

this presentation, Mr. Reardon immediately started developing a

process and program to identify and monitor Internet pharmacy

activity.    See Reardon, 11/30/18, at 517-18.

      C. First Rannazzisi Letter

      On September 27, 2006, the DEA issued a letter to

distributors from DEA Deputy Assistant Administrator Joseph T.

Rannazzisi.    The letter’s stated purpose was “to reiterate the

responsibilities of controlled substance distributors in view of

the prescription drug abuse problem our nation currently faces.”

Ex. P-00032.     It reminded distributors that the CSA “uses the

concept of registration as the primary means by which

manufacturers, distributors, and practitioners are given legal

authority to handle controlled substances” and that registration

also serves as “the primary incentive for compliance with the

regulatory requirements of the CSA and DEA regulations.”             Id.

      Mr. Rannazzisi referred to the statutory factors that the

DEA must consider in deciding whether to revoke a distributor’s

registration, which are set forth in 21 U.S.C. § 823(e).             See

id.   The first of those factors is “the duty of distributors to

maintain effective controls against diversion of controlled

substances into other than legitimate medical, scientific, and

                                     29
Case 3:17-cv-01362 Document 1530 Filed 07/04/22 Page 30 of 184 PageID #: 79481



industrial channels.”      Id.   The letter also cites distributors’

additional obligation to report suspicious orders of controlled

substances under 21 C.F.R. § 1301.74(b).          See id.

      After citing these two obligations, Mr. Rannazzisi

continues:

      Thus, in addition to reporting all suspicious orders,
      a distributor has statutory responsibility to exercise
      due diligence to avoid filling suspicious orders that
      might be diverted into other than legitimate medical,
      scientific, and industrial channels. Failure to
      exercise such due diligence would, as circumstances
      warrant, provide a statutory basis for revocation or
      suspension of a distributor's registration.

      In a similar vein, given the requirement under section
      823(e) that a distributor maintain effective controls
      against diversion, a distributor may not simply rely
      upon the fact that the person placing the suspicious
      order is a DEA registrant and turn a blind eye to the
      suspicious circumstances. Again, to maintain
      effective controls against diversion as section 823
      requires, the distributor should exercise due care in
      confirming the legitimacy of all orders prior to
      filling.

Id.

      To determine whether an order is legitimate, Mr. Rannazzisi

recommended that distributors pose a series of ten non-inclusive

questions to the pharmacies that they supply.           See id.   All

defendants received a copy of the letter.          See Zimmerman,

5/12/21, at 212; Reardon, 11/30/18, 525-26; Hilliard, 1/10/19,

at 53.




                                     30
Case 3:17-cv-01362 Document 1530 Filed 07/04/22 Page 31 of 184 PageID #: 79482



      D. Second Rannazzisi Letter

      On February 7, 2007, Mr. Rannazzisi sent a second letter to

registrants.     See Rannazzisi, 6/8/21, at 143-44; Ex. P-00032.

According to Mr. Rannazzisi, the February letter was the same as

the September letter and it was sent because the DEA “felt that

there were some registrants who did not get the September

letter, so we re-sent it.”       Rannazzisi, 6/8/21, at 144.

      E. Third Rannazzisi Letter

      On December 27, 2007, Rannazzisi sent a third letter that

provided further guidance regarding distributors’ obligations.

It stated, for example, with respect to suspicious order

monitoring systems that

      it is the sole responsibility of the registrant to
      design and operate such a system. Accordingly, DEA
      does not approve or otherwise endorse any specific
      system for reporting suspicious orders. Past
      communications with DEA, whether implicit or explicit,
      that could be construed as approval of a particular
      system for reporting suspicious orders, should no
      longer be taken to mean that DEA approves a specific
      system.

Ex. P-00032.

      According to the letter, “[f]iling a monthly report of

completed transactions (e.g., “excessive purchase report” or

“high unit purchases”) does not meet the statutory requirement

to report suspicious orders.”        Id.   The letter also informed

registrants, “The determination of whether an order is

suspicious depends not only on the ordering patterns of the

                                     31
Case 3:17-cv-01362 Document 1530 Filed 07/04/22 Page 32 of 184 PageID #: 79483



particular customer, but also on the patterns of the

registrant’s customer base and the patterns throughout the

relevant segment of the regulated industry.”           Id.

      The Rannazzisi letter concluded that

      registrants that routinely report suspicious orders,
      yet fill these orders without first determining that
      order is not being diverted into other than legitimate
      medical, scientific, and industrial channels, may be
      failing to maintain effective controls against
      diversion. Failure to maintain effective controls
      against diversion is inconsistent with the public
      interest as that term is used in 21 USC 823 and 824,
      and may result in the revocation of the registrant’s
      DEA Certificate of Registration.

Id.   All three defendants reported receiving the third

Rannazzisi letter.      See Zimmerman, 5/13/21, at 20; Moné,

5/20/21, at 24; Oriente, 5/25/21, at 52.

V.    Defendants Substantially Complied with Their Duties under
      the CSA to Design and Operate a SOM System and Report
      Suspicious Orders

      As discussed in greater detail below, at all relevant

times, defendants had in place suspicious order monitoring

(“SOM”) systems as required by the CSA and its implementing

regulations.

      A. ABDC

      The evidence at trial showed that ABDC’s Suspicious Order

Monitoring Program has evolved and changed over the years.             From

1998 through present, ABDC’s program has taken three general

forms:


                                     32
Case 3:17-cv-01362 Document 1530 Filed 07/04/22 Page 33 of 184 PageID #: 79484



      1. Order Monitoring Program (OMP)

      In 1996, ABDC began to develop a new suspicious order

monitoring program.      On September 30, 1996, Zimmerman wrote to

Thomas Gitchel, the Chief of the Liaison and Policy Section of

at the DEA, suggesting that ABDC’s predecessor, Bergen Brunswig,

work with DEA to develop a new “suspicious order reporting

program that would provide better quality information to DEA in

a more efficient manner” by detecting and reporting suspicious

orders electronically.      See Zimmerman, 5/13/21, at 174; Ex. AM-

WV-00781, at 9-12.

      ABDC’s proposal to the DEA detailed the type of information

about the suspicious orders that was to be included in the

Excessive Purchase Reports:

      The summary report would show the customer name,
      address, DEA Number, Item Description, NDC Number,
      Order Date, Active Ingredient Volume Ordered, Active
      Ingredient Shipped and Customer “Allowance” (i.e.
      average of customers’ prior four months orders).

Ex. AM-WV-00781 at 10.      On October 29, 1996, Mr. Gitchel

responded to Mr. Zimmerman’s proposal, confirming the

information that would be included in the Reports:

      As proposed, the summary report would include the
      customer’s name, address, and DEA number; a
      description of the item ordered; the NDC number; date
      ordered; active ingredient volume ordered and shipped;
      and the customer’s “allowance or average order.”




                                     33
Case 3:17-cv-01362 Document 1530 Filed 07/04/22 Page 34 of 184 PageID #: 79485



Ex. AM-WV-00781 at 7.      Over the next two years, Bergen Brunswig

continued to develop and test the new SOM program.            See

Zimmerman, 5/12/21, at 219; Ex. AM-WV-00781 at 2-3, 7-8

      The new program would set thresholds that applied a default

multiplier of three to a customer’s four-month purchasing

average.    See Zimmerman, 5/13/21, at 55.        However, the program

permitted the default multiplier to be adjusted for any given

drug family, as needed.       See id. at 55.     Some DEA field offices

asked that the default multiplier be adjusted upward.            See id.

at 55-56.

      On July 23, 1998, Patricia M. Good, the DEA’s Chief of the

Liaison and Policy Section of the Office of Diversion Control,

wrote to Bergen Brunswig stating, “This is to grant approval of

your request to implement on a nationwide basis your newly

developed system to identify and report suspicious orders for

controlled substances and regulated chemicals, as required by

Federal Regulation.”      Ex. AM-WV-00781 at 1; Ex. AM-WV-02658.

      Ms. Good went on to write that “DEA managers who have been

involved with the testing of the system have relayed their

positive opinions regarding its ability to provide information

in a fashion which is not only useful overall, but is also

responsive to the needs of individual DEA offices.”            Id.

      When Bergen Brunswig and Amerisource Health merged in 2001,

the newly formed company, AmerisourceBergen, adopted and used

                                     34
Case 3:17-cv-01362 Document 1530 Filed 07/04/22 Page 35 of 184 PageID #: 79486



the Bergen Brunswig SOM program across all ABDC distribution

centers nationwide.      See Zimmerman, 5/12/21, at 192; Mays,

5/17/21, at 189.     Prior to April 2007, the DEA never told ABDC

that it should not ship suspicious orders or that ABDC should

enhance or otherwise modify the suspicious order reports that

ABDC was sending to the DEA.        See Zimmerman, 5/13/21, at 196;

Mays, 5/18/21, at 193-96.

      On April 19, 2007, the DEA issued an Immediate Suspension

Order (“ISO”) for ABDC’s Orlando, Florida distribution center.

Ex. P-00049.     The focus of the ISO was ABDC’s Orlando

distribution center’s distribution of controlled substances to

four Florida customers engaged in illicit internet pharmacy

activity.    See Ex. P-00049; see also Mays, 5/19/21, at 23;

Zimmerman, 5/13/21, at 190-91.        As part of the pharmacy

investigations ABDC launched after the distributor initiative,

ABDC had already cut off supplying controlled substances to

three of the four pharmacies named in the ISO.           See Zimmerman,

5/12/21, at 225; Zimmerman, 5/13/21, at 192.

      Shortly after the ISO was served, ABDC met with the DEA in

Washington, D.C. on April 25, 2007.         See Mays, 5/19/21, at 26.

DEA informed ABDC that it wanted ABDC to implement a program

that blocked and did not ship the orders it identified as

suspicious.    See id. at 26-27.      According to ABDC, before this

point in time, DEA had not offered any guidance regarding a

                                     35
Case 3:17-cv-01362 Document 1530 Filed 07/04/22 Page 36 of 184 PageID #: 79487



registrant’s obligations regarding suspicious orders that

differed from ABDC’s program—that is, DEA has never informed

ABDC that it should not be shipping suspicious orders or that

Excessive Purchase Reports were an insufficient means to report

suspicious orders.      See, e.g., Zimmerman, 5/13/21, at 196; Mays,

5/18/21, at 193-94, 195-96.

      Between April 19 and June 22, 2007, ABDC worked to develop

an enhanced diversion control program.         See Mays, 5/19/21, at

29-30.   ABDC and DEA had meetings at DEA headquarters and DEA

personnel were on-site at ABDC’s headquarters working alongside

personnel from ABDC’s Corporate Security and Regulatory Affairs

(CSRA) in order to assist with the development of the new

diversion control program.       See id. at 26-29.

      While on site, DEA personnel also provided additional input

and guidance.     Mr. Mapes, Mr. Wright, and Mr. Davis, at ABDC’s

request, reviewed due diligence files for several of its high-

volume accounts so the DEA could advise whether these files

raised any concerns that would justify ABDC cutting off these

customers or warrant referral to DEA for investigation.             See

Mays, 5/19/21, at 30.      The DEA never indicated to ABDC that any

of these due diligence files were deficient.           See Mays, 5/19/21,

at 31.   The DEA told ABDC that it had done everything it could

have done in terms of due diligence for these customers,



                                     36
Case 3:17-cv-01362 Document 1530 Filed 07/04/22 Page 37 of 184 PageID #: 79488



including for certain “high volume” customers.           See id. at 30-

31.

      The DEA and ABDC resolved the Orlando matter through a

Settlement and Release Agreement on June 22, 2007.            See Ex. P-

00009.   The Agreement did not include any fine or financial

penalty.    See id.   The Agreement stated that it was not “an

admission of liability by AmerisourceBergen” and

“AmerisourceBergen expressly denies the DEA’s allegations.”             Id.

at 1; see also Mays, 5/19/21, at 36.         ABDC’s new diversion

control program included an enhanced SOM program that would

block and not ship suspicious orders.

      The Agreement further required that that the Orlando

distribution center’s DEA-registration would be reinstated only

after DEA “conduct[ed] reviews of the functionality of

AmerisourceBergen’s diversion compliance program (“Compliance

Reviews”) at up to five distribution centers of

AmerisourceBergen.”      Ex. P-00009 at 3.     The Compliance Reviews

and audits were thorough, taking several days to complete and

including the DEA’s review of the order review process at the

distribution center level.       See Mays, 5/19/21, at 34.

      The DEA also audited ABDC’s order review process at the

corporate level, looking, for instance, at the due diligence

documents investigators relied on when adjudicating orders.             See

id. at 34-35.     Each of these Compliance Reviews passed muster

                                     37
Case 3:17-cv-01362 Document 1530 Filed 07/04/22 Page 38 of 184 PageID #: 79489



and, as a result, the DEA permitted ABDC to file a renewal

application for the Orlando distribution center’s registration—

and the DEA renewed the registration in August 2007.            See id. at

35-36.

      Mr. Zimmerman, alongside DEA personnel, made a presentation

to the industry on ABDC’s enhanced diversion control program.

See Zimmerman, 5/13/21, at 198-205; Ex. DEF-WV-00001.            ABDC

understood that the DEA viewed ABDC’s new enhanced program as

the industry standard, and the DEA wanted other distributors to

implement the same or similar program.         See Ex. DEF-WV-02191;

Ex. DEF-WV-00001; Mays, 5/19/21, at 40; Moné, 5/20, at 157-58

(Q:   “Now, what is your understanding of what happened at the

conference?”     A:   “My understanding of what happened at the

conference was that a competitor had presented in conjunction

with the DEA and explained their new electronic system for

reporting suspicious orders and that the expectation of the DEA

had changed relative to when Suspicious Order Reports would be

sent to DEA.”).

      Mr. Mapes testified that the DEA asked ABDC to present at

this conference because ABDC’s newly developed system was

compliant with the CSA.       See Mapes, 7/11/19, at 178-82.        A

Cardinal representative who attended the conference said that

the DEA referred to system as the new industry standard.             See

Reardon, 11/30/18, at 528 (Q:        “Tell the jury what you remember

                                     38
Case 3:17-cv-01362 Document 1530 Filed 07/04/22 Page 39 of 184 PageID #: 79490



about the presentation.”       A:   “That essentially this was going

to be the new standard for the industry with respect to how

suspicious orders were monitored, reported and handled.”).

      2. ABDC’s 2007 Enhanced Diversion Control Program

      ABDC implemented its enhanced diversion control program

nationwide in June 2007.       The program reported, rejected, and

did not ship suspicious orders.        See Mays, 5/19/21, at 31-32.

Thus, ABDC already had stopped shipping orders identified as

suspicious before Mr. Rannazzisi sent his December 2007 “Dear

Registrant” letter.      The 2007 program consisted of five

“buckets” of activities that monitor suspicious orders and guard

against diversion, which continue to be the cornerstones of the

program through present day.        See May, 5/17/21, 29-30.

      First, ABDC enhanced its Suspicious Order Monitoring

Program.    Under the new program, ABDC created peer groups so it

could compare like customers to like customers—i.e., retail to

retail, hospital to hospital.        See id. at 85-86.     ABDC organized

controlled substances into drug families, “sized” customers, and

created new thresholds for each type and size of customer for

each drug family, using a multiplier of three for ARCOS-

reportable controlled substances.          See generally id. at 203-04.

      A computer program processes all controlled substances

orders to determine if they exceeded the customer’s threshold

for that particular drug family.          See id. at 31-32.    Orders that

                                     39
Case 3:17-cv-01362 Document 1530 Filed 07/04/22 Page 40 of 184 PageID #: 79491



hit the thresholds, considered “orders of interest,” are subject

to human review and evaluation (using a totality of

circumstances test comprised of many factors) to determine if

the order met the statutory definition of “suspicious.”             See id.

at 31-32, 36-39.

       Second, ABDC enhanced its due diligence for onboarding new

pharmacies by requiring all new pharmacy customers, except for

chain customers, to complete a Form 590 during an on-site visit.

See Mays, 5/19/21, at 38.       After that, a diversion control team

member reviewed and verified the customer’s responses.            See

generally Mays, 5/19/21, at 19.

       Third, ABDC enhanced its due diligence surrounding existing

customers.    ABDC implemented a “Do Not Ship List,” which

includes customers to which ABDC would no longer ship controlled

substances or customers ABDC declined to onboard after new

customer due diligence investigations.         See May, 5/17/21, at

120.    CSRA holds weekly meetings to analyze the previous week’s

suspicious orders, including the drug family, quantity, and

other metrics related to each suspicious order.           See May,

5/17/21, at 39-40.

       Since approximately 2009, ABDC’s ongoing customer due

diligence efforts generated monthly trend reports containing a

list of all customers purchasing controlled substances and data

points that the diversion control team used to track and review

                                     40
Case 3:17-cv-01362 Document 1530 Filed 07/04/22 Page 41 of 184 PageID #: 79492



controlled substance purchasing.          Id. at 96, 101.   This suite of

reports included both the Order Monitoring Program (OMP) size

report and product specific drug trend reports.           See Ex. AM-WV-

00406; Ex. AM-WV-00398.       The OMP size report compared each

customer’s purchase of controlled substances to its purchase of

all products and identified the percentage of controlled

substances purchased by that customer over time.            See Ex. AM-WV-

00406; May, 5/17/21 at 96.       The drug trend reports identified

each customer’s month-over-month controlled substance purchases

for specific products like oxycodone and hydrocodone and also

provided a monthly average for the five-to-six-month time period

covered by each report.       See Ex. AM-WV-00398; May, 5/17/21, at

100.

       Fourth, ABDC revised and supplemented its policies and

procedures to reflect the enhancements it made to its diversion

control program in 2007.       See May, 5/17/21, at 28.       When ABDC

has made subsequent revisions to the program, its policies and

procedures were revised accordingly.          See id.

       Finally, ABDC enhanced its training efforts with respect to

diversion control.      ABDC trains all employees involved in the

Diversion Control Program, including associates at the

distribution center and CSRA diversion control investigators.

See id. at 28-29.     ABDC also trains its sales staff.         See id.

       3. Enhanced Diversion Control Program

                                     41
Case 3:17-cv-01362 Document 1530 Filed 07/04/22 Page 42 of 184 PageID #: 79493



      In 2014, ABDC began using Pharma Compliance Group, a

compliance consulting company made up of former DEA diversion

investigators and special agents, for certain pharmacy audits

and investigations.      See May, 5/14/21, at 55-56.       Also in 2014,

ABDC engaged FTI Consulting to evaluate its diversion control

program, including its SOM program.         See id. at 54-55, 63-64.

Between 2014 and 2015, ABDC and FTI developed, tested, and

refined enhancements to ABDC’s SOM program.          See id. at 54-55.

      The resulting Revised SOM program (typically referred to by

ABDC in the normal course as the “Revised OMP”) incorporated

user-friendly dashboards that visually present many advanced

analytics, including customers’ purchase history, and trends and

developments related to drug use at the national, state, and

local levels.     See May, 5/17/21, at 50-55, 58-63, 65-68.

Dashboards are supported by essentially the same voluminous

amounts of information and data that has been available to CSRA

investigators since 2007; the presentation of this data

facilitates decision-making by diversion investigators on both

order adjudication and ongoing customer due diligence efforts.

See id. at 93-94.

      B. Cardinal Health

      The evidence at trial showed that Cardinal Health’s

Suspicious Order Monitoring Program has evolved and changed over



                                     42
Case 3:17-cv-01362 Document 1530 Filed 07/04/22 Page 43 of 184 PageID #: 79494



the years.    From the 1990's through present, Cardinal Health’s

program has taken three general forms:

      1. Cardinal Health's Suspicious Pre-2007

      From the 1990s until late 2007, Cardinal Health operated a

suspicious order monitoring system that included suspicious

order reporting and due diligence on Cardinal Health's pharmacy

customers.    See Reardon, 11/30/18 Dep., at 505-08, 518.

Cardinal Health had a two-step process for complying with the

regulatory requirement to report suspicious orders.            See id. at

506; Brantley 11/27/18, at 529-30; Ex. CAH-WV-00580.

      First, Cardinal Health submitted monthly Ingredient Limit

Reports ("ILRs") to DEA.       See Reardon 11/30/18, at 424-25; Ex.

CAH-WV-00580.     The format and parameters for ILRs were developed

around 1990 as part of a collaboration between the distributors'

trade organization, then called the National Wholesale

Druggists' Association ("NWDA"), and DEA.          See id. at 421-22,

507-08; Brantley 11/27/18, at 521.

      From the 1990s through 2007, Cardinal Health submitted ILRs

on a monthly basis to the local DEA field office overseeing each

distribution center.      See Reardon 11/30/18, at 506.        Each ILR

was based on a computer program which monitored customers’

controlled substance purchases for a month and compared those

purchases to predetermined averages or limits.           If a customer’s

purchase quantities exceeded the established parameters in that

                                     43
Case 3:17-cv-01362 Document 1530 Filed 07/04/22 Page 44 of 184 PageID #: 79495



month, the customer's activity was printed on the report.              See

Ex. CAH-WV-00580; Norris, 8/7/2018, at 134.

      ILRs included customer names and DEA numbers, quantities of

specific substances ordered, and the predetermined ingredient

limits.    If a customer exceeded the ingredient limit for that

month, its total purchases were reflected on the ILR.            See

Reardon, 11/30/18, at 507-08.        The predetermined ingredient

limits that were applied and appeared on ILRs were based on a

formula received from DEA.       See Brantley, 11/27/18, at 521, 531-

32.

      Under that system, Cardinal Health shipped orders that it

reported as suspicious or potentially suspicious on ILRs.              See

Norris, 8/7/2018, at 133.       Thus, ILRs were generated after the

orders had shipped.      See Brantley, 11/27/18, at 368-69.

      Second, and separately from the ILRs, Cardinal Health

distribution center personnel—sometimes called “pickers and

checkers”—would, as a matter of course, evaluate orders on a

daily basis before they were shipped to customers.            They were

encouraged to investigate orders that appeared excessive and

notify DEA “before the order [wa]s shipped.”           Ex. CAH-WV-00580;

see also Reardon, 11/30/18 Dep., at 428-29, 437-39; Brantley,

11/27/18, at 369.

      Cardinal Health submitted what it called “excessive

purchase reports” to DEA reflecting orders identified by

                                     44
Case 3:17-cv-01362 Document 1530 Filed 07/04/22 Page 45 of 184 PageID #: 79496



distribution personnel as being of unusual size, pattern, or

frequency.    See Norris 8/7/18, at 134.       In addition to reporting

suspicious orders through the two processes outlined above,

Cardinal Health also conducted due diligence on its customers

before 2007, including by obtaining customer licenses and

verifying addresses, see Ex. CAH-WV-00580, and by conducting

additional diligence, including site visits to some customers

that appeared on ILRs.      See Brantley, 11/27/18, at 20.

      Mr. Reardon hired Eric Brantley in 2005 to conduct due

diligence site visit inspections of pharmacies based on ILRs.

See Reardon, 11/30/18, at 517-18; Brantley 11/27/18, at 18-20,

522-23.    Mr. Brantley and his team decided whether pharmacy

customers posed an unreasonable risk of diversion.            If a

customer did pose such an unreasonable risk, it was terminated

and DEA agent Kyle Wright was notified.          See Brantley, 11/27/18,

at 20, 522-23.     Likewise, when Cardinal Health came to believe a

customer might be involved in internet activity, it discontinued

shipments of controlled substances to that customer and reported

that customer to the DEA.       See id. at 544.

      Mr. Brantley also trained members of Cardinal Health’s

senior management, sales force, and the QRA team on anti-

diversion policies.      See Brantley, 11/27/18, at 547-48.

Cardinal Health believed that the DEA approved of the changes to



                                     45
Case 3:17-cv-01362 Document 1530 Filed 07/04/22 Page 46 of 184 PageID #: 79497



its SOM program.     See Reardon, 11/30/18, at 520-25; Brantley

11/27/18, at 548-50.

       Mr. Reardon had conversations in 2006 with Kyle Wright, the

DEA agent who received Cardinal Health's notifications of

terminated customers.      Mr. Reardon understood from those

conversations that the DEA thought Cardinal Health was headed in

the right direction and that Mr. Brantley had established a

great working relationship with Mr. Wright.          See Reardon

11/30/18, at 520.

       Mr. Wright never told Mr. Reardon or Mr. Brantley that

Cardinal Health's anti-diversion program was deficient in any

way.    See Reardon, 11/30/18, at 521; Brantley, 11/27/18, at 549-

50.    On April 26, 2007, Mr. Reardon spoke to Mr. Wright by

telephone.    During that conversation, Mr. Wright indicated that

Cardinal Health was “doing the right things and heading in the

right direction.”     Reardon, 11/30/18, at 521-25; Brantley

11/27/18, at 550-52.

       Mr. Reardon attended the DEA Pharmaceutical Industry

Conference on September 11, 2007.         See Reardon, 11/30/18, at

528; Ex. P-00069.     At that conference, AmerisourceBergen and DEA

jointly presented a new suspicious order monitoring program that

AmerisourceBergen recently had developed and implemented.             Ex.

P-00069.



                                     46
Case 3:17-cv-01362 Document 1530 Filed 07/04/22 Page 47 of 184 PageID #: 79498



      Following that presentation, Mr. Reardon sent the slides

from that presentation to colleagues at Cardinal Health and

informed them that “DEA is setting a new standard with which we

must comply,” and that DEA referred to ABDC’s program as they

presented it as the “new industry standard.”           Ex. P-00069.    This

presentation was the first time Mr. Reardon understood DEA to be

providing guidance to distributors not to ship orders they

reported as suspicious.       See Reardon, 11/30/18, at 529.

Immediately upon his return to Cardinal Health’s corporate

office following the presentation by ABDC and the DEA, Mr.

Reardon began creating a new team to develop a new SOM program.

See Reardon, 11/30/18, at 529-30.

      2. Cardinal Health’s Suspicious Order Monitoring System:
         2008-2012

      In late 2007, Cardinal Health revised its SOM program to

take account of and conform to DEA's guidance and expectations.

Cardinal Health implemented that revised program in early 2008

and operated that system until 2012.

      Cardinal Health enhanced its SOM system to incorporate the

three main components discussed in the DEA-AmerisourceBergen

presentation: (1) “Know Your Customer,” (2) electronic order

monitoring, and (3) investigations.         See Moné, 5/20/21, at 158,

173-74.    “Know Your Customer” involved thorough evaluation of

new customers (i.e., review of detailed questionnaires) and


                                     47
Case 3:17-cv-01362 Document 1530 Filed 07/04/22 Page 48 of 184 PageID #: 79499



continuing diligence regarding existing customers.            See id. at

173, 182.    Approval of new customers was not automatic:

Cardinal Health refused to approve certain prospective customers

due to diversion concerns.       See id. at 221-22.

       With electronic order monitoring, Cardinal Health

established customized thresholds (or limits) for each customer

and each drug family.      See id. at 184-85; Norris, 8/7/18, at

226.    This system automatically blocked orders that exceeded a

customer’s threshold, pending evaluation by the anti-diversion

team comprised of in-house pharmacists who reviewed any

information that they believed was necessary to make an

appropriate assessment.       See Moné, 5/20/21, at 185-87.       If the

anti-diversion team cleared the order after the assessment, the

order was shipped.      See id. at 63.     If the anti-diversion team

determined that an order was in fact suspicious, Cardinal Health

reported the order to the DEA and did not ship it.            See id. at

189

       In setting thresholds, Cardinal segmented customers by type

and size.    See Moné, 5/20/21, at 59-60.        It consulted with

experts, including Deloitte, IBM Watson, and a Ph.D. at Ohio

State, each of whom concluded that the assumptions underlying

the threshold calculations were appropriate.           See id. at 139,

143.    Cardinal Health also relied in part on the DEA’s Chemical

Handlers Manual, which provided a framework for identifying

                                     48
Case 3:17-cv-01362 Document 1530 Filed 07/04/22 Page 49 of 184 PageID #: 79500



excessive orders of List I chemicals, which include certain

controlled substances, using a multiplier.          See id. at 93-94.

      Over time the anti-diversion team would evaluate thresholds

and determine whether or not to make changes to thresholds.             See

id. at 64-65.     Cardinal Health, under Mr. Moné’s direction, also

created an Analytics team to support the SOM system in

establishing thresholds and running reports.           See id. at 83,

174, 199.

      The investigations component of Cardinal Health’s

suspicious order monitoring system involved site visits of

pharmacy customers conducted by former police and former DEA-

diversion, Medicaid-fraud, and Board of Pharmacy investigators.

See id. at 174, 187-88.       Cardinal Health adopted comprehensive

Standard Operating Procedures (“SOPs”) regarding the SOM system,

and periodically updated those procedures.          See, e.g., Ex. CAH-

WV-00030 (SOP for the new account approval process); Ex. CAH-WV-

00745 (SOP to establish SOM threshold limits); Ex. CAH-WV-00743

(SOP for threshold event review, self-verification; decision

making and threshold outcome communication); Ex. CAH-WV-00740

(updated SOP for detecting and reporting suspicious orders and

responding to threshold events); Ex. CAH-WV-00026 (SOP for on-

site investigations); Ex. CAH-WV-00747 (updated SOP for on-site

investigations).     Cardinal Health trained and tested all



                                     49
Case 3:17-cv-01362 Document 1530 Filed 07/04/22 Page 50 of 184 PageID #: 79501



employees involved in anti-diversion activities on the SOPs.

See Moné, 5/20/21, at 192, 196.

      From 2007 to 2012, Mr. Moné regularly communicated with the

DEA about Cardinal Health’s SOM system.          See id. at 217-19.     In

early 2009, Mr. Moné met with Barbara Boockholdt (Chief of the

Regulatory Section of the DEA’s Office of Diversion Control) and

several DEA diversion investigators.         Over the course of a week,

Mr. Moné reviewed with them the company’s SOM system, as

revamped in light of the DEA's new expectations.           See id. at

219-20.

      That discussion included reviewing the procedures for

setting customer thresholds—including any multipliers used—and

how Cardinal Health identified and reported suspicious orders.

See id. at 220.     Cardinal Health shared with the DEA its

policies and procedures and demonstrated the kinds of reports

that could be generated by the SOM system.          See id. at 220-21.

At the end of that weeklong meeting, the DEA did not ask

Cardinal Health to change the system or fault it in any way.

See id. ; Quintero, 12/6/18, at 90-91.

      Following the 2009 meeting, the DEA inspected a number of

Cardinal Health distribution centers, doing “a deep dive into

the SOM system” for the purpose of verifying that the SOM system

worked as indicated.      Moné, 5/20/21, at 223-24.       At the



                                     50
Case 3:17-cv-01362 Document 1530 Filed 07/04/22 Page 51 of 184 PageID #: 79502



conclusion of the inspections, the DEA did not identify any

flaws in the system.      Quintero, 12/6/18, at 90-91.

      3. Cardinal Health’s Suspicious Order Monitoring System:
         2012-Present

      In 2012, Todd Cameron assumed responsibility for the

company's anti-diversion efforts and enhanced the program again.

See Moné, 5/20/21, at 16.       Cardinal Health developed a new

analytical methodology to set thresholds for customers.             That

methodology calculates how busy a pharmacy is based on the total

number of prescriptions it dispenses for all medications.

Cardinal Health then uses national pharmacy data purchased from

a third-party data aggregation company to determine what a

normal dispensing product mix looks like, and then applies that

data to the customer’s overall prescription count.            It further

considers information about the specific pharmacy gathered in

due diligence to set customer-specific and drug-specific

threshold limits.     Ex. CAH-WV-00476 ("Enhancing our anti-

diversion program" memo); Quintero, 12/6/18, at 70-74.

      Orders that hit thresholds are held for review by analysts

on the anti-diversion team.       Analysts first familiarize

themselves with background due diligence on the customer,

including previous held orders and resolutions thereof, the

location of the customer, the customer’s class of trade, and

comments in the Anti-Diversion Centralization database.


                                     51
Case 3:17-cv-01362 Document 1530 Filed 07/04/22 Page 52 of 184 PageID #: 79503



Analysts then review the specific held order, including the drug

family, order size, threshold, and accrual amount to determine

whether the order should be cleared for shipment or cancelled

and reported to the DEA.       Ex. P-14290_00825 (QRA SOM Customer

Analytics General Work Instructions).

      Cardinal Health implemented what it calls “objective

criteria” to quantitatively assess its customers across a

variety of data metrics.       Cardinal Health collects data about

its customers across the objective criteria—which include the

percentage of prescriptions dispensed that are for controlled

substances and more specifically for opioids—and compares that

data to national averages.       Ex. CAH-WV-00476 (“Enhancing our

anti-diversion program” memo); Ex. P-14290_00884 (Objective

Criteria Working Guidelines).

      Cardinal Health developed the Large Volume Tactical and

Analytical Committee (“LVTAC”), which is a group of anti-

diversion professionals, including senior leadership, which

analyzes and makes decisions about customers that purchase large

volumes of controlled substances from Cardinal Health.            See Ex.

CAH-WV-00065 (LVTAC SOP); Ex. CAH-WV-00564 (two-person approval

SOP).

      Cardinal Health continues to do regular site investigations

of its customers, visiting them in person, looking for any signs

of possible diversion, and requesting and analyzing pharmacy

                                     52
Case 3:17-cv-01362 Document 1530 Filed 07/04/22 Page 53 of 184 PageID #: 79504



data.   Ex. P-14290_00860 (QRA Investigations SOP); Quintero

12/6/18, at 98-101.      This data-driven, analytical methodology

requires orders to be reported to DEA anytime they hit a

threshold and cannot be promptly cleared for shipment based on

due diligence information on hand, even if Cardinal Health

doesn't believe that diversion is occurring at the pharmacy.

See Quintero, 12/6/18, at 84-85, 94-97; Ex. CAH-WV-00104

(Detecting and Reporting Suspicious Orders SOP); Ex. CAH-WV-

00562 (DMQ Working Guidelines); Ex. P-14290_00825 (QRA SOM

Customer Analytics General Work Instructions).           Accordingly,

Cardinal Health submitted more suspicious order reports for

customers in Cabell County and the City of Huntington starting

in 2012, compared with previous years.         See Ex. P-42071.

      C. McKesson

      The evidence at trial showed that McKesson’s SOM program

has evolved and changed over the years.          From the 1990’s through

present, McKesson’s program has taken three general forms:

      1. Section 55

      Prior to 2008, McKesson operated a SOM program that was set

out in Section 55 of McKesson’s Drug Operations Manual (“Section

55”).   See Ex. MC-WV-00451 (Section 55 Manual).          Under Section

55, each McKesson distribution center submitted daily faxes to

DEA, called “DU-45” reports, which “listed all suspicious orders



                                     53
Case 3:17-cv-01362 Document 1530 Filed 07/04/22 Page 54 of 184 PageID #: 79505



identified from [its] customers’ purchasing patterns.”            Oriente,

5/25/21, at 42.

      Under Section 55, McKesson used an algorithm to identify

suspicious orders that utilized a “three times monthly average

for Schedule[] II and III” prescription opioids.           Oriente,

5/25/21, at 44; see also Ex. MC-WV-00451 (Section 55 Manual) at

.00047.    This three-times criterion for identifying suspicious

orders was identical to another monitoring system that DEA had

reviewed.    Oriente testified as to his understanding that

Section 55 was “based on DEA approved guidelines.”            Oriente,

5/25/21, at 50.

      McKesson’s Section 55 Manual includes a copy of the 1984

letter that DEA sent after reviewing this SOM system using a

three-times modifier, which stated that the SOM system would

“provide effective customer verification and suspicious and/or

excess order monitoring system” and “appear[s] appropriate for

implementation.”     Ex. MC-WV-00451 at 204-05.        McKesson relied on

the DEA’s statements in this 1984 letter and, based on it,

McKesson informed its employees that “these guidelines [in

Section 55] have been accepted by the DEA” and “compliance with

them is mandatory.”      Id. at 46.

      McKesson's DU-45 report included text expressly informing

DEA that the submission was made “[p]ursuant to CFR 21 [§]

1301.74(B)” and “reflect[ed] purchases from customers for

                                      54
Case 3:17-cv-01362 Document 1530 Filed 07/04/22 Page 55 of 184 PageID #: 79506



schedules II-V controlled substance which exceed the monthly

average” used by McKesson to identify potentially suspicious

orders.    See, e.g., Ex. MC-WV-02143 at 2.

      Section 55 of McKesson’s Drug Operations Manual states that

the “Daily Controlled Substance Suspicious Order Warning Report

. . . can be faxed to your local DEA district office before the

order is shipped.”      Ex. MC-WV-00451 at 48.      DU-45 reports were

created and sent by “each distribution center” operated by

McKesson.    Oriente, 5/25/21, at 43.       McKesson submitted DU-45

reports from each distribution center until early 2009.             See id.

at 43.    Under Section 55, McKesson did not systematically block

all orders identified as suspicious under the DEA’s regulatory

definition.    See Oriente, 5/25/21, at 9.        Any blocking would

have been manual.     See id.

      2. Lifestyle Drug Monitoring Program

      In 2007, McKesson adopted a Lifestyle Drug Monitoring

Program (“LDMP”) that was an immediate precursor to McKesson’s

2008 Controlled Substance Monitoring Program (“CSMP”).            See

Oriente, 5/25/21, at 59.       The LDMP operated in conjunction with,

but did not replace, Section 55.          See id. at 43 (testifying that

McKesson submitted DU-45 reports “up to about 2009”); see id. at

59 (confirming that the LDMP overlapped with Section 55).             Under

the LDMP, in addition to continued operation of Section 55 and

DU-45 reporting, McKesson conducted additional monitoring of

                                     55
Case 3:17-cv-01362 Document 1530 Filed 07/04/22 Page 56 of 184 PageID #: 79507



four substances, including hydrocodone and oxycodone.            See Ex.

DEF-WV-01527 at 3.

      The LDMP “target[ed] controlled substances that the DEA

consider[ed] ‘lifestyle’ drugs.”          Id.   “Lifestyle drug” was a

term McKesson adopted from the DEA.          See Oriente, 5/25/21, at

59-60.   Where any customer’s purchases of one of the substances

monitored under the LDMP exceeded 8,000, the LDMP set forth a

process to conduct additional review of the customer’s

purchasing patterns, culminating in potentially terminating the

customer and reporting that customer to the DEA.           See Ex. DEF-

WV-01527 at 3-7.

      3. Controlled Substance Monitoring Program (2008–2013)

      McKesson implemented a new SOM program, the Controlled

Substance Monitoring Program (“CSMP”), in May 2008.            See

Oriente, 5/25/21, at 55, 58-59; Ex. MC-WV-00381.           With the

advent of the CSMP, McKesson began automatically blocking all

orders that it identified as suspicious.           See Ex. MC-WV-00381 at

6; Oriente, 5/25/21, at 9, 55.        In addition to blocking of all

orders identified as suspicious, Mr. Oriente confirmed that

McKesson continued to block all orders that it believed were

likely to be diverted.      See Oriente, 5/25/21, at 55.

      In order to identify orders as suspicious and block those

orders, McKesson employed a system of setting customer-specific

maximum monthly thresholds for each DEA drug base code.              Mr.

                                     56
Case 3:17-cv-01362 Document 1530 Filed 07/04/22 Page 57 of 184 PageID #: 79508



Oriente testified that under the CSMP, a monthly order limit, or

“threshold,” was determined for each controlled substance base

code at each pharmacy.      See Oriente, 5/25/21, at 62.

      Under the CSMP, if a customer ordered above its threshold

that order would be automatically blocked and would not be

shipped.    See id.   Under the CSMP, after a customer met its

monthly threshold, all further orders for any product containing

that DEA base code were blocked for the remainder of the month.

See id. at 74; Ex. MC-WV-00381 at 6-7.

      There was no process for further review and potential

shipment of any order in excess of a threshold.           Under the CSMP

as operated by McKesson, these blocked orders could not later be

released.    See Ex. MC-WV-00381 at 7; Oriente, 5/25/21, at 62

(“It was blocked for all time.        There was not further review for

releasing.    It ceased to exist.”).

      Thresholds under the CSMP were set in a manner to account

for each customer's individual needs and ordering variability.

Mr. Oriente testified that thresholds were set on a customer-

specific basis in order to account for the individualized nature

of that pharmacy customer's business, in recognition of the fact

that there is wide variability in needs and business models

across McKesson's network of customers.          See Oriente, 5/25/21,

at 63-64.    Mr. Oriente explained that thresholds were set using

a customer's historical purchasing in order to account for that

                                     57
Case 3:17-cv-01362 Document 1530 Filed 07/04/22 Page 58 of 184 PageID #: 79509



customer’s individualized needs and business model.            See id. at

63.

      In order to account for natural ordering variability, Mr.

Oriente testified that McKesson also applied small “buffers” as

a reasonable measure to “offset . . . variability where

pharmacies order more or less each month.”          Id. at 103.

Initially, McKesson notified a customer when it was approaching

its threshold.     This was to ensure that, if a threshold

adjustment was appropriate, McKesson could review a pharmacy’s

request to modify its threshold before orders to fill legitimate

prescriptions were blocked.       See id. at 108.      Mr. Ashworth

testified that when a customer requested a change in its

threshold after receiving notice from McKesson, that customer

would still have to satisfy the “whole threshold request

procedure.”    Ashworth, 5/25/21, at 219.

      McKesson’s Regulatory Affairs Department reviewed all

customer requests to adjust thresholds after receiving a request

from the customer that set forth reasons and data supporting the

adjustment.    Mr. Oriente testified that a customer that wished

to have a threshold adjusted would have to submit a TCR form for

review by regulatory affairs personnel at McKesson.            See

Oriente, 5/25/21, at 75.

      Mr. Oriente confirmed that McKesson’s Directors of

Regulatory Affairs were responsible for approving all TCRs

                                     58
Case 3:17-cv-01362 Document 1530 Filed 07/04/22 Page 59 of 184 PageID #: 79510



submitted by customers.       See Oriente, 5/25/21, at 75:18-20.        Mr.

Oriente testified that each TCR would receive due diligence

prior to approval or rejection.        See id. at 65.     Mr. Oriente

further testified that, in evaluating a request for an increased

threshold, McKesson would receive and consider the customer’s

dispensing data, as well as the customer's stated reason for the

increase.    See Oriente, 5/25/21, at 75.        McKesson would also

request prescriber information as part of its due diligence when

necessary.    See id. at 69.

      Under the CSMP, McKesson also conducted customer due

diligence proactively throughout its relationship with a

customer, including during customer onboarding and for existing

customers.    See Oriente, 5/24/21, at 181; Oriente, 5/25/21, at

65-66.   In the context of onboarding a new customer, McKesson

undertook specific diligence to vet that customer prior to

approving that customer to purchase controlled substances.             See

Oriente, 5/25/21, at 82.       McKesson’s 2008 CSMP Manual made clear

that each new customer had to undergo a customer onboarding

process, including providing information to McKesson about its

business practices and that “[a]t no time is there a guarantee,

implied or otherwise, that any customer will be able to purchase

controlled substances based upon information received during

this process.”     Ex. MC-WV-00381 at 9.



                                     59
Case 3:17-cv-01362 Document 1530 Filed 07/04/22 Page 60 of 184 PageID #: 79511



      The 2008 CSMP Manual further specified that “[a] complete

customer questionnaire is mandatory for every new McKesson

customer prior to them receiving controlled substances” and that

“it is necessary to obtain past purchasing information” from the

customer in order to "understand the new customer[’]s current

controlled substance purchase requirements.”           Ex. MC-WV-00381

at 11, 13.    Mr. Oriente testified that as part of McKesson’s

onboarding process for new customers, McKesson would administer

a customer questionnaire, ask for dispensing data, and do a site

visit.   See Oriente, 5/25/21, at 83:7–24.

      The customer questionnaire required a potential new

pharmacy customer to provide information on its licensing

status, the identity of its personnel that would handle

controlled substances, its average amount of purchases, and its

customer base and business model.         See Ex. MC-WV-00381 at 11-14.

The questionnaire also included a section for a physical

inspection completed by a McKesson employee.           See Oriente,

5/25/21, at 89-90 (describing physical inspection of new

pharmacy customers).      In addition to the above diligence,

McKesson verified DEA and state licenses of pharmacies as part

of its onboarding process.       See id. at 86-87.

      Under the CSMP, McKesson also conducted ongoing due

diligence of its existing customers.         See id. at 90-91, 94; Ex.

MC-WV-00381 at 5.     Mr. Oriente testified that he would

                                     60
Case 3:17-cv-01362 Document 1530 Filed 07/04/22 Page 61 of 184 PageID #: 79512



proactively review customers and select pharmacies for site

visits based on markers such as size, purchasing level, number

of blocked orders, or other “red flags.”          See Oriente, 5/25/21,

at 92.   “Red flags” are items that McKesson's Regulatory Affairs

team would pay attention to as they evaluated customers.

However, the presence of a red flag, by itself, does not mean

diversion has occurred or will occur.

      Red flags can be resolved through additional diligence.

See id. at 96.     McKesson provided guidance to its employees

about the types of “red flags” to look for when evaluating

pharmacies.    See, e.g., Ex. P-12643.       Mr. Oriente testified that

"red flags" changed over time "[a]s different diversion trends

evolved . . . and came to light . . . and [were] added to our

red flag list."     Oriente, 5/25/21, at 98.       During on-site visits

to current customers, McKesson would look for “red flags” such

as out-of-state plates on cars, security guards on site, or

unusually long lines.      See id. at 89, 93-94.       McKesson would

also consider how customers paid for their prescriptions, and

the range of products sold by the pharmacy.          See id. at 94.

Where “red flags” or other issues could not be resolved,

McKesson would terminate existing customers.           See id.

      Under the CSMP, McKesson used a three-level review process

to investigate suspicious orders.         A Level I review would be

conducted for customers who had an order blocked.           See Ex. MC-

                                     61
Case 3:17-cv-01362 Document 1530 Filed 07/04/22 Page 62 of 184 PageID #: 79513



WV-00381 at 7 ("A level 1 review is required for every threshold

excursion," resulting in a blocked order); Oriente, 5/25/21, at

77, 81 (Q: “Just to orient ourselves . . . what level would

blocking occur at?”      A: “Prior to Level 1.").       A Level I review

consisted of a McKesson employee contacting a customer to ask

why that customer had attempted to order above its threshold,

triggering a blocked order.       See id. at 77.     If a Level I review

resolved suspicions, the order would not be treated as

suspicious or reported to DEA.        See id. at 78; Ex. MC-WV-00381

at 7.

      Even if a Level I review resolved any suspicions, the

ordered item would remain “blocked for the remainder of the

month” unless the customers separately submitted a TCR form that

was approved by a Director of Regulatory Affairs.           Oriente,

5/25/21, at 77.     The two review processes, Level I and TCR

review, are distinct.      See Ex. MC-WV-00381 at 7 (at the

conclusion of a Level I, McKesson will “[c]ontinue to block item

until the beginning of [the] new month,” absent a “[r]equest

[for] a temporary/permanent threshold change”).           If the Level I

review did not resolve suspicions, then McKesson would escalate

the customer to a Level II review.         See Oriente, 5/25/21, at 78.

      A Level II review would involve escalation to a member of

the Regulatory Affairs team at McKesson “to do a review of that

pharmacy.    Id. at 78-79; Ex. MC-WV-00381 at 7-8.         An order could

                                     62
Case 3:17-cv-01362 Document 1530 Filed 07/04/22 Page 63 of 184 PageID #: 79514



be resolved at a Level II review, but if suspicions remained the

order would be escalated to a Level III review.           See Oriente,

5/25/21, at 79; Ex. MC-WV-00381 at 8 (“If after the Level I and

Level II reviews have been conducted and the transactions are

deemed ‘suspicious’ a Level III review is necessary.”).

      McKesson's policy manual states, and Mr. Oriente confirmed,

that “[u]pon escalation to Level III, ALL control[led substance

orders] will be blocked.”       Ex. MC-WV-00381 at 8; Oriente,

5/25/21, at 79 (“[T]he customer would be blocked from all

controlled substances.”).       This includes other controlled

substance base codes, in addition to the base code for the order

triggering the review.      See id. at 79 (“[A]ll controlled

substances for that customer, not just that specific base code

that was [already] blocked, would be blocked.”).

      Upon reaching a Level III review, McKesson would also

notify the DEA about the terminated customer and report the

customer and its orders as “suspicious.”          See id. at 79-80; Ex.

MC-WV-00381 at 8 (“The customer / transaction(s) are reported to

DEA Headquarters as ‘suspicious’”).         Mr. Oriente testified that

Level III reviews and accompanying terminations could happen

with or without a preceding Level I or II review.           See Oriente,

5/25/21, at 95:14–20.

      Based upon what it believed the DEA wanted, McKesson

adopted the CSMP system that reported orders as suspicious at a

                                     63
Case 3:17-cv-01362 Document 1530 Filed 07/04/22 Page 64 of 184 PageID #: 79515



Level III review, despite having already blocked that order

prior to a Level I review.       See id. at 81.     As a result,

McKesson reported fewer suspicious orders than it blocked during

this period of time.       See id.    Mr. Oriente confirmed that all

suspicious orders “would be blocked” under McKesson’s CSMP, even

if blocked orders that did not escalate to Level III review were

not reported.     Id.

      Mr. Oriente gave a presentation on its CSMP program to DEA

in November 2008 in order to make DEA aware of McKesson’s new

SOM Program and receive feedback.          See Oriente, 5/25/21, at 101-

02; Ex. P-42657.     Mr. Oriente told DEA that McKesson's CSMP

would block orders prior to a Level I review, but that McKesson

would not report those orders as suspicious until a Level III

review.    See Oriente, 5/25/21, at 109-10; Ex. P-42657 at 16.

      DEA did not express any disagreement to Mr. Oriente upon

being told about this three-level reporting process.            See

Oriente, 5/25/21, at 110.       McKesson’s Senior Vice President of

Distribution Operations, Donald Walker, gave a similar

presentation to DEA in July 2008.          See id. at 110-12; Ex. MC-WV-

00397.    Mr. Walker’s presentation also laid out McKesson’s

three-level reporting structure, that showed blocking of orders

occurring prior to Level I review and DEA reporting occurring at

Level III review.       See Ex. MC-WV-00397 at 10-12; see also

Oriente, 5/25/21, at 112-13.         In this same presentation,

                                      64
Case 3:17-cv-01362 Document 1530 Filed 07/04/22 Page 65 of 184 PageID #: 79516



McKesson told the DEA that it would stop submitting DU-45

reports to local field offices.        See Oriente, 5/25/21, at 113;

Ex. MC-WV-00397 at 13.

      4. Controlled Substance Monitoring Program (2013–present)

      From 2013 through the present, McKesson has continued to

systematically block all suspicious orders, and it has also

blocked all orders it identified as likely to be diverted.             See

Oriente, 5/25/21, at 126.       In 2013, McKesson increased the

volume of suspicious order reporting to cover all orders that

McKesson was blocking, not just those that reached a Level III.

See id. at 125-26, 130, 133.

      In 2013, McKesson made other modifications and enhancements

to its CSMP.     In 2013, McKesson made enhancements to its due

diligence processes, including less frequent threshold

modifications.     See id. at 126, 129, 132.       In 2013, McKesson

increased the number of personnel in the regulatory affairs

department, including hiring individuals with prior DEA

experience.    See id. at 129.      By 2015, this department included

approximately 26 people.       See id. at 132; Ex. MC-WV-00199 at 6.

In 2013, McKesson began using enhanced data reports and a more

rigorous process for threshold change requests.           See id. at 129.

In 2013, McKesson implemented additional training for employees.

See id. at 130; Ex. P-13737 (email regarding training).



                                     65
Case 3:17-cv-01362 Document 1530 Filed 07/04/22 Page 66 of 184 PageID #: 79517



       Since 2015, McKesson has also used an algorithm developed

by an outside data analytics firm, Analysis Group, Inc. (“AGI”),

to set and monitor customer thresholds.          See Oriente, 5/25/21,

at 134-35, 136.     AGI’s algorithm reviews each customer’s prior

purchasing and also compares each customer’s purchases against

the purchases of similar customers in a geographic area to

create dynamic thresholds that track customer purchases over

time.    See id. at 135.

VI.    Plaintiffs Have Not Proved Diversion-control Failures by
       Defendants

       Plaintiffs did not prove that defendants failed to maintain

effective controls against diversion and design and operate

sufficient SOM systems to do so.          Relatedly, plaintiffs did not

prove that defendants’ due diligence with respect to suspicious

orders was inadequate.

       The evidence that defendants did not maintain effective

controls against diversion or operate systems sufficient to do

so was unpersuasive.      Plaintiffs attempted to prove such

failures through their expert witness James Rafalski

(“Rafalski”).     From 2004 to 2017, Mr. Rafalski was employed as a

DEA Diversion Investigator.       See Rafalski, 5/26/21, at 15–16,

124.    When he joined the DEA in 2004, Mr. Rafalksi brought with

him twenty-six years of law enforcement experience.            Plaintiffs

presented Mr. Rafalski as “an expert in the field of diversion


                                     66
Case 3:17-cv-01362 Document 1530 Filed 07/04/22 Page 67 of 184 PageID #: 79518



control investigations, Suspicious Order Monitoring Systems, and

maintenance of effective control to prevent diversion of

controlled substances into the illicit market.”           Id. at 30.

      Defendants objected to the court’s recognition of Mr.

Rafalski as an expert on causation between purported failures in

defendants’ efforts to maintain effective controls against

diversion and diversion itself and the opioid epidemic.

Moreover, Mr. Raflaksi was the subject of a Daubert motion,

which the court deferred a ruling on until the close of Mr.

Rafalski’s testimony.      Defendants renewed their motion after Mr.

Rafalski’s testimony.

      Ultimately, the court ruled that, as a matter of Daubert

and Federal Rule of Evidence 702, Mr. Rafalski’s opinions

regarding potential flagging criteria that defendants

conceivably could have used in their suspicious order monitoring

systems (“SOMS”), and the results thereof, were admissible.             See

ECF No. 1529.     The court also found admissible Mr. Rafalski’s

opinions that defendants failed to design effective systems to

prevent diversion and failed to maintain effective controls

against diversion, and that such failures were systemic in

nature.    See id.

      The court found inadmissible (for lack of a reliable

methodology) Mr. Rafalski’s opinions regarding causation.             This

includes his opinion that the opioid epidemic in the City of

                                     67
Case 3:17-cv-01362 Document 1530 Filed 07/04/22 Page 68 of 184 PageID #: 79519



Huntington and Cabell County can be traced to defendants’

purported deficiencies in maintaining effective controls against

diversion and designing and operating effective SOM programs

(that the deficiencies were a “substantial factor” in causing

the epidemic).     See id.    The court also found unreliable and

inadmissible Mr. Rafalski’s conclusion that certain swaths of

shipments that he believed defendants knew or should have known

were suspicious, and yet still shipped, were more likely than

not diverted.     See id.

      A. Flagging Methods and Results Thereof

      Mr. Rafalski provided a list of six sets of flagging

criteria (from among a “huge number” of possible sets of

criteria) that defendants could have used in their SOM programs.

Rafalski, 5/26/21, at 83-85.        He referred to these sets of

criteria as Methods A through F.          Id.   The court finds that

Methods A through F represent sets of flagging criteria that are

among the innumerable possibilities that defendants could have

used.   As explained below, the methods were not convincing ways

to achieve accurate results of the number of orders that should

have been flagged or blocked.

      The shipment data available to Mr. Rafalski included

McKesson from 2004 through 2018; AmerisourceBergen from 2002

through 2018; Cardinal Health from 1996 through 2018 and ARCOS

data from 2006 through 2014.        Id. at 45.     The following is a

                                     68
Case 3:17-cv-01362 Document 1530 Filed 07/04/22 Page 69 of 184 PageID #: 79520



description of Methods A through F and the results of applying

them to that shipment data.

                                  Method A

      This method looks back at six months of data for the

pharmacy and sets the threshold at the highest order amount in

the prior six months.      Id. at 87-88.     If an order exceeds the

highest order amount in the prior six months, the system

triggers or flags the order and holds the order pending review

or the execution of due diligence sufficient to dispel the

suspicion of the order having been flagged.          Id. at 88-89.

Because Mr. Rafalski assumes that due diligence did not dispel

the suspicion, all future shipments are flagged as suspicious

and unable to be shipped.       Id. at 89.    If defendants’

distributions are imagined as a line, this method flags the

point at which the flagging criteria is first met and the rest

of the line into the future.

      ABDC

      Oxycodone dosage units flagged: 11,610,920 – 90.6%

      Hydrocodone dosage units flagged: 20,621,360 – 91.1%

      Cardinal

      Oxycodone dosage units flagged: 15,997,400 – 93.1%

      Hydrocodone dosage units flagged: 14,795,350 – 82.5%

      McKesson

      Oxycodone dosage units flagged: 3,501,970 – 87.9%

                                     69
Case 3:17-cv-01362 Document 1530 Filed 07/04/22 Page 70 of 184 PageID #: 79521



      Hydrocodone dosage units flagged: 3,261,250 – 87.4%

Id. at 96-97.

                                  Method B

      This method is similar to Method A in that the trigger or

cap is set in the same manner:        a six month look-back.      Id. at

89.   However, rather than stop all future orders once the

trigger is initiated by an order over the highest order in the

last six months, future orders are shipped up to the cap and all

orders over the cap or trigger are held or blocked.            Id.

      ABDC

      Oxycodone dosage units flagged: 3,763,580 – 29.4%

      Hydrocodone dosage units flagged: 5,616,380 – 24.8%

      Cardinal Health

      Oxycodone dosage units flagged: 11,325,200 – 65.9%

      Hydrocodone dosage units flagged: 7,252,580 – 40.5%

      McKesson

      Oxycodone dosage units flagged 805,300 – 20.2%

      Hydrocodone dosage units flagged 2,390,800 – 64%

Id. 98.

                                  Method C

      This method looks back twelve months to identify an average

number of pills distributed in either the state of West Virginia

or nationally (depending on the available data).           Each month,

the trigger is recalculated based upon the prior twelve months.

                                     70
Case 3:17-cv-01362 Document 1530 Filed 07/04/22 Page 71 of 184 PageID #: 79522



Id. at 92-93.     This method would then calculate the trigger as

double the prior twelve-month average.         Id.

      ABDC

      Oxycodone dosage units flagged: 10,477,680 – 81.8%

      Hydrocodone dosage units flagged: 18,877,140 – 83.4%

      Cardinal Health

      Oxycodone dosage units flagged: 14,011,880 – 81.5%

      Hydrocodone dosage units flagged: 16,593,780 – 92.6%

      McKesson

      Oxycodone dosage units flagged: 2,405,620 – 60.4%

      Hydrocodone dosage units flagged: 2,362,420 – 63.3%

Id. at 98.

                                  Method D

      This method is similar to Method C except that rather than

doubling the prior twelve-month average order of pills, the

trigger is set at triple or three times the prior twelve-month

average.     Id. at 85, 93.

      ABDC

      Oxycodone dosage units flagged: 8,360,740 – 65.3%

      Hydrocodone dosage units flagged: 15,701,930– 69.4%

      Cardinal Health

      Oxycodone dosage units flagged: 9,567,580 – 55.7%

      Hydrocodone dosage units flagged: 14,957,360 – 83.5%

      McKesson

                                     71
Case 3:17-cv-01362 Document 1530 Filed 07/04/22 Page 72 of 184 PageID #: 79523



      Oxycodone dosage units flagged: 1,005,320 – 25.2%

      Hydrocodone dosage units flagged: 1,245,640 – 33.4%

Id. at 99-100.

                                  Method E

      This method sets the trigger at 8,000 dosage units per

customer, per month.      McKesson used an 8,000 flagging criterion,

but for less than a year.       Id. at 93-94; Rafalski, 5/27/21, at

10.

      ABDC

      Oxycodone dosage units flagged: 10,446,280 – 81.5%

      Hydrocodone dosage units flagged: 21,679,760– 95.8%

      Cardinal Health

      Oxycodone dosage units flagged: 13,274,080 – 77.2%

      Hydrocodone dosage units flagged: 16,159,150 – 90.2%

      McKesson

      Oxycodone dosage units flagged: 2,098560 – 52.7%

      Hydrocodone dosage units flagged: 2,484,640 – 66.6%

Rafalski, 5/26/21, at 100-01.

                                  Method F

      With this method, there is a maximum daily dosage unit

order on a list in the cage or vault where the packers work, and

anything above the amount on the list in the vault is not

shipped.     The amounts from the list of one of the defendants was

used for the calculations.       Id. at 94-95.

                                     72
Case 3:17-cv-01362 Document 1530 Filed 07/04/22 Page 73 of 184 PageID #: 79524



      ABDC

      Oxycodone dosage units flagged: 12,459,020 – 97.3%

      Hydrocodone dosage units flagged: 22,582,020 – 99.8%

      Cardinal Health

      Oxycodone dosage units flagged: 16,527,880 – 96.2%

      Hydrocodone dosage units flagged: 17,688,100 – 98%

      McKesson

      Oxycodone dosage units flagged 3,713,000 – 93.2%

      Hydrocodone dosage units flagged 3,648,650 – 97.9%

Id. at 101.

      B. Results of Methods A through F Unpersuasive

      The results of the flagging methods were unpersuasive

indicators of the level of suspicious orders that defendants

allegedly received and fulfilled.         In large part, this is

because, as explained below, the court rejects as factually

unsupported Mr. Rafalski’s assumption that for every single

order Methods A through F flagged, no due diligence was done to

clear the suspicion.

      The results of Methods A through F were unpersuasive for

additional reasons.      Method A, for example, employs an

assumption that once an order is flagged, all future orders are

permanently and automatically to be flagged as suspicious as

well.   Id. at 96, 226-27.      This assumption, together with Mr.

Rafalski’s assumption that due diligence was never done, means

                                     73
Case 3:17-cv-01362 Document 1530 Filed 07/04/22 Page 74 of 184 PageID #: 79525



that after the flagging criteria is met once, Method A deems

every subsequent order suspicious and unable to be shipped (in

perpetuity).     Id.; Boberg, 7/8/21, at 169.

      Ninety-six percent of all orders flagged by Method A are

flagged solely due to the application of the assumption that all

future orders must be flagged, not due to the actual application

of the Method A criteria itself.          See Boberg, 7/8/21, at 173-74.

Piling assumption upon assumption, Method A leads to an entirely

unpersuasive result.

      Methods C through F were unconvincing, as an initial

matter, because Mr. Rafalski himself stated that he would not

use them.    Rafalski, 5/26/21, at 224-25.        These methods were

also not clearly explained.       For example, the record is unclear

as to whether Mr. Rafalski asked Dr. McCann to employ an

assumption with Methods C through F that once an order is

flagged, all subsequent orders must also be flagged (as with

Method A), and if he did not do so, why not.

      The results of Method B were less obviously flawed, but

these too were entirely unpersuasive.         Using Method B, Mr.

Rafalski testified that defendants should have blocked and not

shipped 20-66% of their oxycodone and hydrocodone shipments into

the City of Huntington and Cabell County.          Id. at 89, 91, 97.

      Under Method B, a fixed threshold is established based on

the maximum monthly volume of the first six months of shipments.

                                     74
Case 3:17-cv-01362 Document 1530 Filed 07/04/22 Page 75 of 184 PageID #: 79526



See id. at 89.     Method B assumes that any order exceeding that

fixed threshold should be blocked as suspicious and not shipped.

See id. at 89, 91, 97.      The fixed threshold assumed by Method B

never changes or increases based on any subsequent developments,

including particularly increased levels of prescribing or

changes in the standards of care.         See id. at 241.

      Of the orders flagged by Method B, 89% are flagged solely

due to the application of the “fixed threshold assumption,” not

due to the actual application of the underlying Method B

criteria.    See Boberg, 7/8/21, at 176–77.

      Methods A through F represent sets of flagging criteria

that were only roughly equivalent to those used in the real

world.   See Rafalski, 5/26/21, at 220-21.         Methods A and B

(which produced vastly different results) were both framed as

being based on the systems that the distributor-defendant in

Masters Pharm., Inc. v. DEA, 861 F.3d 206, 216 (D.C. Cir. 2017)

had used.    Id. at 225-26.     Method C was framed as being based on

what a drug manufacturer (Mallinckrodt) had used.           See id. at

85.

      Methods D through F were framed as being based on SOM

programs Mr. Rafalski believes that one or more defendants used

at various times, although there was no persuasive evidence

linking any method (to any reasonable degree of similitude) to

any defendant for any substantial portion of the time.            See id.

                                     75
Case 3:17-cv-01362 Document 1530 Filed 07/04/22 Page 76 of 184 PageID #: 79527



at 85, 240; Rafalski, 5/27/21, at 10.         That is to say, the

evidence established no more than that the methods were only

roughly based on what some defendants used some of the time.

      Although it was advertised as such, Method A is not

consistent with the methodology described in Masters given that

it uses shipment data instead of order data, and because it

applies an additional assumption not present in Masters.             See

Boberg, 7/8/21, at 188–89.       The assumption is that once one

order is flagged, all future orders must also be flagged.

Rafalski, 5/26/21, at 88-89, 97, 101-02.          Mr. Rafalski

acknowledged that Method A and the Masters system differ “in

important regards.”      Id. at 225-26.

      Likewise, although it was also advertised as such, Method B

is not consistent with the flagging methodology described in

Masters given that it too is applied to shipment data, not order

data.   See Boberg, 7/8/21, at 188-89.        Furthermore, Mr. Rafalski

described Method B as merely “similar” to the Masters system.

Rafalski, 5/26/21, at 238.

      Regardless, even assuming Method A or B matched the system

in Masters, applying those systems to the defendants here, none

of whom used them, is inconsistent with the analysis in Masters

itself.    In Masters, the distributor’s conduct was judged

against the failures evident when applying its own SOM program.

See 861 F.3d at 214-16.       The court noted that Masters

                                     76
Case 3:17-cv-01362 Document 1530 Filed 07/04/22 Page 77 of 184 PageID #: 79528



Pharmaceutical’s SOM program flagged orders that could be

considered suspicious “[a]s a matter of common sense and

ordinary language,” but the court did not purport to mandate

that SOM program for other distributors.          Id. at 216-17.

      By contrast, Mr. Rafalski’s analysis does not judge

defendants’ conduct against their own SOMS.          This is obvious for

Methods A and B, but it is also true for the remaining methods

because the evidence did not show that those methods came

reasonably close to replicating what was happening in the real

world with defendants’ SOM programs.

      Furthermore, Mr. Rafalski did not arrive at his conclusions

regarding each defendant’s purported diversion-control failures

with any particular regard to whatever method(s) he thought

matched each defendant’s own SOM program (at various times).

That is, Mr. Rafalski’s testimony did not emphasize the results

of a method based on its supposed closeness to what a given

defendant had used.      Instead, Mr. Rafalski expressed a

preference for Method A, which no defendant had used.            Id. at

85, 219.    Additionally, it was not clear whether Mr. Rafalski

deemed the results of Method A sufficient to sustain his opinion

that each defendant failed to maintain effective controls

against diversion and run a sufficient SOM system, or whether

the results of the other methods were necessary for him to reach

those opinions.

                                     77
Case 3:17-cv-01362 Document 1530 Filed 07/04/22 Page 78 of 184 PageID #: 79529



      Mr. Rafalski did not actually review any of the orders

flagged by his methods before issuing his expert report in this

case.   See id. at 214-15, 227-28.        This lack of review extended

even to the initial flagged orders, and even when the results

after those initial flagged orders hinge entirely on whether the

initial orders were suspicious (as in Method A).           Id. Mr.

Rafalski also did not know what percentage of the orders he

identified as likely to be diverted “were actually investigated

and . . . cleared” by defendants.         See id. at 228-29.

      Mr. Rafalski testified that the millions of orders flagged

by his methods were not necessarily “suspicious orders” within

the meaning of the federal regulations.          See id. at 229-30.     He

did not know how many of the orders flagged by his methodologies

went to fill legitimate medical needs.         See id. 216:13–18.      He

did not perform any analysis of the medical needs for

prescription opioids in the City of Huntington or Cabell County

relative to the national average, and the results of his methods

do not take account of any estimate of medical needs.            See id.

at 129, 216-17.

      C. Assumption That No Due Diligence Dispelled the Suspicion
         Unsupported

      The court finds unsupported Mr. Rafalski’s assumption that

defendants failed to dispel the suspicion of any flagged order

with the exercise of due diligence.         To the extent Mr. Rafalski


                                     78
Case 3:17-cv-01362 Document 1530 Filed 07/04/22 Page 79 of 184 PageID #: 79530



offered the more limited, vague opinion that defendants

systematically failed to conduct due diligence, the court does

not find that opinion persuasive either.

      In determining how many suspicious orders that he believes

defendants shipped, Mr. Rafalski adopted the assumption that

defendants never conducted due diligence to dispel the suspicion

of any order that his methods flagged.         Id. at 97, 101-02, 217.

Applying this assumption means that every order flagged should

not be shipped because no due diligence was done to dispel the

suspicion. 2   Id. at 76, 97, 217.

      Thus, the assumption that due diligence was not done drives

Mr. Rafalksi’s opinion that defendants wrongfully shipped the

orders that his methods flagged and that, accordingly,

defendants failed to maintain effective controls against

diversion.     The court finds Mr. Rafalski’s assumption that no

due diligence cleared any flagged order entirely unsupported

both because of the way he justified this assumption and in

light of the extensive, persuasive evidence that defendants

conducted due diligence.




2 Because it does not affect the outcome of this case under the
evidence presented at trial, the court assumes without deciding
that “the CSA statutory and regulatory duties to maintain
effective controls against diversion includes a duty not to ship
suspicious orders.” In re Nat’l Prescription Opiate Litig., No.
1:17-MD-2804, 2019 WL 3917575, at *9 (N.D. Ohio Aug. 19, 2019).
                                     79
Case 3:17-cv-01362 Document 1530 Filed 07/04/22 Page 80 of 184 PageID #: 79531



      Mr. Rafalski stakes his assumption that no due diligence

occurred on a lack of existing records in the discovery

materials that would allow him to clear the suspicion of any

order many years after it was shipped.         Id. at 102.     In his

records review, Mr. Rafalski did not find sufficient evidence to

dispel the suspicion of orders “that were or should have been

flagged.”    Id.   In other words, Mr. Rafalski did not explicitly

testify that he found defendants’ due diligence nonexistent, but

merely that, in his after-the-fact review of defendants’

records, he did not find sufficient evidence to dispel the

suspicion himself. 3     Id.

      Importantly, Mr. Rafalski conceded on cross-examination

that the fact such diligence files are not still available is

not necessarily indicative of whether the diligence was

previously done and recorded.        See Rafalski, 5/27/21, at 15 (“Q.

And you don’t have any knowledge to say these [diligence

records] were never done for Huntington/Cabell or they were done

and just not kept; correct?       A. I don’t have any knowledge

either way, Your Honor.”).

      As a former DEA diversion investigator, Mr. Rafalski

confirmed that federal law does not require that pharmacy


3 There is a conflict in the evidence as to whether Mr. Rafalski
reviewed all of the due diligence files or just some of them.
Rafalski, 5/26/21, at 228. The court finds that Mr. Rafalski
reviewed all of the due diligence files that were produced.
                                     80
Case 3:17-cv-01362 Document 1530 Filed 07/04/22 Page 81 of 184 PageID #: 79532



diligence files or suspicious order reports be maintained for

any minimum period of time.       See Rafalski, 5/26/21, at 269.        Mr.

Rafalski was not aware of any policy from the DEA indicating

that diligence files must be maintained for a set period of

time.   See Rafalski, 5/27/21, at 17–18.         The fact that

defendants do not currently maintain copies of certain due

diligence files (many years later) is not a very persuasive

indicator that due diligence was not completed or that the files

did not previously exist.

      Moreover, Mr. Rafalski’s assumption regarding the

systematic (or complete) lack of due diligence is in sharp

conflict with evidence that each defendant engaged in extensive

due diligence.     In other words, the evidence of defendants’

consistent due diligence substantially outweighs the permissible

inference that a lack of records means adequate due diligence

was not done.      The court finds the following evidence of

defendants’ due diligence efforts persuasive.

      1. ABDC Due Diligence

      The ABDC witnesses whom plaintiffs called in their case-in-

chief described ABDC’s customer due diligence program, how the

program evolved over the years.        They also provided testimony

specific to customers in Cabell and Huntington.           The court found

their testimony credible.



                                     81
Case 3:17-cv-01362 Document 1530 Filed 07/04/22 Page 82 of 184 PageID #: 79533



      Mr. Mays provided detailed and extensive testimony on the

investigations ABDC conducted between October 2005 and August

2007—a program ABDC put in place after the 2005 distributor

initiative meeting.      Mays, 5/18/21, at 202-05.       As part of that

program, ABDC investigators validated and analyzed customers’

one-year controlled substance purchase reports, site visit

results, photos, Form 590 Questionnaires, and publicly available

documents.    Id.; Ex. AM-WV-01079.       Mr. Mays further testified

regarding the new program developed in 2007—which included

customer due diligence—with input from the DEA.           Mays, 5/19/21,

at 29-32.

      Mr. Zimmerman similarly explained the improvements ABDC

made to its due diligence program in 2005 and 2007, as well as

ABDC’s due diligence policies and procedures generally.

Zimmerman, 5/13/21, at 189-90 (improvements made in 2005); 194

(enhancements made in 2007).

      Mr. May explained ABDC’s customer due diligence, including

its use of Tableau files to track and analyze all available data

regarding every individual customer who purchased controlled

substances, as well as nationwide trends.          See May, 5/17/21, at

28-29; 50-55; 58-63; 65-68; 93-94.

      Beginning in 2009, ABDC also utilized Order Monitoring

Program (“OMP”) size reports and drug trend reports as part of

its ongoing due diligence efforts.         See id. at 96; 100; Ex. AM-

                                     82
Case 3:17-cv-01362 Document 1530 Filed 07/04/22 Page 83 of 184 PageID #: 79534



WV-00406; Ex. AM-WV-00398.       The OMP size report compared each

customer’s purchase of controlled substances to its purchase of

all products and identified the percentage of controlled

substances purchased by that customer over time.           See May,

5/17/21, at 96; Ex. AM-WV-00406.          The drug trend reports

identified each customer’s month-over-month controlled substance

purchases for specific products like oxycodone and hydrocodone

and also provided a monthly average for the five to six month

time period covered by each report.          See May, 5/17/21, at 100;

Ex. AM-WV-00398.

      a. ABDC’s Due Diligence Re: Safescript

      Plaintiffs focused much of their case against ABDC on a

pharmacy called Safescript, which was an ABDC customer from 2004

to 2012 (when it was raided by the DEA and shut down).            Perry,

5/19/21, at 108, 144-45.       There was no evidence, however, that a

single pill from Safescript was diverted; no evidence of any

actual harm tied to Safescript; no evidence that the West

Virginia Board of Pharmacy took any action against Safescript;

no evidence that Safescript ever failed a West Virginia Board of

Pharmacy inspection; and no evidence that the owner of

Safescript, or any pharmacist who worked at Safescript, was ever

prosecuted.    In sum, the evidence did not show that ABDC’s due

diligence of Safescript was inadequate.



                                     83
Case 3:17-cv-01362 Document 1530 Filed 07/04/22 Page 84 of 184 PageID #: 79535



      ABDC’s CSRA personnel opened an investigation following

their own review of Safescript’s hydrocodone purchases in April

2007. Ex. AM-WV-01418; Ex. AM-WV-01444.          Mr. Perry, the local

account manager, provided a CSRA Form 590 and photographs to

ABDC’s compliance personnel, and also provided compliance

personnel with a detailed description of Safescript.            Ex. AM-WV-

01444.    CSRA personnel then evaluated the due diligence Mr.

Perry collected along with its independent online research on

Safescript, and concluded that Safescript “did not indicate any

type of diversion.”      Ex. AM-WV-01444.

      In addition, Mr. Perry—the only trial witness who actually

visited Safescript—provided a first-hand account on the

pharmacy.    He described Safescript as a “normal practice,” which

had a full line of pharmaceuticals on their shelves and was

located in an “okay” part of Huntington.          Perry, 5/19/21, at

184-85.    And Mr. Perry, who visited Safescript approximately

every other week for a period of several years, testified that

he did not observe any red flags there.          Id. at 185-87.

      With the information obtained from their 2007

investigation, monthly trend reports and other ongoing due

diligence efforts, and Mr. Perry’s first-hand accounts in hand,

ABDC adjusted Safescript’s threshold both up and down over the

years in response to the pharmacy’s needs.          See Mays 5/18/21, at

86; Ex. AM-WV-01444; Ex. AM-WV-00406; Ex. AM-WV-00398.

                                     84
Case 3:17-cv-01362 Document 1530 Filed 07/04/22 Page 85 of 184 PageID #: 79536



      Dr. McCann noted that oxycodone purchasing actually dropped

after the threshold increase.        McCann, 5/11/21, at 90-91.       And

Dr. McCann observed that an ABDC email “seem[ed] to have been

effective” in lowering Safescript’s purchasing.            Id.

      Finally, ABDC reported to the DEA suspicious orders placed

by Safescript every year from 2007 to 2011—the same period of

time during which thresholds were adjusted.            See Ex. P-44766.

      b. ABDC Due Diligence Re: Drug Emporium and McCloud

      ABDC undertook due diligence with respect to both Drug

Emporium and McCloud Family Pharmacy in 2007.            Ex. AM-WV-01410;

Ex. AM-WV-01999.     Consistent with ABDC’s customer investigation

program, Mr. Perry obtained Form 590s and photographs and

submitted them to CSRA personnel.         Ex. AM-WV-01410; Ex. AM-WV-

01999.

      Mr. Perry testified that he did not observe any “red flags”

during his frequent visits to these customers.            Perry, 5/19/21,

191-92 (McCloud Family Pharmacy), 194 (Drug Emporium).            ABDC’s

investigations concluded that there was no indication of

diversion occurring at either pharmacy.          Id.

      In addition to records of investigations and monthly trend

reports for McCloud and Drug Emporium, ABDC introduced evidence

of customer-specific Tableau files for both Drug Emporium and

McCloud (files that represented due diligence of these



                                     85
Case 3:17-cv-01362 Document 1530 Filed 07/04/22 Page 86 of 184 PageID #: 79537



pharmacies from April 2015).        Ex. AM-WV-01040E; see also May,

5/17/21, at 176.

      2. Cardinal Health Due Diligence

      Mr. Moné testified that his team investigated every order

that exceeded that pharmacy’s threshold.          Moné, 5/20/21, at 62

(“[E]very order that triggers is going to have some sort of due

diligence.”).     Cardinal Health also required its sales staff,

who visited pharmacy customers regularly, to look for and report

any potential signs that diversion might be occurring.            Kave,

5/21/21, at 95.     Sales representatives at Cardinal Health

received frequent and regular training on anti-diversion and red

flags for potential signs of diversions.          Id. at 70-71.

      The investigations component of Cardinal Health’s SOMS

involved site visits of pharmacy customers conducted by former

police and former DEA-diversion, Medicaid-fraud, and Board of

Pharmacy investigators.       Moné, 5/20/21, at 174, 187-88.

      Cardinal Health adopted comprehensive Standard Operating

Procedures (“SOPs”) regarding the SOM system, and periodically

updated those procedures.       See, e.g., Ex. CAH-WV-00001 (SOP for

a new retail independent customer survey process); Ex. CAH-WV-

00030 (SOP for the new account approval process); Ex. CAH-WV-

00745 (SOP to establish SOM threshold limits); Ex. CAH-WV-00743

(SOP for threshold event review, self-verification; decision

making and threshold outcome communication); Ex. CAH-WV-00740

                                     86
Case 3:17-cv-01362 Document 1530 Filed 07/04/22 Page 87 of 184 PageID #: 79538



(updated SOP for detecting and reporting suspicious orders and

responding to threshold events); Ex. CAH-WV-00026 (SOP for on-

site investigations); Ex. CAH-WV-00747 (updated SOP for on-site

investigations).

      Cardinal Health trained and tested all employees involved

in anti-diversion activities on the SOPs.          Moné, 5/20/21, at

192-96. These employees numbered in the hundreds—all employees

in the centralized anti-diversion group, QRA more broadly, and

in the twenty-six distribution centers, sales managers, and

sales directors.     Mr. Rafalski did not identify any specific

pharmacy within plaintiffs’ borders for which he claims Cardinal

did not conduct sufficient due diligence.

      a. Cardinal Health Due Diligence Re: Medicine Shoppe

      Of Cardinal Health’s 37 customers in the City of Huntington

and Cabell County, the only specific one that plaintiffs focused

on at trial was T&J Enterprises, Inc., doing business as The

Medicine Shoppe, located in Huntington (“Medicine Shoppe”).             But

there was no evidence that Medicine Shoppe was engaged in

diversion of opioids and no evidence that Cardinal failed to

report or block shipment of any suspicious orders placed by

Medicine Shoppe.

      The due diligence file for Medicine Shoppe was hundreds of

pages and included material dating back to 2008 when Medicine

Shoppe first became a Cardinal Health customer.           See Ex. P-

                                     87
Case 3:17-cv-01362 Document 1530 Filed 07/04/22 Page 88 of 184 PageID #: 79539



42116.   The file contained several Anti-Diversion Customer

Profiles and information regarding overall controlled substances

percentages, volumes of particular categories of drugs, the

number of previous threshold events, and overall purchase data

by month for that drug family.        Id.

      Cardinal Health conducted a full site visit in August 2012.

During that visit, the site investigator found no evidence of

diversion.    Moné, 5/20/21, at 215-16; Ex. CAH-WV-00770.           The

site visit report included explanations for the pharmacy’s

increased purchases of oxycodone, including that “prescribers in

the area prefer oxycodone 15 mg and 30 mg strengths for pain

management” and “the pain management population consists of a

high number of coal miners and truckers with job related

injuries.”    Ex. CAH-WV-00770 at Section 2.

      It also concluded that the pharmacist-in-charge understood

his corresponding responsibility, only filled controlled

substance scripts for local residents and local prescribers, and

took advantage of the state’s prescription monitoring program to

ensure that patients filling controlled substance scripts did

not appear to be engaged in diversion.         Id. at Section 5.

      The only individuals who testified at trial with any

significant knowledge of Medicine Shoppe were former Cardinal

Health employees Mr. Moné and Mr. Kave.          Mr. Kave, the sales

representative who called on Medicine Shoppe for twelve years,

                                     88
Case 3:17-cv-01362 Document 1530 Filed 07/04/22 Page 89 of 184 PageID #: 79540



testified that he knew the pharmacists there and found them to

be professional. Kave, 5/21/21, at 107-09.          Mr. Kave did not

testify that he ever witnessed signs of diversion at Medicine

Shoppe.

      3. McKesson Due Diligence

      As detailed below, McKesson’s Regulatory Affairs Department

reviewed all customer requests to adjust thresholds after

receiving a request from the customer that set forth reasons and

data supporting the adjustment.        Mr. Oriente testified regarding

McKesson’s due diligence, and the court found his testimony

reliable in all respects.

      Mr. Oriente testified that a pharmacy customer that wished

to have a threshold adjusted would have to submit a TCR form for

review by regulatory affairs personnel at McKesson.            See

Oriente, 5/25/21, at 75; see also Ex. P-13714 (exemplar TCR

form).    Mr. Oriente confirmed that McKesson’s Directors of

Regulatory Affairs were responsible for approving all TCRs

submitted by customers.       See Oriente, 5/25/21, at 75.       Each TCR

would receive due diligence prior to approval or rejection.             See

id. at 65.

      In evaluating a request for an increased threshold,

McKesson would receive and consider the customer’s dispensing

data, as well as the customer’s stated reason for the increase.

See id. at 75.     McKesson would also request prescriber

                                     89
Case 3:17-cv-01362 Document 1530 Filed 07/04/22 Page 90 of 184 PageID #: 79541



information as part of its due diligence when necessary.             See

id. at 69.

      Mr. Oriente testified that in the 2008-2013 time period,

the Directors of Regulatory Affairs were able to do their due

diligence even if they were busy at times.          See id. at 67.     If

Mr. Oriente received too many TCR forms to conduct diligence on

them all before the end of a month, then some requests would

roll over into the next month.        See id. at 67-68.

      Under the CSMP, McKesson also conducted customer due

diligence proactively throughout its relationship with a

customer, including during customer onboarding and for existing

customers. See id. at 65-66; Oriente, 5/24/21, at 181.            Under

the CSMP, McKesson also conducted ongoing due diligence of its

existing customers.      See Oriente, 5/25/21, at 90-91, 94; Ex. MC-

WV-00381 (2008 CSMP Manual) at .00015.

      a. McKesson Due Diligence Re: Rite Aid

      McKesson operated its due diligence program for retail

national chain pharmacies, like Rite Aid, differently than its

program for independent pharmacies in recognition of the fact

that national chain pharmacies have their own corporate

regulatory affairs departments that monitor compliance at their

stores.    See Oriente, 5/25/21, at 134; see also Ex. MC-WV-00243

(Controlled Substance Monitoring Program for Retail National

Chains).

                                     90
Case 3:17-cv-01362 Document 1530 Filed 07/04/22 Page 91 of 184 PageID #: 79542



      In his role, Mr. Oriente was aware that Rite Aid had an

internal set of policies and procedures on the filling of

controlled substances.      See Oriente, 5/25/21, at 141.        He worked

directly with members of Rite Aid’s corporate regulatory affairs

department.    See id.    His experience working with Rite Aid led

him to conclude that “Rite Aid was conducting their due

diligence” in relation to orders by specific Rite Aid stores.

Id.

      When McKesson flagged concerns about pharmacies to Rite

Aid, Rite Aid reviewed those stores and reported back to

McKesson with findings and additional information to resolve

McKesson’s concerns.      See id. at 141-42.      Mr. Oriente testified

that Rite Aid would also, at times, raise and report issues to

McKesson on its own volition.        See id. at 142.

      D. Mr. Rafalski’s Diversion-control Opinions

      Mr. Rafalski offered the following opinions regarding

diversion-control failures by defendants:          (1) defendants failed

to maintain effective controls against diversion of prescription

opioids into the illicit market in Huntington-Cabell County,

West Virginia; (2) defendants failed to design and operate an

effective system to identify, block and report suspicious orders

arising out of Huntington-Cabell County, West Virginia; and (3)

these failures were systemic.        Rafalski, 5/26/21, at 107-10.



                                     91
Case 3:17-cv-01362 Document 1530 Filed 07/04/22 Page 92 of 184 PageID #: 79543



      The results of Methods A through F, including the

assumption that defendants did not complete due diligence, were

entirely unpersuasive.      Because Mr. Rafalski’s diversion-control

opinions hinge on those results, those opinions are likewise

entirely unpersuasive.      Mr. Rafalski’s diversion-control

opinions are also unpersuasive because it is apparent that he

employed an overbroad understanding of distributors’ duty to

maintain effective controls against diversion.

      E. No Pharmacy-level Diversion

      Plaintiffs’ diversion control expert, Mr. Rafalksi, could

not identify a single pharmacy customer of defendants that was

engaged in diversion.      See Rafalski, 5/26/21, at 130-35.          Mr.

Rafalski could not identify any pills shipped by defendants that

went to a pill-mill doctor or to fill an improper prescription.

See id. at 130-32.      Mr. Rafalksi did not evaluate whether any

pharmacies within plaintiffs’ borders were neglecting their

legal obligations with regards to effective controls against

diversion.    See id. at 134-35.      Mr. Rafalski did not know

whether the pharmacies to which defendants distributed “helped

cause the opioid crisis in Huntington/Cabell.”           Id. at 137.

      Plaintiffs offered no evidence of any diversion from

Defendants’ pharmacy customers in Cabell/Huntington.            Mr.

Rafalski testified that he was “not offering any opinions about

whether diversion occurred at a pharmacy level” in the City of

                                     92
Case 3:17-cv-01362 Document 1530 Filed 07/04/22 Page 93 of 184 PageID #: 79544



Huntington or Cabell County.        Id. at 135.    Mr. Rafalski further

testified that he was not aware of the DEA ever telling one of

the defendants not to distribute to a pharmacy in the City of

Huntington or Cabell County.        See id. at 162.     Dr. Keyes

testified that she did not identify any sources of diversion in

relation to shipments between distributors and pharmacies.             See

Keyes, 6/14/21, at 68-69.

      The only evidence of pharmacy-level diversion in the City

of Huntington or Cabell County is with respect to A-Plus Care

Pharmacy in Barboursville, which was “a major source of supply

for pharmaceutical diversion to the tri-state area and beyond”

and was shut down by local law enforcement in 2014.            See Ex. P-

41220 (Huntington Police Department 2014 Annual Report) at

.00019–20; see also Lemley, 5/21/21, at 256.           No defendant ever

supplied the A-Plus Care Pharmacy.         See, e.g., Rafalski,

5/26/21, at 15 (acknowledging that Miami-Luken was the only

supplier of the A-Plus Care Pharmacy); McCann, 5/12/21, at 27. 4

      Any diversion of prescription opioids that occurred in the

City of Huntington or Cabell County after the medicines were




4 To the extent plaintiffs attempt to rely on purported examples
of shipments to pharmacies engaged in diversion outside the City
of Huntington and Cabell County, there was no persuasive
evidence establishing a nexus between defendants’ shipments to
those pharmacies and any diversion or harm in the City of
Huntington or Cabell County.


                                     93
Case 3:17-cv-01362 Document 1530 Filed 07/04/22 Page 94 of 184 PageID #: 79545



distributed to and dispensed by bona fide pharmacies involved

criminal actions of third parties over whom defendants had no

control, including the persons to whom the medicines were

prescribed and those involved in diverting the prescription

opioids.    The court finds that plaintiffs did not prove that

defendants supplied opioids to pharmacies engaged in diversion. 5

VII. Failure to Prove Unreasonable Conduct

      Plaintiffs failed to show that the volume of prescription

opioids distributed in Cabell/Huntington was because of

unreasonable conduct on the part of defendants.           Plaintiffs

argue that the volume of prescription opioids distributed by

these defendants in Cabell/Huntington is per se unreasonable

and, therefore, defendants are liable.         Between 2006 and 2014,

defendants distributed 51,349,150 dosage units of oxycodone and

hydrocodone to retail pharmacies in Cabell County and the City

of Huntington. 6    See P-44711.    However, plaintiffs must show more


5 Plaintiffs rely on a breach of a no-shipping duty to prove
diversion and creation of an opioid epidemic. To the extent
they also rely on the reporting requirement, plaintiffs failed
to show that any alleged violations based upon a failure to
report suspicious orders by defendants contributed to the volume
of opioids distributed in Cabell/Huntington. Put another way,
plaintiffs did not show that had defendants reported more
suspicious orders that the DEA would have closed any of the
pharmacies that defendants serviced in Cabell/Huntington.

6 Plaintiffs aver that “[b]etween 2006 and 2014 alone . . .
Defendants distributed 81,239,625 dosage units of oxycodone and
hydrocodone to retail pharmacies in Cabell and Huntington.” ECF
No. 1493 at 13 (emphasis deleted). However, that figure is
                                     94
Case 3:17-cv-01362 Document 1530 Filed 07/04/22 Page 95 of 184 PageID #: 79546



than a volume of distribution which they allege, in retrospect,

is unreasonable.     They must show that the distribution was

because of unreasonable conduct on the part of defendants.             As

discussed in greater detail below, there is nothing unreasonable

about distributing controlled substances to fulfill legally

written prescriptions.

      A. The Role of Pain in the Opioid Crisis

      In 2019, Dr. Wilson M. Compton of the National Institutes

of Health (“NIH”) observed that “[t]he roots of the remarkably

lethal U.S. opioid crisis are complex and inextricably entangled

with healthcare, especially in its treatment of another serious

health problem:     pain.”    Ex. MC-WV-02079 at 1.      Chronic pain is

a common, debilitating medical condition that can have a severe

impact on patients.      See Keyes, 6/14/21, at 111; Deer, 7/7/2021,

at 14-15.




incorrect. That figure represents ABDC’s shipments from June
2002 through December 2018, Cardinal’s shipments from January
1996 through May 2018, and McKesson’s shipments from October
2004 through December 2018. See id; see also McCann, 5/10/21,
at 92. Therefore, the figure is not especially helpful to the
court because it is not an accurate summary of these defendants’
distributions during any time period, much less the relevant
one. For example, it is not a true reflection of these
defendants’ distributions from 1996 to 2018 because it does not
include the full distribution amounts of ABDC or McKesson for
the same period. And, as stated above, it overstates (to the
tune of 30 million dosage units) the actual amount of oxycodone
and hydrocodone distributed by defendants between 2006 and 2014.

                                     95
Case 3:17-cv-01362 Document 1530 Filed 07/04/22 Page 96 of 184 PageID #: 79547



      A 2011 report authored by the Institute of Medicine,

entitled Relieving Pain in America: A Blueprint for Transforming

Prevention, Care, Education, and Research, found that pain was a

“public health challenge” that “affects tens of millions of

Americans and contributes substantially to morbidity, mortality,

disability, demands on the health care system, and significant

economic burdens for the nation.          The prevalence of chronic pain

is growing and likely to continue to do so.”           Ex. MC-WV-1170 at

74.   Generally speaking, “opioids” help to ease pain by binding

to opioid receptors in the body.          See Waller, 5/4/21, at 20.

      Opioids that naturally occur in the body, such as

endorphins, are referred to as endogenous opioids.            See id. at

24-29, 49.    Whereas opioids that are produced outside the body

are exogenous opioids.      See id. at 29, 31.      Exogenous opioids

take three major forms.       Naturally occurring opioids, such as

morphine and codeine, are derived by extracting opium from the

poppy plant.     See id. at 31.     Semisynthetic opioids start

naturally but are later modified in a lab.          Examples of

semisynthetic opioids are heroin, oxycodone, and hydrocodone.

Synthetic opioids, like fentanyl, are wholly produced in a lab.

See id.

      Prescription opioids are medicines approved by FDA.            See

Werthammer, 5/21/21, at 35; Keyes, 6/14/21, at 51.            Prescription

opioids are approved as safe and effective for the treatment of

                                     96
Case 3:17-cv-01362 Document 1530 Filed 07/04/22 Page 97 of 184 PageID #: 79548



pain, including for acute pain following injury or surgery, for

cancer pain, for easing pain through palliative care at the end

of life, and for chronic pain in appropriate circumstances.             See

Waller, 5/4/21, at 80-87; Priddy, 5/6/21, at 215-22.

      They are a “Schedule II” drug, pursuant to U.S. Drug

Enforcement Administration regulation, which means that they

have a recognized medical use, but they also have a high

potential for addiction.       See Waller, 5/4/21, at 37.

“Prescription opioids and illicit opioids, such as heroin and

fentanyl, are pharmacologically quite similar . . . [and t]hey

interact with endogenous opioid systems. . . .”           MC-WV-02079 at

4.

      B. Changes in the Standard of Care for the Treatment of
         Pain.

      “Beginning in the 1980s, there were calls from some

physicians and patient advocacy groups that not enough was being

done to treat pain, both in cancer and palliative-care patients,

and even more generally.”       Ex. MC-WV-02079 at 5; see also

Waller, 5/4/21, at 172.

      In a 1982 editorial titled “The Quality of Mercy” and

published in the New England Journal of Medicine, Dr. Marcia

Angell stated that pain treatment was “regularly and

systematically inadequate,” that “most pain, no matter how

severe, can be effectively relieved by narcotic analgesics,”


                                     97
Case 3:17-cv-01362 Document 1530 Filed 07/04/22 Page 98 of 184 PageID #: 79549



that “a more important factor is a disproportionate sometimes

irrational fear on the part of the medical profession and the

public alike that patients will become addicted,” and that

“[p]ain is soul destroying.”        Ex. MC-WV-01135 at .00002–.00003;

see also Gilligan, 7/2/21, at 78-79, 82–88.          According to Dr.

Gilligan, Dr. Angell’s editorial reflected an emerging viewpoint

within the medical community that more should be done to treat

pain.   See Gilligan, 7/2/21, at 84.

      This notion that the medical community was not doing enough

to treat pain persisted into the 2000s.          In his 2007 book,

Responsible Opioid Prescribing, Dr. Scott Fishman wrote that

“[t]here is no debate among public health experts about the

undertreatment of pain, which has been recognized as a public

health crisis for decades.”       Ex. MC-WV-02111 at 111; see also

Waller, 5/4/21, at 163.

      For most of the 20th century, medical professionals

prescribed opioid pain medicines only for acute and cancer pain.

See, e.g., Ex. MC-WV-02079 at 5 (stating that before the 1980s,

physicians and other healthcare providers were “reluctant to use

[opioid drugs] to treat most pain conditions”); Yingling,

6/16/21, at 176 (agreeing that “[u]p until the 1990s,

prescription opioids were primarily used for acute pain and

cancer pain.”); Deer, 7/7/21, at 68 (testifying that doctors did



                                     98
Case 3:17-cv-01362 Document 1530 Filed 07/04/22 Page 99 of 184 PageID #: 79550



not regularly prescribe opioids for chronic non-malignant pain

prior to 1997).

      As Dr. Gilligan described it,

      So in the period around the 1990s in particular, . .
      ., 1980s as well, there was an emphasis on the concept
      that we were under-treating pain in this country and
      that we were placing too much emphasis - - that we
      were exaggerating, would have been the argument, the
      potential risks of opioids, that we were under-
      utilizing them and we were leaving too many patients
      with pain that could have [and] should have been
      treated with opioids.

Gilligan, 7/2/21, at 76-77.

      Plaintiffs’ witness Dr. Yingling acknowledged this shift in

thinking and testified that, during the 1990s, he too came to

believe that pain was undertreated.         See Yingling, 6/16/21, at

177-78.    In 1986, the World Health Organization released a

document called “Cancer Pain Relief” that said opioids were

“under-use[d]” and introduced a highly influential pain ladder

that called for progression toward more powerful opioids as pain

became more severe.      It also said that “cancer pain is often not

treated adequately” and “[a]n analysis of 11 reports covering

nearly 2000 patients in developed countries suggests that 50–80%

of patients did not have satisfactory [pain] relief.”            Ex. DEF-

WV-03699 at 10, 15, 20-21; see also Gilligan, 7/2/21, at 88-89,

89-94.

      According to Dr. Gilligan, “this document was very, was

very significant because it’s the document where the World

                                     99
Case 3:17-cv-01362 Document 1530 Filed 07/04/22 Page 100 of 184 PageID #: 79551



Health Organization introduced their cancer pain treatment

[ladder] which became very well-known throughout medicine and,

and had a very significant influence on the practice of treating

pain across fields of medicine.”         Gilligan, 7/2/21, at 88-89.

Dr. Gilligan further described the WHO’s statement regarding the

under-use of opioid analgesics as

      meaningful . . . [b]ecause doctors know the World
      Health Organization. You would be hard-pressed to
      find a doctor who doesn’t know the World Health
      Organization. And when they make a statement that’s
      that clear saying that we’re under-treating cancer
      pain and we should use opioids more often, more
      aggressively to, frankly, do a better job of treating
      cancer pain, that’s a powerful statement coming from
      an organization of that stature.

Id. at 92.

      The “standard of care” is what reasonable doctors would

adhere to within their field of medicine in a given situation.

See Deer, 7/7/21, at 48; see also Gilligan, 7/2/21, at 76

(testifying that the “standard of care in medical practice means

the quality of care, the thoroughness, the safety of care that

doctors expect to maintain in his or her fields”).            The standard

of care changes over time based on research, development, and

new information.      See Deer, 7/7/21, at 34, 49, 129 (“Sometimes

we learn things that later prove to be untrue based on new

research and development.       So that’s why the standard of care

changes.    I may have an opinion in 1997 that in 2015 you see



                                     100
Case 3:17-cv-01362 Document 1530 Filed 07/04/22 Page 101 of 184 PageID #: 79552



that was incorrect looking backward.          So it changes based on new

information.”).

      Doctors prescribe medications based on the then-prevailing

standard of care, and doctors who do not follow the then-

prevailing standard of care can lose their license or face civil

or criminal consequences.       See Deer, 7/7/21, at 49-50. Beginning

in the 1990s, the standard of care changed to recognize a

broader range of appropriate uses for prescription opioids

nationwide, including for the long-term treatment of chronic

non-cancer pain.      See Ex. MC-WV-02079 at 6 (noting that as a

result in “shifts in practice, the supply of prescription

opioids increased fourfold between 1999 and 2010").

      Dr. Gilligan testified that the standard of care

surrounding the use of prescription opioids has changed over the

past several decades.       See Gilligan, 7/2/21, at 76 (noting that

opioid prescribing went up through the 2000s and peaked around

2011).

      Dr. Waller testified that there was a “sea change” in

opioid medication prescribing that began in the mid-1990s and

“hit its peak between 2010 and 2012.”          Waller, 5/4/21, at 94;

see also Ex. MC-WV-02079 at 5 (“It was, and is, through pain

suffering and the shifting philosophies of pain treatment that

today’s opioid crises first took root.”).



                                     101
Case 3:17-cv-01362 Document 1530 Filed 07/04/22 Page 102 of 184 PageID #: 79553



      C. OxyContin Introduced

      Against this backdrop, the FDA approved Purdue Pharma’s

controlled-release pain reliever OxyContin in 1995.            See MC-WV-

01764 at 6-7 (“Amid the heightened awareness that many people

were suffering from undertreated pain, in 1995 the Food and Drug

Administration (FDA) approved the new drug OxyContin, a

controlled-release semisynthetic opioid analgesic manufactured

by Purdue Pharma L.P., for the treatment of moderate-to-severe

pain lasting more than a few days.

      According to Purdue, OxyContin provides patients with

continuous relief from pain over a 12-hour period, . . . and

allows a physician to increase the OxyContin dose for a patient

as needed to relieve pain.”).        As of 2001, the FDA was saying

that “there is no known limit to the amount of oxycodone, the

active ingredient in OxyContin, that can be used to treat pain.”

Id. at 7 n.3.     OxyContin was released to the market in 1996.

See id. at 6; see also Ex. MC-WV-02079 at 5 (“These clinical

practice and regulatory changes coincided with business

decisions that fueled a marked increase in opioid prescribing

and subsequent public health harms.         For instance,

pharmaceutical companies were developing a new generation of

extended-release opioid analgesics that contained more opioid

per pill but were promised to be less addicting; Purdue Pharma’s



                                     102
Case 3:17-cv-01362 Document 1530 Filed 07/04/22 Page 103 of 184 PageID #: 79554



OxyContin (oxycodone) was approved and went on the market in

1996” (citation omitted)).

      D. The Standard of Care Continues to Evolve

      Dr. Deer testified that the standard of care for the use of

prescription opioids has changed over time, and that this change

has affected the rate at which doctors prescribed opioids in

West Virginia.     See Deer, 7/7/21, at 129.       Dr. Deer further

testified that there were “three main phases” of the standard of

care surrounding opioid prescribing in West Virginia.             Id. at

39.

      “[P]ain advocacy organizations and some in the medical

community began to seek state-based regulatory changes to

reverse the perceived underuse of opioids to address chronic,

noncancer pain.      These organizations successfully lobbied state

medical boards and state legislatures to revise statutes and

regulatory policies to enable more permissive use of opioids

outside of cancer or palliative care, and to reduce the risk of

sanction for prescribers who prescribed opioids.”            Ex. MC-WV-

02079 at 6.

      According to Dr. Gilligan, state medical boards “play a

role . . . in setting the standard of care.”           Gilligan, 7/2/21,

at 96 (“So for a doctor to practice, you need your license from

your state medical board.       And if you were practicing

inappropriately, for example, they would be the folks who could

                                     103
Case 3:17-cv-01362 Document 1530 Filed 07/04/22 Page 104 of 184 PageID #: 79555



pull your license.      So, therefore, as, as a doctor, one tends to

pay attention to what the state medical board is calling for in

terms of appropriate practice.”); see also Knittle, 8/27/20, at

32 (testifying that the “main purpose” of the West Virginia

Board of Medicine “is to protect the public” by the “licensing

and disciplining of physicians”).

      The State of West Virginia was one state approving of the

use of prescription opioids to treat non-cancer pain.             See MC-

WV-01219 at 1.     In 1997, the West Virginia Board of Medicine

issued a position statement that read:

      Recent national guidelines have clarified the use of
      opioids in the management of acute pain and cancer
      pain. There is general consensus that opioids have a
      place in relieving intractable pain and suffering in
      the terminally ill when other measures fail,
      regardless of diagnosis. However, the problem of
      treatment of chronic non-malignant pain in the non-
      terminal patient is a controversial and difficult
      area, and guidelines are needed. The Board of
      Medicine appreciates the significance of this problem
      and urges that high priority be given to the suffering
      patient.

      The purpose of this statement is to clarify the Board
      of Medicine’s position on the appropriate use of
      opioids for patients with chronic non-malignant pain
      so that these patients will receive quality pain
      management and so that their physicians will not fear
      legal consequences, including disciplinary action by
      the Board, when they prescribe opioids in a manner
      described in this statement. It should be understood
      that the Board recognizes that opioids are appropriate
      treatment for chronic non-malignant pain in selected
      patients.

                                    * * *


                                     104
Case 3:17-cv-01362 Document 1530 Filed 07/04/22 Page 105 of 184 PageID #: 79556



      A physician need not fear disciplinary action by the
      Board if complete documentation of prescribing of
      opioids in chronic non-malignant pain, even in large
      doses, is contained in the medical records.

      Nothing in this statement should be interpreted as
      endorsing inappropriate or imprudent prescribing of
      opioids for chronic non-malignant pain.

Ex. MC-WV-01219 at 1.

      Dr. Gilligan testified that this statement by the West

Virginia Board of Medicine was consistent with the change in

national standards.      See Gilligan, 7/2/21, at 99.        He further

stated that the position statement sent a “clear message” to

doctors in West Virginia “that if you prescribe opioids even in

large doses for non-cancer pain . . . you need not fear

disciplinary action.”       Id. at 100.

      As Dr. Deer put it, guidance like this made doctors feel

“comfortable just going up on the dose” and “upping the dose

until someone got better or got a side effect.”            Deer, 7/7/21,

at 69.    Dr. Deer further testified that all doctors in West

Virginia received a copy of the position statement and that it

changed their perspectives.        See Deer, 7/7/21, at 74-76; Ex.

DEF-WV-03003.

      The Federation of State Medical Boards (“FSMB”) is an

umbrella organization for state medical boards, including the

West Virginia Board of Medicine.         See Waller, 5/4/21, at 107;

see also ECF No. 80 (Third Amended Complaint) at ¶ 565 (“The


                                     105
Case 3:17-cv-01362 Document 1530 Filed 07/04/22 Page 106 of 184 PageID #: 79557



Federation of State Medical Boards . . . is a trade organization

representing the various state medical boards in the United

States.    The state boards that comprise the FSMB membership have

the power to license doctors, investigate complaints, and

discipline physicians.”). 7      The FSMB writes guidelines that are

often adopted by medical boards in different states.            See

Gilligan, 7/2/21, at 100-01.

      In May 1998, the FSMB adopted “Model Guidelines for the Use

of Controlled Substances for the Treatment of Pain” wherein it

laid out that body’s “guidelines for the appropriate use of

controlled substances to treat pain.”          Gilligan, 7/2/21, at 101-

02; DEF-WV-02937.      According to the FSMB’s Model Guidelines,

“principles of quality medical practice dictate that the people


7 “The general rule is that ‘a party is bound by the admissions
of his pleadings.’” Lucas v. Burnley, 879 F.2d 1240 (4th Cir.
1989) (quoting Best Canvas Prods. & Supplies v. Ploof Truck
Lines, 713 F.2d 618, 621 (11th Cir. 1983)); see also Butts v.
Prince William Cnty. School Bd., 844 F.3d 424, 432 (4th Cir.
2016) (party bound by factual allegations in complaint); Everett
v. Pitt Cnty. Bd. of Educ., 788 F.3d 132, 141 (4th Cir. 2015)
(“A judicial admission is a representation made by a party that,
unless allowed by the court to be withdrawn, is conclusive in
the case.”) (internal quotation and citation omitted). “A
judicial admission is usually treated as absolutely binding,
[and] such admissions go to matters of fact which, otherwise,
would require evidentiary proof.” New Amsterdam Cas. Co. v.
Waller, 323 F.2d 20, 24 (4th Cir. 1963). Therefore, plaintiffs
are bound by the factual assertions made in the Third Amended
Complaint, see ECF No. 80, as they have not offered any reason
for the court to relieve them of those admissions. See Yates v.
Ford Motor Co., No. 5:12-CV-752-FL, 2015 WL 3932687, at *5
(E.D.N.C. June 26, 2015) (holding plaintiffs “bound by their
judicial admissions in the nature of factual assertions”).
                                     106
Case 3:17-cv-01362 Document 1530 Filed 07/04/22 Page 107 of 184 PageID #: 79558



. . . have access to appropriate and effective pain relief.”

DEF-WV-02937.

      The Model Guidelines also “encourage[] physicians to view

effective pain management as a part of quality medical practice

for all patients with pain, acute or chronic” and “recognize[]

that controlled substances, including opioid analgesics, may be

essential in the treatment of acute pain due to trauma or

surgery and chronic pain, whether due to cancer or non-cancer

origins.”     Id.

      The Model Guidelines state that “[p]hysicians should not

fear disciplinary action from the Board for prescribing,

dispensing or administering controlled substances, including

opioid analgesics, for a legitimate medical purpose and in the

course of professional practice.”          Id.; see also Gilligan,

7/2/21 at 101-05.      Plaintiffs admit that the FSMB Guidelines

approved the use of opioids to treat chronic pain.            See ECF No.

80 at ¶ 567 (“The 1998 [FSMB] Guidelines that the pharmaceutical

companies helped author taught not that opioids could be

appropriate in only limited cases after other treatments had

failed, but that opioids were ‘essential’ for treatment of

chronic pain, including as a first prescription option.”).

      According to Dr. Gilligan, the Model Guidelines “are

examples of the evolution of [the] standard of care, but they

reflect a broad discussion across pain medicine, and actually

                                     107
Case 3:17-cv-01362 Document 1530 Filed 07/04/22 Page 108 of 184 PageID #: 79559



medicine in general, about what’s the appropriate way for us to

treat pain and what’s the appropriate way for us to use opioid

pain medications to treat pain.”         Gilligan, 7/2/21, at 105.

      The FSMB’s 1998 guidelines were endorsed by various

organizations, including state medical boards, medical

professional organizations, healthcare regulatory boards, and

the DEA.    See Gilligan, 7/2/21, at 119-120; see also Ex. DEF-WV-

03605 at 1.

      The Joint Commission on Accreditation of Healthcare

Organizations (“Joint Commission” or “JCAHO”) is the body that

accredits hospitals and other healthcare organizations.             See

Gilligan, 7/2/21, at 105-06.        Of the importance of JCAHO

accreditation, Dr. Gilligan testified that “accreditation is

very important to us to continue to be able to operate our

hospitals.     An accredited hospital has implications for

reimbursement, et cetera.”        Id. at 106.    Dr. Waller testified

that the concept of “Pain as the Fifth Vital Sign” originated

with the Joint Commission, which is the regulatory body that the

government uses to identify and evaluate hospitals for safety.

See Waller, 5/4/21, at 96.        A hospital may participate in

federal healthcare programs like Medicaid and Medicare only if

it is accredited by the Joint Commission.          See id. at 96–97.

      In 2001, the Joint Commission issued Pain Standards

evincing a more aggressive stance at identifying and treating

                                     108
Case 3:17-cv-01362 Document 1530 Filed 07/04/22 Page 109 of 184 PageID #: 79560



pain.    See AM-WV-02693.     One such standard was that “[p]atients

have the right to appropriate assessment and management of

pain.”    Id. at 12; see also Gilligan, 7/2/21, at 109-10.           That

standard goes on to state that “[p]ain is considered a fifth

vital sign in the hospital’s care of patients.           Pain intensity

ratings are recorded during the admission assessment along with

temperature, pulse, respiration and blood presure.”            AM-WV-02693

at 12.    According to Dr. Gilligan, the Joint Commission’s

statement was a “significant consideration” in the standard of

care in medicine because “to add pain as a fifth vital sign was

a very clear message about the great importance of measuring

pain and, by implication, of treating pain.”           Gilligan, 7/2/21,

at 111.

      The Joint Commission’s 2001 Pain Standards emphasized the

importance of treating pain, and provided examples for

implementing its standards that included asking every patient “a

‘screening’ question regarding pain on admission” and posting a

“statement on pain management . . . in all patient care areas”

stating that “[a]ll patients have a right to pain relief.”              See

Ex. AM-WV-02693 at 12; see also Gilligan, 7/2/21, at 105-12.

      Of the significance of complying with the Joint

Commission’s pain standards, Dr. Gilligan testified that “it’s

very, very important to us to maintain our accreditation, and

very important for us not to have findings where we’re not

                                     109
Case 3:17-cv-01362 Document 1530 Filed 07/04/22 Page 110 of 184 PageID #: 79561



meeting their standards beyond how we treat pain or other

things.”    Gilligan, 7/2/21, at 106; see also Yingling, 6/16/21,

at 180 (Q: “And now, if we turn down to the third bullet, it

reads, ‘In 2001’ - - ‘2001 pain management standards by JCAHO

effective pain management from admission to discharge.’             Do you

see that?”     A: “I do.”    Q: “This references that doctors were

reminded to to ask their patients about pain and to treat that

pain, correct?”      A: “Yes.   I’m only smiling, Counselor, because

JCAHO does not really remind people.          I mean, they’re a

regulatory agency, so remind just seems not quite appropriate,

but thank you.”      Q: Perhaps remind was too gentle.        Let me see

if I can . . . respond to that.         JCAHO mandated that doctors ask

their patients about pain and treat that pain, correct.”             A:

“That sounds like the JCAHO I know, yeah.”).

       Dr. Gilligan testified that JCAHO’s 2001 pain standards

were

       influential because they set standards for measuring
       pain as the fifth vital sign . . . which was extremely
       important because if you think of vital signs, the
       name, the name says a lot; heart rate, blood pressure,
       et cetera, key things. And to then add pain as a
       fifth vital sign was a very clear message of how
       important JCAHO felt measuring pain and, by
       implication, treating pain was and so, therefore, the
       expectation that hospitals who are going to be
       inspected by JCAHO would, would meet those sort of
       standards.

Id. at 106-07.



                                     110
Case 3:17-cv-01362 Document 1530 Filed 07/04/22 Page 111 of 184 PageID #: 79562



      The change in the standard of care discussed above was

reflected in the widespread adoption of “Pain as the Fifth Vital

Sign.”    See, e.g., Ex. DEF-WV-02395, Ex. DEF-WV-03074.           Dr. Deer

testified that “Pain as the Fifth Vital Sign” became an

important factor because every patient that walked into a

hospital, inpatient or outpatient, had to be asked about their

pain level, and that pain level had to be followed and addressed

throughout their care.       See Deer, 7/7/21, at 53.

      Dr. Deer further testified that “Pain as the Fifth Vital

Sign” was promoted by the American Pain Society and the Joint

Commission, among others, and that “Pain as the Fifth Vital

Sign” contributed to the change in the standard of care towards

more opioid prescribing.       See id. at 53-54, 57, 60-62; see also

Ex. MC-WV-02079 at (“[I]n the early 1990s, advocacy groups,

including the American Pain Society, encouraged physicians to

treat pain as a ‘fifth vital sign,’ and the Joint Commission

began to require hospitals to assess all patients’ pain. . . .

[As a result,] [p]ain rating scales became ubiquitous in

doctor’s offices and emergency rooms.”).

      Plaintiffs’ witnesses corroborated the change in the

standard of care wrought by “Pain as the Fifth Vital Sign” and

the fact that it led to an increase in opioid prescribing.              Dr.

Waller testified that “Pain as the Fifth Vital Sign” embraced

addressing pain more aggressively.         See Waller, 5/4/21, at 96.

                                     111
Case 3:17-cv-01362 Document 1530 Filed 07/04/22 Page 112 of 184 PageID #: 79563



Dr. Waller further testified that “Pain as the Fifth Vital Sign”

had an effect on the prescribing of opioids by some doctors.

See id. at 97.

      Dr. Waller testified that, in the early-to-mid 2000s, the

Joint Commission made implementing “Pain as the Fifth Vital

Sign” a criteria for accreditation, and that doctors practicing

in a hospital accredited by the Joint Commission had to comply

with these standards.       See id. at 97.     Dr. Keyes published an

article in April 2021 stating that one of the two forces that

led to the proliferation of opioid prescribing in the 1990s “was

a shift in treatment approaches for chronic non-cancer pain,

including a campaign by professional pain societies and the U.S.

Joint Commission, the nation’s largest accrediting body for

healthcare organizations, to consider pain as the fifth vital

sign and to improve the quality of care for chronic pain.”              See

Keyes, 6/14/21, at 34.

      Dr. Keyes testified that the Joint Commission’s endorsement

of “Pain as the Fifth Vital Sign” contributed to increases in

opioid use disorder in West Virginia.          See id. at 49.     Ms.

Priddy testified that “Pain as the Fifth Vital Sign” involved

putting pain on the same level of importance as a patient’s

temperature or respiration, and that under “Pain as the Fifth

Vital Sign,” if a patient indicated pain, the attending medical



                                     112
Case 3:17-cv-01362 Document 1530 Filed 07/04/22 Page 113 of 184 PageID #: 79564



professional needed to address the patient’s pain.            See Priddy,

at 217-18.

      Dr. Werthammer testified that “Pain as a Fifth Vital Sign”

came from organizations like the Joint Commission, and that

opioids were prescribed more liberally at the time when pain was

considered the “fifth vital sign.”         See Werthammer, 5/21/21, at

27.   In a February 2016 e-mail thread discussing the opioid

crisis, Dr. Werthammer wrote “it was not big pharma who wrote

the prescriptions, it was me and my colleagues.”            Ex. DEF-WV-

00473.    Dr. Shapiro responded, “We had some help.          Pain as the

‘5th vital sign’ comes to mind. . . .”          Id.

      As well, Dr. Yingling testified that the American Pain

Society designated “Pain as the Fifth Vital Sign” in 1995, and

that the Joint Commission mandated hospitals ask their patients

about pain and treat that pain beginning in 2001.            See Yingling,

6/16/21, at 179-81.      Dr. Yingling further testified that the

designation of pain as the fifth vital sign had the effect of

increasing net prescribing of pain medications.            See id. at 182.

      A separate lawsuit filed by the City of Huntington against

the Joint Commission alleged that the Joint Commission played a

key role in the concept of “Pain as the Fifth Vital Sign,” which

led to increasing prescribing of pain medications.            See Ex. DEF-

WV-01102; Ex. DEF-WV-02124 (Joint Commission Complaint); see

also Williams, 6/30/21, at 92-103.

                                     113
Case 3:17-cv-01362 Document 1530 Filed 07/04/22 Page 114 of 184 PageID #: 79565



      In particular, Huntington alleged that “[i]n 2001,

Defendant JCAHO . . . teamed with Purdue Pharma L.P., and its

affiliates (“Purdue”), as well as other opioid manufacturers, to

issue Pain Management Standards . . . that grossly

misrepresented the addictive qualities of opioids and fostered

dangerous pain control practices, the result of which was often

the inappropriate provision of opioids with disastrous adverse

consequences. . . .”       Ex. DEF-WV-02124 at 2.

      According to the City of Huntington, “[h]ospitals . . .

were required to follow these Pain Management Standards to

maintain JCAHO certification, which health care organizations

deem essential to their continued operation.”           Id.   According to

the City of Huntington, “JCAHO’s enforcement of its Pain

Management Standards       and . . . widespread misinformation

campaign about the safety of opioids has also led to an

overprescribing of opioids, not only in terms of doses and

necessity, but also in terms of quantity.”           Id. at 4-5.6

      Mayor Williams endorsed and agreed with Huntington’s

allegations against the Joint Commission, and testified that the

Joint Commission is “one of the most culpable parties

responsible for the opioid problem.”          Williams, 6/30/21 at 94.

      In 2001, the DEA and 21 health organization, including the

American Medical Association (“AMA”), released “A Joint

Statement” on “Promoting Pain Relief and Preventing Abuse of

                                     114
Case 3:17-cv-01362 Document 1530 Filed 07/04/22 Page 115 of 184 PageID #: 79566



Pain Medications:      A Critical Balancing Act.”       Ex. MC-WV-01522.

The 2001 Joint Statement said, among other things, that

“[u]ndertreatment of pain is a serious problem in the United

States, including pain among patients with chronic conditions

and those who are critically ill or near death.            Effective pain

management is an integral and important aspect of quality

medical care, and pain should be treated aggressively.”             Id.

      The statement continued:       “For many patients, opioid

analgesics-when used as recommended by established pain

management guidelines-are the most effective way to treat their

pain, and often the only treatment option that provides

significant relief.”       Id.   The statement acknowledged that

“[d]rug abuse is a serious problem[,]” but maintained that

“[f]ocusing only on the abuse potential of a drug, however,

could erroneously lead to the conclusion that these medications

should be avoided when medically indicated-generating a sense of

fear rather than respect for their legitimate properties.”              Id.;

see also Gilligan, 7/2/21 at 113-18.

      Dr. Gilligan noted that this document was reflective of the

changing standard of care.        See Gilligan, 7/2/21, at 116.       The

AMA is the largest organization representing doctors in America,

so it is “significant when they’re endorsing a statement.”              Id.

at 113, 117.     Dr. Gilligan also testified that a statement from

the DEA endorsing the use of opioid medications would be taken

                                     115
Case 3:17-cv-01362 Document 1530 Filed 07/04/22 Page 116 of 184 PageID #: 79567



seriously by doctors who might otherwise fear enforcement for

prescribing opioids.       See id. at 114, 117.

      In 2004, the FSMB released an updated “Model Policy for the

Use of Controlled Substances for the Treatment of Pain.”             See

Ex. DEF-WV-03605.      The 2004 FSMB Guidelines maintained “that

both acute and chronic pain continue to be undertreated” and

that “the state medical board will consider inappropriate

treatment, including the undertreatment of pain, a departure

from an acceptable standard of practice.”          Id.   The 2004 FSMB

Guidelines further stated that “[t]he board recognizes that

controlled substances, including opioid analgesics, may be

essential in the treatment of acute pain due to trauma or

surgery and chronic pain, whether due to cancer or non-cancer

origins.”     See id. at 3; see also Gilligan, 7/2/21 at 119-22.

      The FSMB’s 2004 Guidelines informed doctors that they would

have failed to meet the standards of care if they did not

adequately treat patients’ pain.         See DEF-WV-03605 at 2-3

(“[T]he Board will consider the inappropriate treatment of pain

to be a departure from standards of practice and will

investigate such allegations[.]”); see also Gilligan, 7/2/21 at

121-22.

      Because the FSMB was involved with state medical boards and

therefore medical licensing, such language had a significant

influence on doctors.       See Gilligan, 7/2/21, at 121-22 (“So what

                                     116
Case 3:17-cv-01362 Document 1530 Filed 07/04/22 Page 117 of 184 PageID #: 79568



the Federation of State Medical Boards is telling doctors there

is that if you do not adequately treat patients’ pain, you will

have failed to meet the standards of care, or standard of

practice care they use.       And, again, where medical boards are

the bodies that grant you your license and can take your license

away, a recommendation of that sort from the Federation of State

Medical Boards has a significant influence on doctors.”); see

also ECF No. 80 at ¶ 565.

      FSMB guidelines had an impact on physician prescribing in

West Virginia because FSMB materials were given to West Virginia

physicians.     See Deer, 7/7/21, at 90.

      In 2005, the West Virginia Board of Medicine adopted a

“Policy for the Use of Controlled Substances for the Treatment

of Pain” that stated the “diagnosis and treatment of pain is

integral to the practice of medicine[,]” encouraged doctors to

“view pain management as a part of quality medical practice for

all patients with pain, acute or chronic,” and recognized that

“controlled substances including opioid analgesics may be

essential in the treatment of acute pain due to trauma or

surgery and chronic pain, whether due to cancer or non-cancer

origins.”     Ex. MC-WV-01218 at 1-2; see also Gilligan, 7/2/21, at

123-24.

      Dr. Deer testified that the policy statement was

distributed to all licensed doctors in West Virginia and that

                                     117
Case 3:17-cv-01362 Document 1530 Filed 07/04/22 Page 118 of 184 PageID #: 79569



the policy statement reinforced and expanded the 1997 position

statement.     See Deer, 7/7/21, at 87-88.       According to Dr. Deer,

the policy statement “led to many complaints at that time

against doctors for under-treatment of pain.”           Id. at 88.

      In 2005, the West Virginia Board of Medicine reprinted in

its newsletter sent to every licensed doctor in the state a

letter from the West Virginia and other Attorneys General to DEA

expressing their concern that there was too much focus on anti-

diversion and not enough focus on the treatment of pain.             See

Ex. DEF-WV-3010 at .5 (“We are concerned that state and federal

policies are diverging with respect to the relative emphasis on

ensuring the availability of prescription pain medications to

those who need them.”); see also Deer, 7/7/21, at 90-91, 94.

      In 2008, the West Virginia Board of Medicine distributed a

copy of Responsible Opioid Prescribing to every doctor in West

Virginia.     See Ex. DEF-WV-03616 at 6 (stating that the West

Virginia Board of Medicine, “in conjunction with the [FSMB],”

among other organizations, “was able to distribute [Responsible

Opioid Prescribing] to every licensed physician and physician

assistant in West Virginia”); see also Deer, 7/7/21, at 102;

Gilligan, 7/2/21, at 125.       The West Virginia Board of Medicine

concluded that Responsible Opioid Prescribing should be a guide

for doctors’ opioid prescribing, and even invited Dr. Fishman to



                                     118
Case 3:17-cv-01362 Document 1530 Filed 07/04/22 Page 119 of 184 PageID #: 79570



speak at a sponsored event in 2008.         See Knittle, 8/27/20, at

135-37; see also Deer, 7/7/21, at 102.

      Responsible Opioid Prescribing promoted the notion that

long-term opioid treatment was a viable and safe option for

treating chronic pain.       See, e.g., Ex. MC-WV-02111 at 8-9

(listing as “widely accepted” general principles that “[o]pioid

therapy to relieve pain and improve function is a legitimate

medical practice for acute and chronic pain of both cancer and

non-cancer origins” and that “[p]atients should not be denied

opioid medications except in light of clear evidence that such

medications are harmful to the patient”); see also Gilligan,

7/2/21, at 124-25.

      Plaintiffs admit as much.       See ECF No. 80 at ¶ 569

(admitting that Responsible Opioid Prescribing “asserted that

opioid therapy to relieve pain and improve function is a

legitimate medical practice for acute and chronic pain of both

cancer and non-cancer origins; that pain is under-treated, and

that patients should not be denied opioid medications except in

light of clear evidence that such medications are harmful to the

patient”).

      In 2013, the West Virginia Board of Medicine issued a

“Policy on the Use of Opioid Analgesics in the Treatment of

Chronic Pain,” recognizing that “principles of high-quality

medical practice dictate that the people of the State of West

                                     119
Case 3:17-cv-01362 Document 1530 Filed 07/04/22 Page 120 of 184 PageID #: 79571



Virginia have access to appropriate, safe and effective pain

management” and that “opioid analgesics are useful and can be

essential in the treatment of acute pain that results from

trauma or surgery, as well as in the management of certain types

of chronic pain, whether due to cancer or non-cancer causes.”

Ex. DEF-WV-01935 at 3; see also Gilligan, 7/2/21, at 127-29.

      The policy further states that “[p]hysicians should not

fear disciplinary action from the Board for ordering,

prescribing, dispensing or administering controlled

substances[.]”     Ex. DEF-WV-01935 at 3.       Dr. Gilligan once again

confirmed that this statement would send physicians “a fairly

clear message that they . . . shouldn’t fear disciplinary action

by the board as long as they practice meeting the standards of

appropriate care.”      Gilligan, 7/2/21, at 129.       The Board of

Medicine adopted these guidelines from the FSMB, and reviewed

the guidelines carefully before adopting.          See Knittle, 8/27/20,

at 163.    Doctors practicing in West Virginia are expected to be

familiar with and seek to follow the guidelines and policy

statements issued by the West Virginia Board of Medicine.             See

Gupta, 5/6/21, at 54-55.

      The State of West Virginia also passed laws that influenced

doctors to prescribe more opioids to patients for chronic pain.

In 1998, West Virginia passed the Intractable Pain Act. See

generally Ex. DEF-WV-03106.        The Intractable Pain Act made clear

                                     120
Case 3:17-cv-01362 Document 1530 Filed 07/04/22 Page 121 of 184 PageID #: 79572



to doctors that they could treat chronic non-cancer pain the

same way they treated chronic cancer pain, with high doses of

prescription drugs and without fear of retribution.            See Deer,

7/7/21, at 80-81; see also Ex. DEF-WV-03106 at 2 (“In the case

of intractable pain involving a patient who is not dying, the

physician discharges his or her professional obligation to

relieve the patient's intractable pain, even though the dosage

exceeds the average dosage of a pain relieving controlled

substance. . . .”).

      In 2009, West Virginia passed an amendment to the

Intractable Pain Act.       See Deer, 7/7/21, at 95-96; see also Ex.

DEF-WV-03067 (2009 Amendment to Intractable Pain Act).             The

amendment removed the word “intractable” from the previous

legislation, which, from Dr. Deer’s perspective, had the effect

of broadening the scope of the legislation and making it easier

to treat patients with prescription opioids who did not have

severe pain.     See Deer, 7/7/21, at 97-98; see also Knittle,

8/27/20, at 141 (acknowledging that “the definitions of ‘pain’

is a bit broader than the definition of ‘intractable pain’”).

      There was no evidence that defendants played any role in

changing the standard of care for the treatment of pain or

endorsed these changes.       These changes in the standard of care

led to an increase in the medical use of prescription opioids.

Doctors began to prescribe opioids for a broader range of

                                     121
Case 3:17-cv-01362 Document 1530 Filed 07/04/22 Page 122 of 184 PageID #: 79573



conditions, most notably, for the long-term treatment of chronic

pain.

       According to Dr. Gilligan, physicians and other prescribing

clinicians were the ones who drove the volume of opioids

prescribed over the last thirty or so years.           See Gilligan,

7/2/21, at 146.      Plaintiffs admit as much:       “by the mid-2000s,

the medical community had abandoned its prior caution, and

opioids were entrenched as an appropriate—and often the first—

treatment for chronic pain conditions.”          ECF No. 80 at ¶ 375.

Such prescribing, Dr. Waller testified, “was the general gestalt

at the time given that pain as the fifth vital sign was being

implemented in hospitals and as such that it was felt that that

was the only lever we had to pull for the treatment of pain.”

Waller, 5/4/21, at 103.

       Dr. Gupta testified that there was a “culture” of

“attempting to reduce pain from a scale of whatever to zero for

every American, every West Virginian, that they could possibly

do.”    Gupta, 5/6/21, at 90.      Dr. Gupta further testified that

there was a “culture” of writing “several more days of

prescriptions” than required to treat the given condition, and

that it was “a common mistake in the medical profession” to

prescribe too many opioid pills for a legitimate need.             Id. at

89-90 (“It’s probable for a good doctor to make a good sound

judgment for the need of opioids, but make a mistake on the

                                     122
Case 3:17-cv-01362 Document 1530 Filed 07/04/22 Page 123 of 184 PageID #: 79574



duration of the need of opioids.         So instead of three days, you

write for 30 days, that’s a problem.          And not everybody who does

that is necessarily a bad doctor or bad prescriber.            That’s what

was happening.”).

      Dr. Keyes testified that, “starting in the late 1990s up

through around 2010, doctors increased their prescribing of

opioids.”     Keyes, 6/14/21, at 71 (“Pervasive over-prescribing

resulted in unused prescription opioid medicines diverted for

Monétary value, bartered for no cost among family and

individuals in a shared social network.”).           Dr. Yingling

testified that “the addition of pain as the fifth vital sign and

the smiley face/happy face diagram shown to patients had the

effect of increasing net prescribing of pain medications.”

Yingling, 6/16/21, at 182.

      Dr. Deer testified that West Virginia laws and policies

changed the standard of care in West Virginia and led to

increased opioid prescribing around the state.           See Deer,

7/7/21, at 100.      Dr. Deer further testified that West Virginia

prescribers prescribed opioid medications more freely in

accordance with the guidance that was issued by various bodies

in West Virginia, and that the vast majority of these

prescribers were acting reasonably based on the information

available to them at the time.        See id. at 100-10.



                                     123
Case 3:17-cv-01362 Document 1530 Filed 07/04/22 Page 124 of 184 PageID #: 79575



      The State of West Virginia’s 2018 Opioid Response Plan

stated that “[a] critical factor fueling the national opioid

epidemic is the rapid rise in opioid prescriptions for pain.

From 1999 to 2012, opioid prescribing increased fourfold . . . .

West Virginia has experienced some of the highest rates of

opioid prescribing in the nation.”         Ex. P-44223 at 9.

      The changes in the standard of care led to a particular

increase in opioid prescribing in West Virginia, which compared

to the nation as a whole has an older population, more workers

in industries that lead to pain and injuries, and more people

who suffer from conditions that cause or contribute to chronic

pain.

      As of 2016, West Virginia ranked number one per capita in

total annual prescriptions for all medicines.           See Gupta,

5/6/21, at 32-33; see also Ex. DEF-WV-00747 at 39.            States with

large rural populations such as West Virginia have among the

highest prescribing rates for opioid analgesics.            See Keyes,

6/14/21, at 52-53.

      The West Virginia population has a high relative prevalence

of health conditions that could lead to increased pain,

including arthritis, cancer, obesity, and other conditions.

See, e.g., Gupta, 5/6/21, at 35-37 (ranked first in country for

arthritis, cardiovascular disease, COPD, and hypertension;

second in country for diabetes and depression; and third in

                                     124
Case 3:17-cv-01362 Document 1530 Filed 07/04/22 Page 125 of 184 PageID #: 79576



country for cancer); Keyes, 6/14/21, at 54, 60; Deer, 7/7/21, at

104-05; see also Ex. DEF-WV-00747 at 28.

      The West Virginia population is relatively older and has

relatively higher levels of obesity as well as a higher than

average number of disabled persons, all of which tend to

generate more needs for pain treatment.          See, e.g., Gupta,

5/6/21, at 37-38, 50-53; Keyes, 6/14/21, at 59-60; Deer, 7/7/21,

at 104-05; see also Keyes, 6/14/21, at 53-54 (testifying that

rural populations are on average older than urban populations).

Manual and physical labor is a significant component of the West

Virginia economy and tends to generate more needs for pain

treatment.     See, e.g., Gupta, 5/6/21, at 47-50; Keyes, 6/14/21,

at 60; Deer, 7/7/21, at 105-06.         Given the older population and

higher rates of chronic pain, Dr. Keyes “would expect to see

higher levels of opioid prescribing in West Virginia than in

many other states.”      See Keyes, 6/14/21, at 57.

      The opioid crisis would not have occurred if prescribing

opioids had not become standard practice in managing acute and

chronic pain.     See Keyes, 6/14/21, at 82 (“Q.        And then, your

view is that the opioid crisis would not have occurred if

prescribing opioids had not become standard practice in managing

acute and chronic pain, correct?         A.   That’s right.”).




                                     125
Case 3:17-cv-01362 Document 1530 Filed 07/04/22 Page 126 of 184 PageID #: 79577



      Of the shaky science supporting this shift in the standard

of care, Dr. Compton observed:

      Physicians and other healthcare providers had learned
      from historical experience of the dangerous
      addictiveness of opioid drugs, and for decades were
      therefore reluctant to treat most pain conditions. . .
      . A now notorious one-paragraph letter in the New
      England Journal of Medicine in 1980 stated that among
      a large sample of hospitalized patients who had been
      given opioids, only four developed addiction. Despite
      the fact that this report focused on inpatient
      administration of opioids, it was later cited widely
      to support less hesitation in using opioids in
      outpatient settings outside of end-of-life care.
      Other small case series in the mid-1980s suggested
      that patients with noncancer pain, if chosen
      appropriately, could take opioids long term safely and
      with few developing misuse or addiction.

      On the basis of these studies, pain advocacy
      organizations and some in the medical community began
      to seek state-based regulatory changes to reverse the
      perceived underuse of opioids to address chronic, non-
      cancer pain.

                                    * * *

      Opioids began to be increasingly prescribed for
      chronic non-cancer pain, despite a lack of evidence
      supporting opioids’ efficacy or safety for patients
      with these conditions; for instance, the systematic
      review conducted for the 2014 National Institutes of
      Health Pathways to Prevention workshop found
      insufficient evidence “to determine the effectiveness
      of long-term opioid therapy for improving chronic pain
      and function” but did find evidence of a “dose-
      dependent risk for serious harms.”

MC-WV-02079 at 5-6 (citations omitted).

      Nevertheless, there was no evidence presented for the trier

of fact to find that defendants had anything to do with changing

the standard of care.

                                     126
Case 3:17-cv-01362 Document 1530 Filed 07/04/22 Page 127 of 184 PageID #: 79578



      E. Manufacturers, Not Defendants, Exploited the New Standard
         of Care to Aggressively Market Prescription Opioids

      Plaintiffs have alleged in their complaint, the

manufacturers of prescription opioids “turned [the] consensus

[that opioids were too addictive for chronic pain] on its head

by designing and implementing a sophisticated and deceptive

market strategy that, among other things, falsely denied the

risk of addiction and overstated the benefits of using opioids

long-term.”     ECF No. 80 at ¶ 372.

      Plaintiffs maintain that manufacturers “marketing changed

prescribers’ willingness to prescribe opioids, lead them to

prescribe more of their opioids, and persuaded them not to stop

prescribing opioids.”       Id. at ¶ 663.     Plaintiffs also allege and

therefore admit that the change in the standard of care was

influenced by a deceptive advertising campaign by the

manufacturers of prescription opioids, which generally

overstated the benefits and understated the risks of opioid

treatment.

      Plaintiffs judicially admit that a deceptive advertising

campaign by the manufacturers of prescription opioids played a

role in changing the standard of care.          See ECF No. 80 ¶¶ 372–

76.   Plaintiffs judicially admit that manufacturers made false

or misleading marketing claims about prescription opioids.              See

ECF No. 80 ¶¶ 378, 384–537.


                                     127
Case 3:17-cv-01362 Document 1530 Filed 07/04/22 Page 128 of 184 PageID #: 79579



      Plaintiffs presented no evidence that distributors made any

of these claims.      Dr. Waller testified that marketing outreach

to primary care physicians was done by manufacturers.             See

Waller, 5/4/21, at 218-19.        Dr. Waller further testified that

the manufacturers’ marketing of OxyContin included high levels

of targeted outreach to primary care physicians, outreach at

national meetings, incentivized sales, and even illegal sales

practices, all of which fueled the multi-billion-dollar

medication sales increase starting in the 1990s.

      Dr. Waller further testified that these practices found a

particular niche in some rural areas where limited access to

integrated pain treatment and high prevalence of pain conditions

facilitated proliferation of prescription opioids and misuse.

See id. at 199-201; see also Ex. MC-WV-02079 at 6.

      Dr. Mohr testified that manufacturers, not distributors,

engage in physician detailing, and maintain large sales

detailing forces to consistently call on doctors and make

representations about the risks and benefits of prescription

opioids.    See Mohr, 6/11/21, at 122-23.        Dr. Mohr further

testified that manufacturers, not distributors, detail

physicians for the purpose of expanding sales of their products.

See id. at 123 (“[D]istributors did not detail physicians.”).

      Dr. Werthammer testified that manufacturers of prescription

opioids, like Purdue, detailed doctors about the benefits of

                                     128
Case 3:17-cv-01362 Document 1530 Filed 07/04/22 Page 129 of 184 PageID #: 79580



prescription opioids.       See Werthammer, 5/21/21, at 30.        Dr.

Werthammer further testified that manufacturer marketing about

the addiction potential of prescription opioids had the effect

of increasing doctors’ prescribing of opioids.           See id. (“I

agree with this, that the information promulgated by big pharma

and that you cannot become addicted to opioids if you’re truly

in pain certainly contributed in physician’s minds that there’s

safety in being able to prescribe opioids for pain without

fearing the consequence of addiction.”) see also 31 (Q: “[I]t

was the prescribing that drove the demand, correct?”            A: “Well,

I think the prescribing and - - to some degree, and also some of

th[ese] miscreants that we talked about like pharmaceutical

pharmacy representatives and some physicians.”).

      Mr. Rafalski agreed with the GAO’s conclusion that “Purdue

conducted an extensive campaign to market and promote OxyContin

using an expanded sales force and multiple promotional

approaches to encourage physicians, including primary care

specialists, to prescribe OxyContin as an initial opioid

treatment for noncancer pain.”        Rafalski, 5/26/21, at 141-42;

see also Ex. MC-WV-01764 at 9.

      Mr. Rafalski further agreed with the GAO’s conclusion that

“DEA has expressed concern that Purdue’s aggressive marketing of

OxyContin focused on promoting the drugs to treat a wide range

of conditions to physicians who may not have been adequately

                                     129
Case 3:17-cv-01362 Document 1530 Filed 07/04/22 Page 130 of 184 PageID #: 79581



trained in pain management.”        See Rafalski, 5/26/21, at 142; see

also Ex. MC-WV-01764 at 9.

      Dr. Keyes published an article in April 2021 stating one of

the two forces that “led to the proliferation of opioid

prescribing in the 1990s . . . [was] the pharmaceutical

industry’s concerted efforts to advocate for the long-term use

of opioids as a safe, non-addictive, effective, and humane

alternative to treat non-cancer pain,” including “Purdue Pharma

provid[ing] funds for educational campaigns supporting the use

of opioids to treat chronic non-cancer pain.”           Keyes, 6/14/21,

at 34-35.     Mr. Knittle testified that pharmaceutical

manufacturers promoted the idea that opioids were the “first and

foremost” pain treatment.       Knittle, 8/27/20, at 101-02.

      Plaintiffs offered no evidence that defendants engaged in

any false or misleading marketing activities that influenced the

standard of care for the prescribing of opioids.            Furthermore,

any evidence plaintiffs presented about defendants’ marketing

activities had no impact on number of prescriptions written.

      F. Good-Faith Prescribing Drove the Increased Volume of
         Prescription Opioids

      To prescribe opioids, doctors must be registered with the

DEA and licensed by the State.        See 21 C.F.R. § 1306.03; see

also Gilligan, 7/2/21, at 72, 96; Knittle, 8/27/20, at 39, 201.

“The responsibility for the proper prescribing and dispensing of


                                     130
Case 3:17-cv-01362 Document 1530 Filed 07/04/22 Page 131 of 184 PageID #: 79582



controlled substances is upon the prescribing practitioner, but

a corresponding responsibility rests with the pharmacist who

fills the prescription.”       21 C.F.R. § 1306.04(a); see also

Rafalski, 5/26/21, at 116-17.        A prescription for a controlled

substance “must be issued for a legitimate medical purpose by an

individual practitioner acting in the usual course of his

professional practice.”       21 C.F.R. § 1306.04(a); see also

Rafalski, 5/26/21, at 116.

      Doctors in Cabell/Huntington determined the volume of

prescription opioids that pharmacies in the community ordered

from defendants and then dispensed pursuant to those

prescriptions.     Ms. Keller testified that prescribing and

distribution in Cabell County matched almost perfectly—average

opioid pills prescribed was 141.2 pills per person while opioid

pills distributed was 142.19 pills per person.           See Keller,

6/15/21, at 213-14.

      Dr. Keller also testified that because ARCOS data “shows

shipments by distributors to pharmacies” it is a “reflection of

the prescribing because orders ultimately fill prescriptions

that are written.”      Id. at 206.     Dr. Gupta testified that the

number of prescriptions going to pharmacies is based on the

judgment of doctors and other healthcare providers, and that the

total volume of prescriptions determines the total volume of

pills that could leave pharmacies.          See Gupta, 5/6/21, at 46-47.

                                      131
Case 3:17-cv-01362 Document 1530 Filed 07/04/22 Page 132 of 184 PageID #: 79583



Dr. Gupta further testified that a critical factor fueling the

national opioid epidemic is the rapid rise in opioid

prescriptions for pain.       See id. at 85.

      Dr. Keyes testified that the high volume of opioid

prescriptions that doctors were writing “became the foundation

for the overall expansion in the opioid supply and opioid-

related harm.”     See 6/14/21, at 81.      Dr. Keyes further testified

that she is not aware of any occasion where McKesson, Cardinal,

or AmerisourceBergen shipped opioids into Cabell/Huntington in

excess of the levels prescribed by doctors.           See id. at 27.

      Mr. Rafalski testified that he is not aware of any pills

shipped by defendants “other than in response to a licensed

prescriber writing a prescription.”         Rafalski, 5/26/21, at 131.

Mr. Rafalski further testified that there is “no other way” for

distribution to increase other than for doctors to prescribe

more opioids.     Id. at 242.     Mr. Rafalski further testified that

pharmacies only dispense prescription opioids in response to

prescriptions, and that the number of pills a pharmacy dispenses

is directed by the number of prescriptions written by doctors.

See id. at 131, 134.

      According to Mr. Rannazzisi, the opioid crisis “started

with prescriptions,” and that “what drives demand for opioids is

appropriate medical treatment,” not opioid supply.            See

Rannazzisi, 6/9/21, at 87-89, 190.         Dr. McCann testified that

                                     132
Case 3:17-cv-01362 Document 1530 Filed 07/04/22 Page 133 of 184 PageID #: 79584



prescribing and distribution volume are “two sides of the same

coin.”    McCann, 5/11/21, at 134-35.       Dr. McCann further

testified that he was not aware of any evidence that

distribution reflected in the ARCOS data exceeded prescriptions.

See id. at 183.

      Dr. Murphy testified that the volume of prescription

opioids was determined by doctors, not distributors.            See

Murphy, 7/8/21, at 67 (“I think prescriptions - - if you wanted

to think about market like this and what’s going to determine

the quantity, it’s going to be the prescribing behavior . . .

because in order to sell a prescription in this market place,

you have to have a prescription.         This is not like you go down

to the grocery store and say, you know, oh, I see there’s a

stack of doughnuts.      I’ll buy some doughnuts.       That’s not how

this works.     You need a prescription to buy it. . . .”).

      Prescription opioids should remain on the pharmacy shelves

unless and until prescriptions are written for them.            Dr. Gupta

testified that an opioid pill cannot leave a pharmacy lawfully

unless a prescriber decides to write a prescription and a

pharmacist decides to dispense it.         See Gupta, 5/6/21, at 47.

      Dr. Keyes confirmed that no matter how many opioids a

distributor ships to a given pharmacy, those opioids are

supposed to stay in the pharmacy and not go out to the public

without a doctor’s prescription.         See Keyes, 6/14/21, at 83.

                                     133
Case 3:17-cv-01362 Document 1530 Filed 07/04/22 Page 134 of 184 PageID #: 79585



Dr. Gilligan testified that shipments prescription opioids have

a one-to-one relationship with prescriptions, and that

physicians and other prescribing clinicians drove the changes in

prescribing both up and down over time.          See Gilligan, 7/2/21,

at 146.

      The standard of care liberalizing the prescribing of

opioids was multifaceted.       First, more doctors were prescribing

opioids than ever before.       Second, they were prescribing opioids

at higher doses and for longer durations.          For example, Dr. Deer

testified about seeing patients that were prescribed ten pills a

day or 300 pills a month.       See Deer, 7/7/21, at 41; see also 26

(“We had dentist [who] were prescribing a lot of opioids post-

surgery for a tooth.       Like they’d give you 90 pills for a tooth

pull and things like that.”); see also P-44223 at 9 (recounting

West Virginia patient who stated, “A few years ago I had sinus

surgery, and the doctor prescribed pain medication, which I

filled on the way home while still groggy from the surgery.

When I opened the medication, which was oxycodone, I found that

there were 40 tablets.       At my follow-up appointment I asked the

doctor why on earth he prescribed 40 tablets.           I only used one

the first night just in case, and didn’t need any more.             He said

it was the ‘protocol.’       So who decides the protocol?       How can it

be changed?”).



                                     134
Case 3:17-cv-01362 Document 1530 Filed 07/04/22 Page 135 of 184 PageID #: 79586



      Third, certain prominent doctors advanced the view that you

upped the dosage of opioids until someone’s pain got better.

See Deer, 7/7/21, at 73 (“Many physicians adopted the philosophy

that you upped the dose of opioids until someone got better,

their pain below a 3 or a 4, or they had a side effect.             And

there was no ceiling, was what Dr. Portenoy always stated in his

lectures and things around the country.          And so, you should keep

going up even to a thousand milligrams a day without any fear of

problems in a patient.”); see also id. at 43 (discussing

Purdue’s Medical Director speaking at an event where he stated

“that no one was really addicted, they were undertreated, you

give them more and more”).

      In Dr. Gilligan’s opinion, even at the peak of opioid

prescribing, “the great majority of the over-prescribing was

well-intentioned.”      See Gilligan, 7/2/21, at 146.        Id.   (“I

think there was a great majority of cases of well-intentioned

clinicians trying to follow what they understood, or in some

cases what they had been told, was the right way to treat

patients.”     He further opined that distributors had no influence

on doctors’ prescribing decisions.         See id. at 146-47.

      The overwhelming majority of doctors were acting in good

faith when they made the decision to prescribe opioids.             See

Gilligan, 7/2/21, at 146 (testifying that increased prescribing

was driven by well-intentioned doctors, often primary care

                                     135
Case 3:17-cv-01362 Document 1530 Filed 07/04/22 Page 136 of 184 PageID #: 79587



doctors, trying to follow what they understood was the right way

to treat patients).      Dr. Deer also testified that doctors who

prescribed more opioids in accordance with the changing standard

of care were acting reasonably based on the information

available.     See Deer, 7/7/21, at 62.

      Plaintiff’s witnesses with a medical background, both

expert and non-expert, confirmed as much.          Dr. Gupta testified

that there were more good doctors in West Virginia than bad

doctors at any one point in time, and that most doctors’ intent

in prescribing opioids was to help their patient because “that

was the culture.      That was the education.      That was the

influence.     That was their understanding.”        Gupta, 5/6/21, at

93-94.    Dr. Keyes likewise testified that the “overwhelming

majority of doctors prescribe opioids to their patients in good

faith.”    Keyes, 6/14/21, at 71, 76.       Dr. Keyes further testified

that a doctor acting in good faith to prescribe an opioid may

provide for more pills in the prescription than are needed to

meet the medical need for which the pills are being prescribed.

See id. at 74-77.      Dr. Waller testified that doctors prescribing

opioids for chronic non-cancer pain in the mid-2000s “were

acting in good faith.”       Waller, 5/4/21, at 104.

      The DEA agreed.      Mr. Rannazzisi testified to Congress that

“99 percent of the doctors are perfect” and “that the

overwhelming majority of prescribing in America is conducted

                                     136
Case 3:17-cv-01362 Document 1530 Filed 07/04/22 Page 137 of 184 PageID #: 79588



responsibly.”     Rannazzisi, 6/9/21, at 102.        Mr. Rannazzisi

testified that an extremely small fraction of doctors were

acting illegitimately, and testified that 99% of prescribers in

the United States are treating their patients appropriately.

See id. at 108; see also Rannazzisi, 6/8/21, at 184-85.

      While serving as head of the DEA’s Office of Diversion

Control, Mr. Rannazzisi testified before Congress in 2014 that

“99.5 percent of the prescribers . . . are not overprescribing.”

Rannazzisi, 6/9/21, at 99-100; see also Prevoznik, 4/17/19, at

402-03.    In 2006, the DEA stated publicly that “nearly every

prescription issued by a physician in the United States is for a

legitimate medical purpose.”        Ex. DEF-WV-03076 at 7; see also

Rannazzisi, 6/9/21, at 106-07.

      Mr. Rafalski agreed with the DEA’s assessment that “the

overwhelming majority of American physicians who prescribe

controlled substances do so for legitimate medical purposes,”

and that “the overwhelming majority of physicians who prescribe

controlled substances do so in a legitimate manner that will

never warrant scrutiny by federal or state law enforcement

officials.”     Rafalski, 5/26/21, at 120-21.        Mr. Rafalski further

agreed with Mr. Rannazzisi’s assessment that 99% of doctors

prescribe opioids for legitimate medical purposes and testified

that the vast majority of doctors are trying to do the right

thing.    See id. at 117-18.

                                     137
Case 3:17-cv-01362 Document 1530 Filed 07/04/22 Page 138 of 184 PageID #: 79589



       Mr. Prevoznik testified on behalf of the DEA that the DEA

believed that the overwhelming majority of prescribing in

America is conducted responsibly.          See Prevoznik, 4/17/19, at

401.

       Mayor Williams testified that “the vast majority of doctors

in Cabell County and Huntington thought they were prescribing

opioids appropriately.”       Williams, 6/30/21, at 82.       Mr. Knittle

testified that the change in the standard of care caused

addictions and death because “some physicians had believed that

the best way to treat pain was for high and consistent amounts

of opioids.”     Knittle, 8/27/20, at 106.       He further testified

that, at least in 2016, the West Virginia Board of Medicine’s

belief was “that the opioid epidemic was fueled primarily by

doctors liberally prescribing opioids[.]”          Knittle, 8/27/20, at

194.

       G. The Increase in Prescribing of Opioids Is Reflected in
          the DEA’s Average Production Quota over the Relevant Time
          Period

       The DEA sets annual production quota (APQ) for each

prescription opioid in the United States based on its

determination of the legitimate medical, scientific, research,

and industrial needs for prescription opioids.           See 21 U.S.C.

§ 826(a)(1).     The aggregate production quota is the maximum

amount of a controlled substance that the United States needs

for its legitimate medical, scientific, and research purposes,

                                     138
Case 3:17-cv-01362 Document 1530 Filed 07/04/22 Page 139 of 184 PageID #: 79590



and for export and inventory allowances.          See Harper-Avilla,

4/11/19, at 35, 218.

      The DEA evaluates prescription data as a factor when the

setting the aggregate production quotas.          See id. at 177.     The

DEA also considers diversion and abuse when setting the quota.

See id. at 54-55, 73-74.       The DEA admitted that if manufacturers

of opioids had misled doctors and the public about the health

benefits and the addictive nature of opioids causing sales to

rise, then the DEA’s estimate of the medical need could be above

the actual medical need in the United States.           See id. at 177.

      From 2003 to 2013, the DEA raised the production quotas for

prescription opioids by significant amounts.           See Ex. DEF-WV-

01597 at 18 (the DEA raised the APQ for oxycodone over 400

percent).     Just as the DEA’s establishment of production quotas

reflect the prescriptions that were being written, so too did

the defendants’ distributions.

      H. The Emergence of a More Conservative Approach to
         Prescribing Opioids

      Dr. Gilligan testified that “around 2011 prescribing in the

country peaked and started to go down.”          Gilligan, 7/2/21, at

77.   He stated that this was due to an increased awareness

regarding the risks of prescription opioids vis-à-vis their

effectiveness.     See id.    Dr. Gilligan framed the current

standard of care as more conservative with respect to


                                     139
Case 3:17-cv-01362 Document 1530 Filed 07/04/22 Page 140 of 184 PageID #: 79591



prescribing opioids.       See id. at 77 and 139.      According to him,

since 2013, the standard of care for opioids has become more

conservative, and opioid prescribing rates have decreased, and

that this change was driven by the medical profession.             See

Gilligan, 7/2/21, at 138-39.        Nevertheless, opioids continue to

be prescribed for acute pain, cancer pain, and non-cancer

chronic pain.     See id. at 139.

      Dr. Gupta testified that in recent years, there has been an

effort to educate doctors in West Virginia to think more

carefully about their prescribing of opioids.           See Gupta,

5/6/21, at 57.     Dr. Gupta further testified that over time, with

more training and better use of databases like the CSMP, doctors

in West Virginia are writing fewer prescriptions for opioids.

See id. at 57-58.

      Federal and state guidelines promulgated in 2016 [CDC and

SEMP] advocating a more conservative approach to prescribing

opioids, along with West Virginia’s 2018 Opioid Reduction Act,

changed the standard of care in West Virginia toward more

conservative opioid prescribing.         In 2018, West Virginia enacted

the Opioid Reduction Act.       See Ex. DEF-WV-03054; Deer, 7/7/21,

at 117-18.     The Opioid Reduction Act limited how many days’

supply of an opioid medication doctors could prescribe to

patients and required doctors to inform patients about

alternatives to opioid medications and the risks associated with

                                     140
Case 3:17-cv-01362 Document 1530 Filed 07/04/22 Page 141 of 184 PageID #: 79592



opioid medications.      See Deer, 7/7/21, at 118-20.        Dr. Deer

testified that the 2016 guidelines and the 2018 Opioid Reduction

Act changed the standard of care in West Virginia.            See id. at

121.

       Prescription opioids continue to be widely prescribed today

for the treatment of various forms of pain, but subject to new

guidelines.     Such prescribing occurs despite significant

attention over the past decade to the risks of abuse and

addiction associated with these medicines, reflecting the

judgments of the medical community that these FDA-approved

medications continue to play an important role in the treatment

of pain despite the risks associated with their use.            See, e.g.,

Keyes, 6/14/21, at 108 (testifying that “physicians are more

concerned about addiction now than they were in the 1990s and

2000s”).

       In 2013, Dr. Keyes published a paper that stated “[w]hen

used as prescribed under medical supervision, opioid analgesics

are effective and used as standard practice in managing acute

and chronic pain.”      Keyes, 6/14/21, at 15, 17.       Dr. Keyes

believed that statement was true based on the literature she had

reviewed at the time.       See id. at 17.     Dr. Gilligan testified

that it is the consensus of the medical community that the

benefits of prescription opioids outweigh the risks for certain

patients, and that is reflected in the fact that prescription

                                     141
Case 3:17-cv-01362 Document 1530 Filed 07/04/22 Page 142 of 184 PageID #: 79593



opioids are FDA-approved.       See Gilligan, 7/2/21, at 38-39.          Dr.

Gilligan further testified that opioids play a central role in

the treatment of chronic cancer pain.          See id. at 32.

Prescription opioids remain an option for certain people

suffering from chronic non-cancer pain.          See id. at 69-70.       Dr.

Deer testified that prescribing opioids is appropriate for the

correct patient.      See Deer, 7/7/21, at 37.

      The DEA agrees there is a legitimate medical need under 21

U.S.C. § 801 for prescription opioids to treat pain.            See

Prevoznik, 4/17/19, at 393.        The DEA further testified that it

agrees that opioids are an appropriate medication for many

Americans, and that prescription opioids are necessary to

maintain the general welfare of American people who need them.

See id. at 392-94.

      I. There Is No Evidence That Defendants Distributed to Pill
         Mills in Cabell/Huntington

      “The 1990s and 2000s also saw the development of rogue pain

clinics (sometimes called pill mills) where opioids were

prescribed and dispensed in large quantities but with few

clinical indications.”       Ex. MC-WV-02079 at 6.      There is no

evidence that ties any of defendants’ shipments to a pill mill

in Cabell/Huntington.

      Dr. McCann did not identify any of defendants’ pharmacy

customers as pill mills.       See McCann, 5/11/21, at 183.        Mr.


                                     142
Case 3:17-cv-01362 Document 1530 Filed 07/04/22 Page 143 of 184 PageID #: 79594



Rafalski could not identify any pills shipped by defendants that

went to a pill mill doctor or to fill an improper prescription.

See Rafalski, 5/26/21, at 130-32.          Nor did he investigate any of

the pharmacies in Cabell/Huntington.          See id. at 134 (“I wasn’t

evaluating pharmacies.”).       In any event, according to Dr. Keyes,

pill mills do not explain in any significant way the expansion

of opioid prescribing and opioid-related harm in the U.S.             See

Keyes, 6/14/21, at 131.

      Plaintiffs offered no evidence that Defendants ever

distributed controlled substances to any entity that did not

hold a proper registration from DEA or license from the West

Virginia Board of Pharmacy.        Dr. McCann was not aware of any

evidence that Defendants distributed to pharmacies that were not

licensed by DEA or the West Virginia Board of Pharmacy.             See

McCann, 5/11/21, at 69, 182-83; McCann, 5/12/21, at 65.             Mr.

Rafalski was not aware of Defendants ever supplying a pharmacy

that was not licensed by DEA.        See Rafalski, 5/26/21, at 131.

Mr. Rannazzisi admitted that he could not identify any instance

where any Defendant “supplied controlled substances to a

Huntington or Cabell County pharmacy that was not registered

with the DEA.”     Rannazzisi, 6/9/21, at 151.

      None of the defendants ship opioids to pharmacies without a

DEA registration or license.        Mr. Mays testified that

AmerisourceBergen does not ship to customers who are not

                                     143
Case 3:17-cv-01362 Document 1530 Filed 07/04/22 Page 144 of 184 PageID #: 79595



registered with DEA and licensed by the proper state entity.

See Mays, 5/18/21, at 173.        Mr. Moné testified that Cardinal

Health does not ship to customers who are not registered with

DEA and licensed by the State of West Virginia.            See Moné,

5/20/21, at 180.      Mr. Oriente testified that McKesson does not

ship to customers who are not registered by DEA.            See Oriente,

5/25/21, at 31.

       Plaintiffs offered no evidence that defendants ever

distributed controlled substances to any entity that it knew was

dispensing for any purpose other than to fill legitimate

prescriptions written by doctors.          Mr. Zimmerman testified that

if ABDC knew a pharmacy was diverting drugs “we wouldn’t be

selling [opioids] to them.”        Zimmerman, 5/12/21, at 203.

       Mr. Moné testified that Cardinal Health did not ship any

prescription opioids to a pharmacy in Cabell/Huntington that

Cardinal Health knew or should have known was dispensing for a

purpose other than to fill legitimate prescriptions written by

doctors.    Moné, 5/20/21, at 180.       Mr. Moné further testified

that Cardinal Health never shipped an order it believed would be

used for other than legitimate medical purposes.            See id. at

230.    Mr. Oriente testified that, at all relevant times,

McKesson blocked and did not ship orders that it identified as

likely to be diverted.       See Oriente, 5/25/21, at 48, 55, 126.



                                     144
Case 3:17-cv-01362 Document 1530 Filed 07/04/22 Page 145 of 184 PageID #: 79596



      Although Plaintiffs allege that the volume of prescription

opioids distributed in Cabell/Huntington was “excessive,” they

offered no evidence, expert or otherwise, of how many

prescription opioids should have been distributed in

Cabell/Huntington.      Dr. McCann disavowed any opinion as to the

“right” level of opioid supply in Cabell/Huntington.            See

McCann, 5/11/21, at 66 (Q: “[Y]ou have not studied the medical

needs for Cabell County or the City of Huntington; correct?:              A:

“Correct.”     Q: “And you cannot tell this Court how many

prescription opioids should have been distributed to Cabell

County or the City of Huntington; correct?”           A:   “Correct.”).

      Mr. Rafalski also did not offer any opinion as to the

“right” level of opioid supply in Cabell/Huntington.            See

Rafalski, 5/26/21, at 129 (Q: “You’ve not done any kind of

analysis of the medical needs for prescription opioids in Cabell

County or Huntington relative to the national average; correct?”

A: “That’s a correct statement.         I did not do that.”).

      Ms. Keller likewise did not try to discern the “right”

level of opioid supply in Cabell/Huntington.           See Keller,

6/15/21, at 168 (Q: “So, you’re not an expert who can come and

tell the Court what volume of opioids was the right volume that

should have been prescribed in Cabell-Huntington at any point in

time, correct?”      A: “Correct. . . .     I don’t offer the opinion



                                     145
Case 3:17-cv-01362 Document 1530 Filed 07/04/22 Page 146 of 184 PageID #: 79597



of what should be the volume. . . .         I could tell you what was

prescribed but not what should be prescribed.”).

      Dr. Keyes testified that she “ha[d] not undertaken a

statistical evaluation” of how many prescription opioid pills

were needed in Cabell/Huntington and “ha[d] not undertaken any

analysis of the pain needs specifically in Cabell/Huntington.”

Keyes, 6/14/21, at 19-20.

      There is a difference between “overprescribing” and

“illegal prescribing.”       Boggs, 1/17/19, at 358-59.       As Boggs

explained,

      part of the opioid epidemic has been fueled by
      overprescribing. That’s not illegal prescribing but
      it’s overprescribing.

      Q: Can you explain what the difference - you just used
      two different terms, “overprescribing” and “illegal
      prescribing.” Can you explain what you mean by those?

      A: Sure. Illegal prescribing would be when a doctor
      would be complicit in a scheme that they know the
      patient doesn’t need it, the patient is paying in case
      the doctor writes a prescription for a patient they’ve
      never seen before or examined before. The doctor
      meets - meets someone in a parking lot. Those would
      be illegal prescriptions. Overprescribing, on the
      other hand, might be a situation where a doctor has a
      legitimate patient, has a legitimate need for the
      drugs, but instead of writing that prescription for,
      say, 15 days, they write it for 30 days. It’s a
      perfectly legitimate prescription but its
      overprescribing. It’s prescribing more than what the
      patient would need.

      Q: Can you give a - can you give the jury an example
      of a prescription that might be overprescription -
      that might be an overprescription without being
      diversion?

                                     146
Case 3:17-cv-01362 Document 1530 Filed 07/04/22 Page 147 of 184 PageID #: 79598




      A: Sure. You might have a patient go to a dentist and
      have a tooth - tooth extraction, and the patient needs
      the medication for maybe a couple of days, but the
      doctor writes it for 30 days. That’s overprescribing.

      Q: So does the - does McKesson’s compliance program
      target overprescribing, as you’ve just described it?

      A: It - it can’t.

      Q: Why not?

      A: We don’t see the prescriptions.

Id. at 358-60.

      Therefore, even if there was some level of “illegal

prescribing” in Cabell/Huntington, the court is unable to

discern if it was significant enough to impact the overall

volume of prescription opioids distributed by defendants.             As

Mr. Rannazzisi admitted, quantity alone might not indicate that

there was illegal prescribing.        See Rannazzisi, 6/9/21, at 112-

13 (The DEA did not “investigate [doctors] based on

quantities.”).

      Moreover, detecting and thwarting illegal prescribing is

not the duty of distributors.        Their role, instead, is to detect

and avoid supplying pharmacies that are themselves not part of

the “legitimate medical . . . channel[].”          See 21 U.S.C.

§ 823(b)(1).     The facts of this case do not support a failure to

fulfill that role by defendants.




                                     147
Case 3:17-cv-01362 Document 1530 Filed 07/04/22 Page 148 of 184 PageID #: 79599



VIII.       The Abatement Plan

      Plaintiffs propose a 15-year “Abatement Plan” as their

equitable remedy.      Plaintiffs’ expert Dr. Alexander developed

the plan, see Alexander, 6/28/21, at 16-17, with inputs from

plaintiffs’ experts Dr. Young, see Young 6/16/21, at 104, and

Dr. Keyes, see Alexander, 6/28/21, at 148-49.           Plaintiffs’

expert Mr. Barrett testified that the total cost of the plan

over 15 years (in future dollars) is $2,544,446,548.            See

Barrett, 6/29/21, at 106.       The court finds that plaintiffs’

proposed “Abatement Plan” addresses harms caused by opioid abuse

and addiction—it does not address defendants’ conduct.

      Virtually the entirety of the proposed Abatement Plan is

addressed to programs and services to treat opioid addiction and

abuse, and the attendant harms caused by opioid abuse and

addiction.     See Alexander, 6/28/21, at 29.        Dr. Alexander

testified that the Abatement Plan is intended to address the

opioid epidemic as a whole, and is not limited to addressing

prescription opioids.       See id. at 29, 121.

      Only one element of the Abatement Plan addresses the volume

of prescription opioids in Cabell/Huntington and is arguably

tailored to defendants’ allegedly wrongful conduct:            the “Safe

Storage and Drug Disposal,” which entails collection sites for

unused pills that could remove excess prescription opioids from

the community.     See id. at 133.      This program accounts for

                                     148
Case 3:17-cv-01362 Document 1530 Filed 07/04/22 Page 149 of 184 PageID #: 79600



$35,972 (in future dollars over 15 years), see Barrett 6/29/21,

at 107, 110, representing 0.0014% of the total costs of the

Abatement Plan.

      The Abatement Plan does not include any provisions to

constrain defendants’ conduct generally or their distribution of

prescription opioids in the City of Huntington or Cabell County

specifically.     Dr. Alexander acknowledged that the Abatement

Plan (1) “does not recommend any new licensing requirements for

distributors,” (2) “does not propose any new reporting

requirements for distributors,” and (3) “does not propose any

new physical security requirements for distributors.”

Alexander, 6/28/21, at 123-24.

                            CONCLUSIONS OF LAW

I.    Jurisdiction and Venue

      This court has subject matter jurisdiction pursuant to 28

U.S.C. § 1332 because the plaintiffs, City of Huntington and the

Cabell County Commission, are both citizens of West Virginia,

and all of the defendants are citizens of states other than West

Virginia; and the amount in controversy exceeds $75,000

exclusive of interest and costs.

      Venue is proper in the Southern District of West Virginia

under 28 U.S.C. § 1391 because a substantial part of the acts or

omissions giving rise to plaintiffs’ claims occurred in this

district.

                                     149
Case 3:17-cv-01362 Document 1530 Filed 07/04/22 Page 150 of 184 PageID #: 79601



II.   Standing

      Defendants have standing to bring this civil action.             As

this court previously held, in ruling on defendants’ motion for

summary judgment on the issue of standing, a municipality has

standing to seek judicial redress to abate a condition alleged

to be a public nuisance.       See ECF No. 1248 at 11-14.

      After trial of this action, the court finds no reason to

alter or reverse its previous ruling on standing.

III. Statute of Limitations

      Plaintiffs insist that they are seeking equitable relief,

specifically abatement of the alleged nuisance.            In West

Virginia there is no statute of limitations for claims seeking

equitable relief.      See Dunn v. Rockwell, 689 S.E. 2d 255, 267

(W. Va. 2009).     Where there is no statute of limitations that

applies to equitable remedies, the court may apply the doctrine

of laches to time bar a remedy.         See Rodgers v. Rodgers, 399

S.E. 2d 664, 670 (W. Va. 1990).

      Nuisance cases in West Virginia are characterized as either

permanent or temporary for purposes of determining whether the

suit is time barred.       A permanent nuisance is one where, by one

act, a permanent injury is done that at once produces all the

damages than can ever result from it.          A temporary nuisance, on

the other hand, involves continuing or repeated injury.              These

principles were confirmed in State ex rel. Smith v. Kermit

                                     150
Case 3:17-cv-01362 Document 1530 Filed 07/04/22 Page 151 of 184 PageID #: 79602



Lumber & Pressure Treating Co., 488 S.E. 2d 901, 922 (1997).

There, the Division of Environmental Protection of West Virginia

brought suit against a lumber treatment business whose site was

contaminated by chromium and arsenic.          See id. at 905.

      The toxic substances had spilled into the environment on

multiple occasions over a period of time.          See id.    The Circuit

Court of Mingo County dismissed the case on the theory that the

statute of limitations had run.         See id. at 907.     The Supreme

Court of Appeals of West Virginia reversed and held that the

defendant had created a public nuisance subject to a one-year

statute of limitations and that the period of limitations would

not commence until the nuisance was abated.           See id. at 925.

The court held that, until the harm is abated, the public

nuisance is continuing and the statute of limitations does not

accrue.    See id.

      Kermit Lumber controls here, and this action is not barred

by the statute of limitations or the doctrine of laches.

IV.   The Law of Public Nuisance Does Not Afford Plaintiffs a
      Remedy upon the Facts of This Case

      In an action based on diversity of citizenship, a federal

court is, in most cases, required to follow established law of

the forum state.      A “State’s highest court is the best authority

on its own law.”      Commissioner of Internal Revenue v. Bosch, 387

U.S. 456, 465 (1967).       If there is no decision on point by the


                                     151
Case 3:17-cv-01362 Document 1530 Filed 07/04/22 Page 152 of 184 PageID #: 79603



state’s highest court, the federal court is to “predict” the law

the state’s highest court would likely apply.           Knibbs v.

Momphard, 30 F.4th 200, 213 (4th Cir. 2022) (quoting Rhodes v.

E.I. du Pont de Nemours & Co., 636 F.3d 88, 96 (4th Cir. 2011)).

       To forecast a decision of a state’s highest court, a

federal court may consider “canons of construction, restatements

of the law, treatises, recent pronouncements of general rules or

policies by the state’s highest court, well considered dicta,

and the state’s trial court decisions.”          Wells v. Liddy, 186

F.3d 505, 528 (4th Cir. 1999).

       The court may also consider “the practices of other

states.”    St. Paul Fire Ins. v. Am. Intern. Spec. Lines, 365

F.3d 263, 272 (4th Cir. 2004) (internal citation and quotation

omitted).     The federal court should consider lower court

decisions but is not bound to follow them if the federal court

believes they would not be affirmed by the states’ highest

court.    See Chemerinsky, Federal Jurisdiction, 6th ed., pp. 354-

355.    A federal court sitting in diversity is not bound by a

state trial court decision on a matter of state law.            See Twin

City Fire Ins. v. Ben Arnold Sunbelt Beverage Co., 433 F.3d 365,

370 (4th Cir. 2005).

       This court should “‘respond conservatively when asked to

discern governing principles of state law’ and take care to

avoid interpreting that law in a manner that ‘has not been

                                     152
Case 3:17-cv-01362 Document 1530 Filed 07/04/22 Page 153 of 184 PageID #: 79604



approved’” by the West Virginia Supreme Court of Appeals.

Knibbs, 30 F.4th at 213 (quoting Rhodes v. E.I. du Pont de

Nemours & Co., 636 F.3d 88, 96 (4th Cir. 2011)).

      The Supreme Court of Appeals of West Virginia has not ruled

on the issue of whether the state’s law of public nuisance

affords a remedy in cases such as this.          Lower court decisions

so holding are not persuasive in view of decisions of West

Virginia’s highest court in cases involving other factual

situations.

      The Restatement of Torts (3d) states that public nuisance

based on the sale and distribution of a product has been

rejected by most courts because the common law of public

nuisance is an inept vehicle for addressing such conduct.

Restatement (Third) of Torts in Liability for Economic Harm, §8

cmt. g.    In discussing the scope of public nuisance under West

Virginia law, the Supreme Court of Appeals of West Virginia

followed the Restatement of Torts.         See Duff v. Morgantown

Energy Association, 421 S.E. 2d 253, 257 n.6 (W. Va. 1992).

      Consistent with the Restatement of Torts, the West Virginia

Supreme Court has only applied public nuisance law in the

context of conduct that interferes with public property or

resources.     In Sharon Steel Corp. v. City of Fairmont, 334 S.E.

2d 616 (W. Va. 1985), the court surveyed public nuisance cases

in West Virginia from 1878 to 1982.         Every case listed concerned

                                     153
Case 3:17-cv-01362 Document 1530 Filed 07/04/22 Page 154 of 184 PageID #: 79605



the misuse, or interference with, public property or resources.

None of the cases cited held that distribution or sale of a

product could constitute a public nuisance.

      The extension of the law of nuisance to cover the marketing

and sale of opioids is inconsistent with the history and

traditional notions of nuisance.         The original legal character

of nuisance was a wrongful disturbance of the enjoyment of real

property or of its appurtenances falling short of a forcible

trespass or ouster.      See Baker, An Introduction to English Legal

History (4th ed. 2002), 422.

      Professor James Oldham traced the development of the law of

nuisance from the Twelfth Century and found its origins “closely

and exclusively related to land law.”          Oldham, The Mansfield

Manuscripts and the Growth of English Law in the Eighteenth

Century, vol. 2, 882.       The cases almost exclusively involved

noxious odors, smoke and the obstruction of roads or waterways.

See id. at 886-924.

      Only one example in the list of nuisances identified by

Oldham approaches the situation we have here.           There, an act of

Parliament prohibited the manufacturing, sale, or throwing of

fireworks.     The intent appears to be to eliminate fireworks

entirely at their inception and not to apply the law of nuisance

to manufacture and marketing of an otherwise beneficial product.

See id. at 884.

                                     154
Case 3:17-cv-01362 Document 1530 Filed 07/04/22 Page 155 of 184 PageID #: 79606



      Two lower court decisions in West Virginia that apply the

law of public nuisance to sale and distribution of opioids are

not persuasive and are inconsistent with the Restatement of

Torts that has been favorably commented upon by the West

Virginia Supreme Court of Appeals.         The lower court cases are

these:    Brooke County Commission v. Purdue Pharma, No. 17-c-248

(Marshall County Circuit Court, Dec. 28, 2018); State ex rel.

Morrisey v. Amerisource Bergen, No. 12-c-141 (Boone County

Circuit Court, Dec. 12, 2014).

      Both cases were decided on motions to dismiss the complaint

which contained other causes of action besides public nuisance.

While each case concluded that claims for public nuisance are

not limited to property disputes, neither case contained an in-

depth consideration of the question before concluding that the

law of nuisance could be applied to opioid cases.            Neither case

considered the adverse economic consequences of extending the

law of nuisance to the sale or distribution of opioids or the

expansion of nuisance law to cover other dangerous products.

      While the cases from other jurisdictions are conflicting,

recent decisions deny extension of the public nuisance doctrine

to the sale or manufacture of opioids, and sound public policy

considerations support such denial.         In 2019, the Superior Court

of Connecticut, following Ganim v. Smith & Wesson Corp., 258



                                     155
Case 3:17-cv-01362 Document 1530 Filed 07/04/22 Page 156 of 184 PageID #: 79607



Conn. 313 (2001), dismissed an action against drug companies

alleged to have caused the opioid crisis.

      The court said:

      To keep order in law, government enforcement agencies
      must represent the indirect public interest in court,
      not a flurry of individual plaintiffs—even when they
      are local governments.

      To permit otherwise would risk letting everyone sue
      almost everyone else about pretty much everything that
      harms us.

City of New Haven v. Purdue Pharma, L.P., No.

X07HHDCV176086134S, 2019 WL 423990, at *2 (Conn. Super. Ct. Jan.

8, 2019).

      In State ex rel. Attorney General of Oklahoma v. Johnson &

Johnson, the Supreme Court of Oklahoma declined to extend

Oklahoma public nuisance law to the manufacturing, marketing and

selling of prescription opioids.         499 P.3d 719, 730 (Okla.

2021).    The court identified “a clear national trend to limit

public nuisance to land or property use.”          Id. at 730.     To hold

otherwise, the court said, would convert almost every products

liability action into a public nuisance claim.           See id.

      Additionally, the Oklahoma court noted that expansion of

public nuisance law to cover the manufacture, marketing and sale

of opioids would allow courts to manage public policy matters

that should be dealt with by the legislative and executive

branches of government—not by courts.          See id. at 731.


                                     156
Case 3:17-cv-01362 Document 1530 Filed 07/04/22 Page 157 of 184 PageID #: 79608



       In Tioga Public School District v. United States Gypsum

Co., a school district sued a plastic manufacturer to recover

the cost of removing asbestos-containing plastic used to coat

the ceilings of the school.        984 F.2d 915 (8th Cir. 1993).

Federal jurisdiction was based on diversity of citizenship.

There was no controlling decision on point under North Dakota

law, so the federal court was required, as the court is required

here, to predict what law the Supreme Court of North Dakota

would apply if called upon to decide the question.            The federal

court held that nuisance law does not afford a remedy against

the manufacturer of an asbestos-containing product.            See id. at

920.

       The court said:

       Tioga has not presented us with any North Dakota cases
       extending the application of the nuisance statute to
       situations where one party has sold to the other a
       product that later is alleged to constitute a
       nuisance, nor has our research disclosed any such
       cases. North Dakota cases applying the state’s
       nuisance statutes all appear to arise in the classic
       context of a landowner or other person in control of
       property conducting an activity on his land in such a
       manner as to interfere with the property rights of a
       neighbor.

Id. at 920.

       In 2019, a lower court in North Dakota cited Tioga Public

School District in an opioid case, holding that the law of

nuisance cannot be extended to cases involving the sale of

goods.    See State Ex Rel. Stenehjem v. Purdue Pharma L.P., No.

                                     157
Case 3:17-cv-01362 Document 1530 Filed 07/04/22 Page 158 of 184 PageID #: 79609



08-2018-CV-01300, 2019 WL 2245743, at *13 (N.D. Dist. May 10,

2019).    The court quoted with approval Tioga’s observation that

to extend the law of nuisance to cases involving the sale of

goods would “totally rewrite North Dakota tort law” and “any

inquiry would give rise a cause of action . . . regardless of

the defendant’s degree of culpability or the availability of

other traditional tort law theories of recovery.            Nuisance thus

would become a monster that would devour in one gulp the entire

law of tort . . . .”       Id. at *13.

      The phrase “opening the floodgates of litigation” is a

canard often ridiculed with good cause.          But here, it is

applicable.     To apply the law of public nuisance to the sale,

marketing and distribution of products would invite litigation

against any product with a known risk of harm, regardless of the

benefits conferred on the public from proper use of the product.

The economic harm and social costs associated with these new

causes of action are difficult to measure but would obviously be

extensive.     If suits of this nature were permitted any product

that involves a risk of harm would be open to suit under a

public nuisance theory regardless of whether the product were

misused or mishandled.

      As the court states in City of Chicago v. Beretta U.S.A.

Corp., such a public right so broad and undefined would subject

any potentially dangerous instrumentality to suit.            821 N.E. 2d

                                     158
Case 3:17-cv-01362 Document 1530 Filed 07/04/22 Page 159 of 184 PageID #: 79610



1099 (Ill. 2004).      Similarly, in In re Lead Paint Litigation,

the court observed that to allow nuisance suits for the sale and

distribution of a product would “supplement an ordinary product

liability claim with a separate cause of action as to which

there are apparently no bounds.”         924 A.2d 484, 505 (N.J. 2007).

      In People ex rel. Spitzer v. Sturm, Ruger & Co., the court

concluded that “giving a green light to a common-law public

nuisance cause of action today will, in our judgment, likely

open the courthouse doors to a flood of limitless, similar

theories of public nuisance.”        761 N.Y.S. 2d 192, 196 (2003).

      Based on the foregoing analysis, the court concludes that,

if confronted with the option to extend the law of public

nuisance to the sale, distribution, and manufacture of opioids,

the Supreme Court of Appeals of West Virginia would decline with

good reason to do so.

V.    Plaintiffs Have Failed to Show That Defendants’ Conduct
      Interfered with a Public Right

      To establish a public nuisance, a plaintiff must prove “an

unreasonable interference with a right common to the general

public.”    Duff v. Morgantown Energy Assoc., 421 S.E. 2d 253, 257

n.6 (1992) (quoting Restatement (Second) of Torts § 821B(1)

(1979)).    The finder of fact in a public nuisance case must

assess the gravity and avoidability of the harm, as well as the

utility of defendants’ conduct.


                                     159
Case 3:17-cv-01362 Document 1530 Filed 07/04/22 Page 160 of 184 PageID #: 79611



      As stated in the Restatement (Second) of Torts, § 828, cmt.

a:

      [I]n determining whether the gravity of the
      interference with a public right outweighs the utility
      of the actor’s conduct, it is necessary to consider
      the social value the law attaches to the primary
      purpose of the conduct, the suitability of the conduct
      to the character of the locality and the
      impracticability of preventing or avoiding the
      invasion.

See Duff, 421 S.E.2d at 257 n.5 (discussing the court’s adoption

of this balancing test); see also In re Flood Litig. Coal River

Watershed, 668 S.E.2d 203, 214 n.8 (W. Va. 2008) (noting that

“in the context of nuisance law and related causes of action and

doctrines, determining ‘reasonableness’ requires looking at the

interests and conduct of both the plaintiff and the defendant”).

      Therefore, in determining the reasonableness of defendants’

conduct and whether it interfered with a right common to the

general public, the court must balance the danger of the harm

with the social utility of the defendants’ conduct.            On one

hand, the dangers of opioids are palpable, as abundantly proven

by the social costs incurred by communities such as the City of

Huntington and Cabell County.        But the public benefits of

responsible opioid use are likewise apparent.           Opioids are

essential to the effective treatment of chronic pain,

particularly that suffered by terminal patients.




                                     160
Case 3:17-cv-01362 Document 1530 Filed 07/04/22 Page 161 of 184 PageID #: 79612



      The volume of prescription opioids in Cabell/Huntington was

determined by the good faith prescribing decisions of doctors in

accordance with established medical standards.           Defendants

shipped prescription opioid pills to licensed pharmacies so

patients could access the medication they were prescribed.

Under the Restatement’s formulation of a public nuisance, the

distribution of medicine to support the legitimate medical needs

of patients as determined by doctors exercising their medical

judgment in good faith cannot be deemed an unreasonable

interference with a right common to the general public.             See

Pope v. Edward M. Rude Carrier Corp., 75 S.E.2d 584, 589 (1953)

(holding that conduct which the public convenience imperatively

demands cannot be a public nuisance).

VI.   No Causation

      For alleged misconduct to be actionable, West Virginia law

requires a plaintiff to establish proximate cause between the

alleged culpable conduct and the alleged harm.           See Sergent v.

City of Charleston, 549 S.E. 2d 311, 320 (W. Va. 2001).

“Proximate cause connotes a causal relation and not merely

nearness in point of time.”        Evans v. Farmer, 133 S.E. 2d 710,

717 (W. Va. 1963).      It necessitates a showing that but for the

alleged wrongful conduct, the alleged harm would not have

occurred.     See White v. Wyeth, 705 S.E. 2d 828, 837 (W. Va.

2010).    It “is the last negligent act contributing to the injury

                                     161
Case 3:17-cv-01362 Document 1530 Filed 07/04/22 Page 162 of 184 PageID #: 79613



and without which the injury would not have occurred.”             Sergent,

549 S.E. 2d 311, 320 (2001).        To be proximate, a cause must not

be “remote.”     Metro v. Smith, 124 S.E. 2d 460, 464 (W. Va.

1962).

      The determination of causation is a question of fact.             See

Qura v. D.R. McClain & Son, 97 F. 3d 1448 (4th Cir. 1996);

Aikens v. Debow, 541 S.E. 2d 576, 580 (W. Va. 2001).            “[T]he law

is clear that a mere possibility of causation is not sufficient

to allow a reasonable jury to find causation.”           Spencer v.

McClure, 618 S.E. 2d 451, 456 (2005).

      A. Plaintiffs Have Failed to Prove That Defendants’ Conduct
         Was a Proximate Cause of Diversion

      No culpable acts by defendants caused an oversupply of

opioids in Cabell/Huntington.        Doctors, 99% of whom were acting

in good faith, determined the total volume of prescription

opioids that pharmacies ordered from defendants and dispensed

pursuant to those prescriptions.         Federal regulations require

that a prescription for opioids be issued for a legitimate

purpose by a medical practitioner acting the course of his

practice.     See 21 C.F.R. § 1306.04(a).

      Therefore, doctors, in the exercise of their independent

medical judgment, determined what opioids would be prescribed,

in what doses, and for what purposes.          Defendants shipped




                                     162
Case 3:17-cv-01362 Document 1530 Filed 07/04/22 Page 163 of 184 PageID #: 79614



prescription opioids only to licensed pharmacies in response to

demand created by prescriptions.

      At all relevant times, defendants’ SOM systems were

designed to identify suspicious orders.          Their systems had

imperfections, but defendants acted to correct these

imperfections.     By 2008, each defendant had in place a SOM

program that blocked all suspicious orders they identified.

Prior to that time, the DEA understood and accepted that

wholesale distributions would ship any suspicious orders that

they identified and reported to the DEA.

      Plaintiffs’ claim that defendants’ purported violations of

the CSA and its implementing regulations caused an opioid

epidemic fails as a matter of law because there is no admissible

evidence that any such violation caused opioid diversion,

properly understood.       Likewise, plaintiffs’ claim that

defendants’ purportedly unreasonable volume of distributions

caused an opioid epidemic fails as a matter of law for the same

lack of admissible evidence that defendants’ conduct caused

diversion, properly understood.

      The starting point in determining whether plaintiffs proved

that defendants did not maintain effective controls against

diversion is to define what diversion is in the context of

distributors (“distributor diversion”).          Plaintiffs have an

extremely broad understanding of what constitutes distributor

                                     163
Case 3:17-cv-01362 Document 1530 Filed 07/04/22 Page 164 of 184 PageID #: 79615



diversion.     Mr. Rafalski, plaintiff’s diversion expert, provided

the court with a definition of diversion without regard to when

or how a controlled substance enters the illicit market:

      So, when we talk about a suspicious order, Your Honor,
      the suspicion is that this order could be diverted.
      In other words, it could fall into illicit hands.

Rafalski, 5/26, at 75-76 (emphasis added).

      Mr. Rafalski’s broad definition of diversion is consistent

with plaintiffs’ reliance in this case on proving (1) a very

large amount of opioids distributed to retail and chain

pharmacies within their borders; and (2) the existence of an

opioid epidemic within their borders.          Plaintiffs appear to take

the position that these two conditions are sufficient to sustain

a reasonable inference of distributor diversion.

      From plaintiffs’ perspective, the very high level of pills

shows, on its face, that many of the prescriptions those pills

went to fill should not have been written.           To plaintiffs, the

purported gap between what would have been sufficient to meet

legitimate medical needs and what was distributed equals

diversion.     The implication is that to avoid liability,

defendants must justify as medically necessary all prescriptions

written and filled with opioids deriving from their warehouses.

      Defendants, of course, have a much narrower understanding

of diversion.     To them, a match between distributions and

prescriptions (which the evidence here shows, (see, e.g.,

                                     164
Case 3:17-cv-01362 Document 1530 Filed 07/04/22 Page 165 of 184 PageID #: 79616



Keller, 6/15/21, at 213-14)), precludes a finding of diversion.

Their duties with regards to controlling against diversion end,

they have suggested, when the pills are delivered to a DEA-

registered pharmacy.

      The CSA provides that in determining whether a

distributor’s federal registration is inconsistent with the

public interest depends, in part, on the distributor’s

“maintenance of effective control against diversion of

particular controlled substances into other than legitimate

medical, scientific, and industrial channels.”           21 U.S.C. § 823

(emphasis added).

      Under implementing regulations, distributors are required

to “provide effective controls and procedures to guard against

theft and diversion of controlled substances.”           21 C.F.R.

§ 1301.71(a).     The regulations also require as follows:

      The registrant shall design and operate a system to
      disclose to the registrant suspicious orders of
      controlled substances. The registrant shall inform
      the Field Division Office of the Administration in his
      area of suspicious orders when discovered by the
      registrant. Suspicious orders include orders of
      unusual size, orders deviating substantially from a
      normal pattern, and orders of unusual frequency.

21 C.F.R. § 1301.74(b).

      Defendants frame distributor diversion too narrowly.            As

the cases discussed below illustrate, distributors must guard

against diversion that occurs if they supply controlled


                                     165
Case 3:17-cv-01362 Document 1530 Filed 07/04/22 Page 166 of 184 PageID #: 79617



substances to diverting dispensers that operate under the guise

of legitimacy (that is, with a DEA registration and pursuant to

prescriptions).      On the other hand, plaintiffs’ conception of

distributor diversion is far too broad.          What distributors must

guard against is handing over pills to pharmacies that are

essentially acting as adjuncts of the illicit market, not

against legitimate pharmacies dispensing a vague notion of too

many opioids.

      To see this, consider the major cases that plaintiffs have,

at various times, tried to analogize to this one.            In the first

three cases (Masters Pharmaceutical, Inc. (“Masters I”), 80 Fed.

Reg. 55418-01, 2015 WL 5320504 (DEA Sept. 15, 2015); Masters

Pharm., Inc. v. DEA (“Masters II”), 861 F.3d 206, 214 (D.C. Cir.

2017); and Southwood Pharmaceuticals, Inc., 72 Fed. Reg. 36487-

01, 36498, 2007 WL 1886484 (DEA July 3, 2007)), diversion

involved distributors supplying dispensers that were essentially

in the diversion business, not the legitimate dispensing

business.

      The fourth case (Direct Sales Co. v. United States, 319

U.S. 703, (1943)) comes from the criminal context and obviously

does not define distributor diversion or plaintiffs’ burden of

proof here, and the court does not cite it for those uses.              It

is helpful simply as another example of what this case is not:



                                     166
Case 3:17-cv-01362 Document 1530 Filed 07/04/22 Page 167 of 184 PageID #: 79618



one where the wrongful conduct was supplying a dispenser that

was not a legitimate operation.

      Masters I was a revocation proceeding before the DEA.             The

DEA determined that the distributor was more interested in

justifying continued orders than in “identifying those entities

that were engaged in diversion.”         Masters I; 80 Fed. Reg. 55418-

01, 55449 (emphasis added).        The DEA asserted that distributors

must “dispel all red flags indicative that a customer is engaged

in diversion to render the order non-suspicious and exempt it

from the requirement that the distributor ‘inform’ the [DEA]

about the order.”      Id. at 55478 (emphasis added).

      The relevant suspicion was not that portions of fulfilled

orders were eventually making their way to the illicit market.

Rather, it was that “each of the pharmacies was engaged in

illegitimate dispensing practices.”         Id. at 55486 (emphasis

added).

      Masters II was the D.C. Circuit’s review of the DEA’s

revocation order.      The court distinguished between pills sent to

“a bona fide retail pharmacy” and those sent to a “pharmacy

[that] might be involved in illegal diversion.”            Masters II, 861

F.3d at 220 (emphasis added).        The relevant “suspicion” that

distributors are to be on the lookout for is that their own

customers are engaged in diversion.         Id.   In other words,

distributors are not charged with ferreting out and potentially

                                     167
Case 3:17-cv-01362 Document 1530 Filed 07/04/22 Page 168 of 184 PageID #: 79619



cutting off pharmacies that may have some suspicious customers.

Rather, they are charged with ferreting out and potentially

cutting off dispensers potentially engaged in diversion.

      The D.C. Circuit noted that the distributor had (1) failed

to clear with due diligence or report to the DEA orders that its

own SOM system flagged (to the tune of hundreds of orders); (2)

deleted or reduced flagged orders to get around its SOM system;

and (3) shipped orders when customer explanations confirmed the

suspicion that the orders were being diverted.           Id. at 215.

      Southwood was another revocation proceeding, and it also

illustrates the kind of diversion against which distributors

must guard.     There, the distributor’s “pharmacy customers were

likely engaged in illegal activity,” (not the pharmacy’s

customers).     Southwood, 72 Fed. Reg. 36487-01, 36,499 (emphasis

added).

      Far from faulting a distributor for failing to guard

against pills eventually falling into the wrong hands, the DEA

faulted a distributor for supplying pharmacies in the business

of diversion:

      As stated above, these websites and the pharmacies
      that fill the prescriptions issued by them, are
      nothing more than drug pushers operating under the
      patina of legitimate authority. Cutting off the
      supply sources of these pushers is of critical
      importance in protecting the American people from this
      extraordinary threat to public health and safety. In
      accomplishing this objective, this [DEA] cannot do it
      all itself. It must rely on registrants to fulfill

                                     168
Case 3:17-cv-01362 Document 1530 Filed 07/04/22 Page 169 of 184 PageID #: 79620



      their obligation under the Act to ensure that they do
      not supply controlled substances to entities which act
      as pushers.

Id. at 36,504 (emphasis added).

      Judge Polster has summarized Southwood’s conduct well:

      In December of 2005, Southwood had begun selling large
      quantities of hydrocodone to internet pharmacies, many
      of which were dispensing illegal prescriptions for
      controlled substances.   At the time, Southwood did
      not re-evaluate its criteria and procedures to
      determine whether these orders were suspicious;
      without inquiring into the nature of their internet
      businesses, Southwood sold its new customers large
      quantities of hydrocodone. Moreover, after learning
      substantial information which raised serious doubt as
      to the legality of their businesses, Southwood
      continued to supply extraordinarily large quantities
      of hydrocodone to these internet pharmacies.

In re Nat’l Prescription Opiate Litig., No. 1:17-MD-2804, 2019

WL 3917575, at *4 (N.D. Ohio Aug. 19, 2019) (citations omitted).

      Again, the diversion at issue was not some concept of pills

eventually falling into the wrong hands—it was the distributor

placing them in the wrong hands.         The problem was not with

diversion due to overprescribing or even doctor shopping, it was

that the distributor’s customers were in the business of filling

prescriptions “issued outside of . . . legitimate doctor/patient

relationship[s] and the safeguards that [those] relationship[s]

provide[].”     Southwood, 72 Fed. Reg. 36487-01, 36,504.

      Finally, there is Direct Sales.         The court’s very limited

point with this case is that, despite plaintiffs’ attempts to

analogize to it, the illegal distributions there were to a bad

                                     169
Case 3:17-cv-01362 Document 1530 Filed 07/04/22 Page 170 of 184 PageID #: 79621



dispenser, conduct which no persuasive evidence indicated the

existence of here.

      The Supreme Court summarized the facts as follows:

      Direct Sales sold morphine sulphate to Dr. Tate in
      such quantities, so frequently and over so long a
      period it must have known he could not dispense the
      amounts received in lawful practice and was therefore
      distributing the drug illegally. Not only so, but it
      actively stimulated Tate’s purchases.

Direct Sales, 319 U.S. at 705.

      The culpable conduct by the manufacturer-wholesaler was

“working in prolonged cooperation with a physician’s unlawful

purpose to supply him with his stock in trade for his illicit

enterprise.”     Id. at 713.    Again, the problem was sending

opioids to a diverting dispenser, not a legitimate dispenser,

some of whose customers may have been diverters.

      Plaintiffs cannot recover against defendants by proving

only that they were injured as a result of the opioid epidemic.

Plaintiffs’ theory of harm is based on the diversion of

prescription opioids, whether through illegal distributions of

opioids or through distributing an unreasonable volume.

Plaintiffs’ theory is not that any prescription opioids entered

the City of Huntington or Cabell County after being diverted

while in defendants’ custody or under their control.            Nor does

the record evidence support such a theory.




                                     170
Case 3:17-cv-01362 Document 1530 Filed 07/04/22 Page 171 of 184 PageID #: 79622



      Nor does the record evidence support any assertion that

defendants’ pharmacy customers were engaging in diversion.              The

only record evidence of pharmacy-level diversion in the City of

Huntington and Cabell County is A-Plus Care Pharmacy in

Barboursville, which no defendant serviced.           The lack of

evidence of pharmacy-level diversion on the part of defendants’

pharmacy customers is fatal to plaintiffs’ claims. 8

      An overbroad understanding of diversion may require that

whenever a distributor suspects that part of a dispensers’ order

may fill prescriptions for those who do not need them (or do not

need as many dosage units), the distributor engages in diversion

by filling the order.       In this world, maintaining effective

controls would require cutting off dispensers completely because

the distributor (which is not a medical doctor or pharmacist)

has a hunch that some of the pharmacy’s customers may be engaged

in misconduct such as doctor shopping, feigned injuries, and

similar fraud to obtain an unnecessary prescription.

      That is not a reasonable conception of what maintaining

effective controls requires of distributors, and cases regarding




8 To the extent plaintiffs attempt to rely on a showing of
diversion at the pharmacy level outside the City of Huntington
or Cabell County, such reliance fails as a matter of law.
Plaintiffs presented no persuasive evidence establishing a
“nexus” between those out-of-jurisdiction shipments and any
diversion or harm occurring in the City of Huntington or Cabell
County.
                                     171
Case 3:17-cv-01362 Document 1530 Filed 07/04/22 Page 172 of 184 PageID #: 79623



distributors engaged in diversion, such as Masters I, Masters

II, and Southwood, confirm that it is too broad a conception of

distributor diversion.       These cases do not support the idea that

distributors must prevent controlled substances from eventually

falling into the wrong hands at some point in their existence.

      Distributors have no control over the medical judgment of

doctors.    They do not see patients and are not tasked with

deciding whether the patient ought to get pain medication.              At

best, distributors can detect upticks in dispensers’ orders that

may be traceable to doctors who may be intentionally or

unintentionally violating medical standards.           Distributors also

are not pharmacists with expertise in assessing red flags that

may be present in a prescription.

      Indeed, the CSA “imposes duties on [pharmacies] to maintain

systems, policies, or procedures to identify prescriptions that

bear indicia (“red flags”) that the prescription is invalid, or

that the prescribed drugs may be diverted for illegitimate use.”

In re Nat’l Prescription Opiate Litig., 477 F. Supp. 3d 613, 629

(N.D. Ohio 2020), clarified on denial of reconsideration, No.

1:17-MD-2804, 2020 WL 5642173 (N.D. Ohio Sept. 22, 2020), and

cert. denied, No. 18-OP-45032, 2022 WL 278954 (N.D. Ohio Jan.

31, 2022).     “There is no question that dispensers of controlled

substances are obligated to check for and conclusively resolve



                                     172
Case 3:17-cv-01362 Document 1530 Filed 07/04/22 Page 173 of 184 PageID #: 79624



red flags of possible diversion prior to dispensing those

substances.”     Id.

      Pharmacies are obviously best equipped to decide whether to

fill prescriptions.      Distributors’ attempts to take on this duty

indirectly would inevitably create supply problems for patients

with legitimate needs for controlled substances.            This is

because distributors have at their disposal only the nuclear

option of stopping a pharmacy order completely, not just the

part of the order that possibly may go to diverting patients.

      Not only do distributors have no ability to stop pills on a

prescription-by-prescription basis and none of the expertise

with which to determine whether prescriptions are good or bad,

they also have none of the coercive powers of investigation that

law enforcement has to determine whether pharmacies are

fulfilling their duties under the CSA.          All of this is to say,

again, that while defendants may have a vantage point that

allows them to detect orders from bad pharmacies and take

appropriate, decisive action (cut off the diverting,

illegitimate pharmacy), the duty to maintain effective controls

does not charge distributors with blocking illegitimate

customers of legitimate pharmacies from getting their

prescriptions filled.

      For the reasons stated above, plaintiffs cannot base their

claim that defendants caused diversion on a theory of diversion

                                     173
Case 3:17-cv-01362 Document 1530 Filed 07/04/22 Page 174 of 184 PageID #: 79625



that occurred downstream from their pharmacy customers.             There

is no admissible evidence in this case of diversion at the

pharmacy level.      The CSA and its implementing regulations do not

hold distributors responsible for supplying opioids to

pharmacies not reasonably suspected of being diverters or

adjuncts thereof.

      Assuming that defendants could be responsible for diversion

that does not fall within defendants’ legal duties (diversion

merely as a matter of fact), a concept of diversion that creates

distributor liability for downstream conduct is unsupportable.

Whether couched in terms of the CSA or not, there is no

admissible evidence in this case that defendants caused

diversion that resulted in an opioid epidemic.           At most, there

is only a reasonable inference that someday, somehow, some of

the opioids that defendants shipped fell into the wrong hands.

That is not enough to sustain a reasonable finding that

defendants here caused diversion of opioids or an opioid

epidemic.

      The court therefore concludes that plaintiffs have failed

to meet their burden of proving causation.

      B. Under the Evidence Presented, the Harms That Plaintiffs
         Claim Defendants Caused Are Too Remote

      Under West Virginia law, proximate cause is that cause

which in actual sequence, unbroken by any independent cause,


                                     174
Case 3:17-cv-01362 Document 1530 Filed 07/04/22 Page 175 of 184 PageID #: 79626



produced the wrong complained of, without which the wrong would

not have occurred.      See Webb v. Sessler, 63 S.E. 2d 65, 68 (W.

Va. 1950).     The “proximate cause” of an injury is the last

wrongful act contributing thereto, without which the injury

would not have resulted.       Id.

      The proximate cause of an injury is the efficient,

principal, superior or controlling agency from which springs the

harm as contra-distinguished from those causes which are merely

incidental or subsidiary to reach efficient, principal or

controlling cause.      See Yates v. Mancari, 168 S.E. 2d 746, 752-

53 (W. Va. 1969).      Thus, wrongful conduct may contribute to an

injury without being the proximate cause of that injury.

      Consider the following example:         A driver who has broken

the law by speeding stops at a red light and, while stopped, is

“rear-ended” by a second vehicle.          The first driver’s wrongful

act in speeding has placed him at the scene of the accident

without which the accident would not have happened.

Nevertheless, the proximate cause of the accident is the failure

of the second driver to maintain control over his vehicle.              Such

failure to maintain control is the last wrongful act

contributing to the injury and thus the sole proximate cause

under the rule of Webb.

      A remote cause of injury is insufficient to support a

finding of proximate cause.        See Metro v. Smith, 124 S.E. 2d

                                     175
Case 3:17-cv-01362 Document 1530 Filed 07/04/22 Page 176 of 184 PageID #: 79627



460, 464 (W. Va. 1962).       An intervening event may break the

chain of causation and preclude a finding of proximate cause.

See Wal-Mart Stores E., L.P. v. Ankrom, 854 S.E.2d 257, 270 (W.

Va. 2020).     A defendant bears the burden of proving that

intervening acts are a superseding cause.          See Sydenstricker v.

Mohan, 618 S.E. 2d 561, 568 (W. Va. 2005).

      Intervening or superseding cause is illustrated by Employer

Teamsters Local v. Bristol Myer Squibb, 969 F. Supp. 2d 463

(S.D.W. Va. 2013).      This was an action against manufactures of

prescription anticoagulant drug Plavix alleging that defendant

engaged in a massive marketing campaign that was false and

misleading.     Id. at 466.    Specifically, it was alleged that

Plavix was not fit for its intended purpose of being a superior

alternative to aspirin as a blood thinner, and that defendants’

marketing campaign influenced doctors’ decisions in prescribing

the drug.     Id.   The court dismissed the case, and held, among

other things, that the plaintiffs had failed to sufficiently

plead proximate causation.        Id. at 475.

      The court adopted the “direct relation” standard of

proximate cause established in Holmer v. Securities Investor

Protection Corp., 503 U.S. 258 (1992).          Id. at 472-73.     This

standard requires some direct relation between the injury

asserted and defendants’ injurious conduct.           Id. at 473-74.      The

court in Employer Teamsters surveyed numerous cases on proximate

                                     176
Case 3:17-cv-01362 Document 1530 Filed 07/04/22 Page 177 of 184 PageID #: 79628



cause and found that “line-drawing” was necessary to limit this

permissible scope of recovery when an injury involves a complex

chain of causation with many intervening events.            Id.   The court

concluded that “a vast array of intervening events including the

‘independent medical judgement’ of doctors” precluded a finding

of proximate cause.      Id. at 475-76.

      A similar result was reached in City of Charleston v. Joint

Commission, 473 F. Supp. 3d 596 (S.D.W. Va. 2020).            This was an

action by municipalities against an organization that accredited

public and private health care organizations.           Id. at 603-05.

The plaintiffs alleged that the accrediting organization had

collaborated with opioid manufacturers to issue pain management

standards that misrepresented the addictive qualities of opioids

and fostered dangerous pain control practices.           Id. at 606.     As

a result, it was charged, the municipalities had suffered

damages resulting from the opioid crisis—the same damages

alleged by the plaintiffs in this case.          See id. at 608, 615-16.

      The court granted defendants’ motion to dismiss and found

no proximate causation because no injury would occur unless a

doctor made a medical decision to prescribe opioids and because

the claims relied upon various criminal acts of third parties.

The court, citing Wehner v. Weinstein, 444 S.E. 2d 27 (W. Va.

1994), observed that where there is a sole, effective



                                     177
Case 3:17-cv-01362 Document 1530 Filed 07/04/22 Page 178 of 184 PageID #: 79629



intervening cause, there can be no other causes proximately

resulting in the alleged injury.         Id. at 627-31.

      The core of plaintiffs’ case is the assertion that the

alleged nuisance within their borders was caused by oversupply

and diversion of opioids from their legitimate channels,

resulting in overuse, addiction and the “gateway” to malicious

illegal substances such as heroin and fentanyl.            Such oversupply

and diversion were made possible, beyond the supply of opioids

by defendants, by overprescribing by doctors, dispensing by

pharmacists of the excessive prescriptions, and diversion of the

drugs to illegal usage—all effective intervening causes beyond

the control of defendants.

      Accordingly, the court concludes that plaintiffs have

failed to meet their burden to prove that defendants’ conduct

was the proximate cause of their injuries.

VII. No Abatement Remedy

      Having waived all claims for damages, including punitive

damages” plaintiffs seek “only the equitable remedy of

abatement.”     See ECF No. 225, at 5.      After trial, however, it is

readily apparent that what plaintiffs seek is not relief from

wrongful conduct; instead, plaintiffs “Abatement Plan” seeks

recovery for the extensive harms of opioid abuse and addiction.

      Under West Virginia law, a public nuisance consists of

wrongful conduct.      See Kermit Lumber, 488 S.E.2d 901, 925 n.28

                                     178
Case 3:17-cv-01362 Document 1530 Filed 07/04/22 Page 179 of 184 PageID #: 79630



(W. Va. 1997) (public nuisance is “the doing of or the failure

to do something that injuriously affects the safety, health, or

morals of the public, or works some substantial annoyance,

inconvenience, or injury to the public[.]”).           Plaintiffs cite

several cases to support their contention that an “act or

condition” may be a public nuisance.          But each of those cases

defined the nuisance at issue as the actionable conduct.

      In Martin v. Williams, the court held that the operation of

a used car lot in a residential neighborhood was a nuisance, and

in that context stated that a “condition is a nuisance when it

clearly appears that enjoyment of property is materially

lessened, and physical comfort of persons in their homes is

materially interfered with thereby.”          93 S.E.2d 835, 844 (W. Va.

1956).    The “condition” creating the nuisance and the

“condition” subject to abatement was the defendant’s conduct—the

operation of its business.        See id. (“[T]he carrying on of such

business in such locality becomes a nuisance.”).

      In Burch v. Nedpower Mount Storm, LLC, the court held that

“nuisance is the unreasonable, unusual, or unnatural use of

one’s property so that it substantially impairs the right of

another to peacefully enjoy his or her property.”            647 S.E.2d

879, 886 (W. Va. 2007).

      In Hendricks v. Stalnaker, the court held “that the

evidence presented clearly does not demonstrate that the water

                                     179
Case 3:17-cv-01362 Document 1530 Filed 07/04/22 Page 180 of 184 PageID #: 79631



well is an unreasonable use of land and, therefore, does not

constitute a private nuisance.”         380 S.E.2d 198, 203 (W. Va.

1989).

      In Duff v. Morgantown Energy Associates, the court

explained that “[i]t does not clearly appear from the record

that conducting the proposed trucking in this locality will be

unreasonable or that it is reasonably certain to cause serious

harm” but that “the proposed trucking may constitute a public

nuisance once it is operational.”          421 S.E.2d 253, 262 (W. Va.

1992).

      Plaintiffs’ remedy is limited to “elimination of hazards to

public health and safety” and “abate[ment]” of the alleged

public nuisance.      See W. Va. Code § 7-1-3kk (granting county

commissions limited authority); W Va. Code § 8-12-5(23) (same

for municipalities).       “Under the traditional definition of

abatement, nuisance claims seek court intervention to require

one party to stop doing something that affects another . . . .

Examples of conduct that may be enjoined include merry-go-

rounds, and loud singing, talking, dancing, and opening and

shutting doors.”      State ex rel. AmerisourceBergen Drug Corp. v.

Moats, 859 S.E.2d 374, 389–90 (W. Va. 2021) (Armstead, J.,

concurring in part) (internal citations omitted)).

      Equitable abatement has historically been limited to an

injunction designed to eliminate allegedly tortious conduct or,

                                     180
Case 3:17-cv-01362 Document 1530 Filed 07/04/22 Page 181 of 184 PageID #: 79632



in certain environmental nuisance cases, an injunction to remove

the contaminant from the environment.          See, e.g., Duff, 421

S.E.2d at 257 (noting that “courts generally grant injunctions

to abate existing nuisances”).

      As the Supreme Court of Appeals of West Virginia has

recognized, the distinction between “abatement of nuisances and

recovery of damages for injuries occasioned by wrongful acts,

constituting nuisances,” is both “apparent” and “vast.”

McMechen v. Hitchman-Glendale Consol. Coal Co., 107 S.E. 480,

482 (W. Va. 1921); see also Prosser and Keeton, The Law of

Torts, § 631 (5th ed. 1984) (referring to the “fundamental

distinction between entitlement to damages and entitlement to

abatement of the nuisance”).

      Damages, unlike abatement, are directed to compensating a

plaintiff for “the cost[s] of eliminating the nuisance effects.”

Dobbs, I Law of Remedies § 5.7(3).         Plaintiffs, however, are not

seeking to “abate” (enjoin or stop) the nuisance.            Instead,

plaintiffs are seeking remuneration for the costs of treating

the horrendous downstream harms of opioid use and abuse.             Those

costs have no direct relation to any of defendants’ alleged

misconduct.

      Plaintiffs’ Abatement Plan, virtually in its entirety, is

directed at treating or otherwise addressing drug use and

addiction, not at any of defendants’ alleged nuisance-causing

                                     181
Case 3:17-cv-01362 Document 1530 Filed 07/04/22 Page 182 of 184 PageID #: 79633



conduct.    Only one element of the Abatement Plan, a safe drug

disposal program for unused pills, is even arguably addressed at

the volume of prescription opioids in the City of Huntington and

Cabell County.     This expense accounts for approximately 0.0014%

of the total plan.

      It is immaterial that plaintiffs have now termed their

proposed relief “abatement damages,” a term that finds no

support in West Virginia law.        The United States Supreme Court

has cautioned that with “lawyerly inventiveness,” any claim

seeking legal relief can be phrased as one seeking equitable

relief.    Great-West Life & Annuity Ins. v. Knudson, 534 U.S.

204, 211 n.1 (2002).       Courts appropriately focus on the

substance of the claim asserted, not labels affixed by counsel.

See, e.g., Gilbert v. City of Cambridge, 932 F.2d 51, 57–58 (1st

Cir. 1991).     Any such monetary award—whether styled as damages

or “abatement damages”—is not properly an element of equitable

abatement relief.

      Plaintiffs have compared this case to Kermit Lumber and

environmental nuisance cases more generally.           But even under

Kermit Lumber, plaintiffs’ remedy fails.          There, the relevant

conduct was the depositing of arsenic “on the Kermit Lumber

business site in amounts above the regulatory limits,” which

then “flow[ed] into the Tug Fork River.”          488 S.E.2d at 925.

Recognizing that “[t]he object of a public nuisance action is to

                                     182
Case 3:17-cv-01362 Document 1530 Filed 07/04/22 Page 183 of 184 PageID #: 79634



abate or stop the harm to the public health, safety, and the

environment,” the court held on the facts of that case that the

nuisance “continue[d] until the hazardous waste is removed.”

Id. at 925 n.29.

      The abatement in Kermit Lumber therefore consisted of

removing the excessive or above-limits arsenic from the

environment.     See id. at 245.     Tellingly, Kermit Lumber did not

hold that the plaintiff could recover, as abatement, for

downstream harms to the community resulting from the

contamination in the Tug River, such as treatment for injuries

from those who consumed or otherwise came in contact with

contaminated water.

      For the reasons stated above, and upon a full trial record,

the court concludes that under the facts of this case, the

relief that plaintiffs seek is not properly understood as in the

nature of abatement.

VIII.       Other Issues

      In view of the conclusions made herein that compel entry of

judgment for defendants, the court finds it unnecessary to

consider other legal issues raised in the course of this

litigation.

                                 CONCLUSION

      The opioid crisis has taken a considerable toll on the

citizens of Cabell County and the City of Huntington.             And while

                                     183
Case 3:17-cv-01362 Document 1530 Filed 07/04/22 Page 184 of 184 PageID #: 79635



there is a natural tendency to assign blame in such cases, they

must be decided not based on sympathy, but on the facts and the

law.    In view of the court’s findings and conclusions, the court

finds that judgment should be entered in defendants’ favor.                      A

separate judgment has been entered, pursuant to Federal Rule of

Civil Procedure 58, in accord with the foregoing findings of

fact and conclusions of law.

       The Clerk is directed to send a copy of these Findings of

Fact and Conclusions of Law to those counsel of record who have

registered to receive an electronic NEF.

       IT IS SO ORDERED this 4th day of July, 2022.

                                           ENTER:


                                           David A. Faber
                                           Senior United States District Judge




                                     184
